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     1                 UNITED STATES DISTRICT COURT
     2             FOR THE NORTHERN DISTRICT OF OHIO
     3                          EASTERN DIVISION
     4                                  -   -    -
     5    IN RE: NATIONAL PRESCRIPTION
     6    OPIATE LITIGATION                             Case No.
     7                                                  1:17-MD-2804
     8    APPLIES TO ALL CASES                          Hon. Dan A.
     9                                                  Polster
   10     Case No. 1:17-MD-2804
   11                                   -   -    -
   12                           January 30, 2019
   13         HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   14                       CONFIDENTIALITY REVIEW
   15                       Videotaped deposition of JEFFREY
   16     S. PEACOCK, held at 200 Vesey Street, New York,
   17     New York, commencing at 9:16 a.m., on the
   18     above date, before Marie Foley, a Registered
   19     Merit Reporter, Certified Realtime
   20     Reporter and Notary Public.
   21                                   -   -    -
   22                       GOLKOW LITIGATION SERVICES
   23                 877.370.3377 ph | 917.591.5672 fax
   24                             Deps@golkow.com
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    1   A P P E A R A N C E S:                        1 APPEARANCES VIA TELEPHONE AND STREAMING:
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   21     the Witness                                21
   22                                                22
   23                                                23
   24                                                24

                                            Page 3                                                     Page 5
    1   A P P E A R A N C E S:                        1 APPEARANCES VIA TELEPHONE AND STREAMING:
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   20                                                20   Marjorie Han, Henry Schein
   21                                                21   Janine Downing, Henry Schein
   22                                                22   Henry Marte, videographer
   23                                                23
   24                                                24


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   10                                                    10
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   17          to 00632520                               17   Exhibit 13 dated February 17, 2014,
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   19   Peacock Power Point presentation        37       19          to 00499371
   20   Exhibit 4 Global Quality Assurance,              20
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   22          Trade Compliance December                 22   Exhibit 14 October 2, 2014, Bates No.
   23          9th, 2016 Jeff Peacock                    23          HSI-MDL-00575077 to
   24                                                    24          00375079

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    2   Exhibit 15 2018, with attachment,               2
    3          Bates No. HSI-MDL-00572919               3 DIRECTION TO WITNESS NOT TO ANSWER
    4          to 00572922                              4  Page Line
    5                                                   5  - -none- -
    6   Peacock Email dated July 19, 2018, 244          6
    7   Exhibit 16 with attachment, Bates No.           7
    8          HSI-MDL-00433692                         8 REQUEST FOR PRODUCTION OF DOCUMENTS
    9                                                   9  Page Line
   10   Peacock Email chain ending July       254      10  - -none- -
   11   Exhibit 17 18, 2018, with attachment,          11
   12          Bates No. HSI-MDL-00209427              12
   13          to 00209428                             13STIPULATIONS
   14                                                  14 Page Line
   15   Peacock Email chain ending January        259 15  - -none- -
   16   Exhibit 18 26, 2016, Bates No.                 16
   17          HSI-MDL-00156897 to 00156899            17
   18                                                  18 QUESTIONS MARKED
   19   Peacock Letter dated November 9,  277          19  Page Line
   20   Exhibit 19 2012, Bates No.                     20  - -none- -
   21          HSI-MDL-00397293 to 00397294            21
   22                                                  22
   23   Peacock Letter dated May 8, 2013,     285      23
   24   Exhibit 20 with attachment                     24

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    1   Peacock Memorandum in Support of 288            1               - - -
    2   Exhibit 21 Motion For Summary Judgment          2              9:16 a.m.
    3          in the United States of                  3           New York, New York
    4          America versus Brian D. Heim             4               - - -
    5                                                   5        THE VIDEOGRAPHER: We are now on
    6   Peacock Customer Service Imaging 295            6    the record.
    7   Exhibit 22 printout, Bates No.                  7        My name is Henry Marte. I'm a
    8          HSI-MDL-00001198 to 00001210             8    videographer with Golkow Litigation
    9                                                   9    Services.
   10   Peacock Cegedim Dendrite Draft    309          10        Today's date is January 30th,
   11   Exhibit 23 Schein SOM Procedural               11    2019, and the time is 9:16 a.m.
   12          Review, Bates No.                       12        This videotaped deposition is
   13          HSI-MDL-00404369 to 00404383            13    being held at 200 Vesey Street, New
   14                                                  14    York, New York in the matter of
   15   Peacock Email chain ending          321        15    National Prescription Opiate
   16   Exhibit 24 February 27, 2015, Bates            16    Litigation.
   17          No. HSE-MDL-0039634                     17        The deponent today is Jeffrey
   18                                                  18    Peacock.
   19                                                  19        All appearances are noted on the
   20                                                  20    stenographic record.
   21                                                  21        Will the court reporter please
   22                                                  22    administer the oath to the witness.
   23                                                  23                - - -
   24                                                  24


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    1   JEFFREY S. PEACOCK, the Witness herein, having       1      A. Yes.
    2       been first duly sworn by a Notary                2      Q. And if you need to take a break,
    3       Public in and of the State of New                3   I'm happy to do that. This isn't,
    4       York, was examined and testified as              4   hopefully not -- I don't think this will
    5       follows:                                         5   take a full day. But to the extent we
    6   EXAMINATION BY                                       6   need a break, I just ask that we finish
    7   MR. MIGLIORI:                                        7   the question that we're on before we go
    8       Q. Good morning, sir.                            8   into a break. And I'm happy to
    9       A. Hi.                                           9   accommodate anything that you need.
   10       Q. My name is Don Migliori. I'm                 10          Before we get started, do you
   11   from a law firm called Motley Rice, and             11   have questions of me or what we're about
   12   they represent various plaintiffs in this           12   to do?
   13   litigation.                                         13      A. No. I'm clear. Thank you.
   14           It's good to meet you.                      14          MR. McDONALD: Are you ready to
   15           Have you ever had your                      15      start?
   16   deposition taken before?                            16          MR. MIGLIORI: Yeah.
   17       A. No, never.                                   17          MR. McDONALD: Let me just --
   18       Q. Okay. Let me give you some                   18      we're not getting realtime.
   19   basics, and then we'll get started.                 19          Are you?
   20           I'm going to ask you questions              20          MR. MIGLIORI: I am.
   21   throughout the day. The court reporter is           21          (Pause.)
   22   going to take down my questions. If                 22   BY MR. MIGLIORI:
   23   they're clear and understandable, I'd ask           23      Q. Okay. Sir, could you give the
   24   that you respond to them. If you don't              24   jury your full name and your address,
                                                 Page 15                                             Page 17
    1   understand the question, I'd ask you to              1   please?
    2   let me know.                                         2       A. My name is Jeffrey Scott
    3          I would ask you to give me some               3   Peacock. I live at 2911 Chester Street,
    4   time between my question and your answer             4   Oceanside, New York 11572.
    5   such that, one, the court reporter can               5       Q. Okay. And, what is your job
    6   take it down, and, two, your counsel, if             6   title?
    7   he chooses, would have an opportunity to             7       A. I'm the vice-president of Global
    8   put an objection down on the record.                 8   Quality Assurance and Regulatory Affairs.
    9          Okay?                                         9       Q. And the name of your employer
   10      A. Mm-hm.                                        10   is?
   11      Q. Second rule is you have to                    11       A. Henry Schein.
   12   actually say "yes" or "no."                         12       Q. How long have you worked there?
   13      A. Yes.                                          13       A. Five years six months,
   14      Q. And it's a lot easier for the                 14   six-and-a-half months.
   15   court reporter to type that --                      15       Q. Okay. We'll go through some of
   16      A. Yes.                                          16   the specifics of your background and
   17      Q. -- than nods or gestures or                   17   training.
   18   grunts.                                             18           I want to start with Exhibit
   19          If you answer a question, I'll               19   Number 1.
   20   assume that you've understood it.                   20           (Peacock Exhibit 1, Plaintiffs'
   21          Is that a fair ground rule for               21       Notice of Oral Videotaped Deposition
   22   the day?                                            22       of Jeff Peacock As Fact Witness For
   23      A. Sure.                                         23       Defendant Henry Schein, was marked for
   24      Q. Okay.                                         24       identification, as of this date.)
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    1   BY MR. MIGLIORI:                            1   in preparation for this deposition?
    2      Q. I'm going to pass these across        2      A. Yes.
    3   the table. There are two copies. The one    3      Q. And, when did you first meet?
    4   with the sticker is for you. The one        4      A. Yesterday.
    5   that's not is for your counsel.             5      Q. That was the first time you met?
    6          In front of you is what's been       6      A. Yes.
    7   marked as Exhibit 1. It's a notice of       7      Q. Prior to that meeting, were you
    8   today's deposition.                         8   provided any materials to review in
    9          Were you provided this before        9   anticipation of the meeting?
   10   today?                                     10      A. No, sir.
   11      A. I left my glasses in my coat.        11      Q. Have you reviewed documents in
   12          MR. McDONALD: They're in your       12   preparation for today?
   13      jacket?                                 13      A. Only yesterday.
   14          THE WITNESS: They're in my          14      Q. How long was your meeting
   15      jacket pocket. Sorry.                   15   yesterday?
   16          MR. MIGLIORI: Not a problem.        16      A. Six hours.
   17      We will need those today.               17      Q. And, who was present?
   18          THE VIDEOGRAPHER: Should we go      18      A. Mr. McDonald, the next
   19      off the record?                         19   gentleman, and Margie.
   20          MR. MIGLIORI: It doesn't            20      Q. Okay.
   21      matter.                                 21      A. I'm sorry.
   22          (Pause.)                            22      Q. Scott?
   23          THE VIDEOGRAPHER: Actually, can     23      A. Scott.
   24      we go off the record for just one       24      Q. That's okay. He is a gentleman.
                                         Page 19                                           Page 21
    1      second? I think that phone might have    1          And the three of you met and
    2      disconnected on us.                      2   they provided documents, or did you also
    3          MR. MIGLIORI: Okay.                  3   bring with you documents?
    4          THE VIDEOGRAPHER: The time is        4      A. I brought in a couple documents.
    5      9:21 a.m.                                5      Q. Okay. And, were these documents
    6          Going off the record.                6   you reviewed documents that were kept in
    7          (Recess taken.)                      7   the ordinary course of business at Henry
    8          THE VIDEOGRAPHER: We are back        8   Schein?
    9      on the record.                           9      A. Yes, sir.
   10          The time is 9:23 a.m.               10      Q. Were you asked to produce
   11   BY MR. MIGLIORI:                           11   documents from your own files months ago
   12      Q. Okay. Had you seen, now that         12   in response to discovery requests in this
   13   we're situated, had you seen this, the     13   case?
   14   notice, before?                            14      A. Absolutely.
   15      A. Yes, sir.                            15      Q. And, were the documents you
   16      Q. When were you first advised of       16   brought with you provided at that time?
   17   this deposition?                           17      A. Yes.
   18      A. I don't remember the exact date.     18      Q. So, there was nothing new that
   19   I was notified by our corporate attorney   19   you brought to the table yesterday?
   20   that I was called.                         20      A. No, sir.
   21      Q. Was it within the past few           21      Q. Okay. Thank you.
   22   months?                                    22          And, in reviewing the documents,
   23      A. Yes, weeks.                          23   was there anything that you reviewed that
   24      Q. And, did you meet with anybody       24   was new to you that you hadn't seen
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    1   before, don't believe was in your custody      1     it.
    2   and control?                                   2           MR. McDONALD: He didn't.
    3      A. There was some documents prior           3           MR. MIGLIORI: Okay. Well,
    4   to my joining Henry Schein in 2013.            4       we'll go from here and see what
    5      Q. And, did you review any                  5       happens.
    6   testimony in this case?                        6           (Peacock Exhibit 2, LinkedIn
    7      A. No.                                      7       profile of Jeff Peacock, was marked
    8      Q. Do you know Shaun Abreu?                 8       for identification, as of this date.)
    9      A. I do.                                    9   BY MR. MIGLIORI:
   10      Q. And you know that Shaun Abreu           10       Q. Best I can do is what you put
   11   testified in this case?                       11   online on LinkedIn.
   12      A. I do.                                   12           I show you Exhibit Number 2.
   13      Q. Did you talk to Shaun about his         13   It's obviously very superficial, but let's
   14   testimony?                                    14   go over it.
   15      A. I talked to him, but he didn't          15           Could you go over your
   16   disclose anything about the testimony. He     16   educational background?
   17   said it was a long day.                       17       A. Sure.
   18      Q. Okay. And, did you ever see or          18       Q. So, you went to Cornell
   19   review any of the written transcript of       19   University undergraduate?
   20   his testimony?                                20       A. Correct.
   21      A. No, sir.                                21       Q. And graduated in 1979?
   22      Q. Did anyone tell you the                 22       A. Yes.
   23   substance of his testimony?                   23       Q. With a bachelor of science
   24      A. No, sir.                                24   degree in animal physiology?
                                            Page 23                                                 Page 25
    1      Q. Other than the documents that            1      A. Correct.
    2   counsel showed you and the documents you       2      Q. And then it looks like you had a
    3   brought to the meeting yesterday, is there     3   four-year master's program in medical
    4   anything else that you reviewed in             4   biology and immunology?
    5   anticipation or preparation for --             5      A. It was at night, so it took four
    6      A. No, sir.                                 6   years to get, but I was working at the
    7           MR. McDONALD: Just be sure to          7   time.
    8      let him finish his question.                8      Q. And, what is LIU Post?
    9           THE WITNESS: I'm sorry.                9      A. Long Island University.
   10           MR. McDONALD: That's okay.            10      Q. Okay.
   11   BY MR. MIGLIORI:                              11      A. C.W. Post campus.
   12      Q. Okay. Let me go over your               12      Q. Got you.
   13   background a little bit first, and then       13          When you graduated in 1990, you
   14   we'll get into Henry Schein.                  14   were -- you said you were working at the
   15           I don't -- do you have a current      15   time?
   16   curriculum vitae?                             16      A. Yes, sir.
   17      A. I do.                                   17      Q. And, I'm looking at this. It
   18      Q. Is that something you provided          18   seems that you worked at Memorial
   19   to counsel?                                   19   Sloan-Kettering Cancer Center from 1985 to
   20      A. I don't recall.                         20   1986?
   21           MR. MIGLIORI: Okay. I don't           21      A. That's correct.
   22      have a copy.                               22      Q. And, what were you doing there?
   23           And, counsel, if you do and have      23      A. I was the manager of the
   24      produced it, I don't -- I don't have       24   epidermal growth factor receptor
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    1   laboratory that was run by Dr. John           1   Quest Laboratories, Quest Diagnostics.
    2   Mendelsohn, and we were doing research on     2      Q. So, is it fair to say you were
    3   monoclonal antibodies for cancer              3   heavily involved in the research and
    4   therapies, and a product that we worked on    4   development and regulatory process for new
    5   actually became a drug called Erbitux.        5   drugs?
    6      Q. Okay.                                   6      A. This was a diagnostic, so it
    7      A. Which is sold by Bristol-Meyers.        7   wasn't a drug.
    8      Q. Do you think the Israelis have          8      Q. Okay. It was a --
    9   found a cure?                                 9      A. Yeah, it was a diagnostic.
   10      A. I hope so.                             10          After that, so, I was there
   11      Q. Sounds like they're optimistic.        11   from, you know, '86 to about 2000. There
   12          That's the kind of work you were      12   was a new president brought on, and I was
   13   doing though?                                13   brought in to the corporate fold where I
   14      A. Yes.                                   14   did -- ran clinical trials, quality
   15      Q. Research on medications?               15   control, quality assurance.
   16      A. Yeah.                                  16      Q. That started in 2000?
   17          I was -- prior to that, I had         17      A. That started in 2000.
   18   two other jobs. I was working in research    18      Q. Same company though?
   19   doing, you know, monoclonal antibody         19      A. Same company.
   20   development, looking at, you know,           20      Q. And that company is based in
   21   different bacterial infections, means to     21   Lake Success, New York?
   22   detect them with monoclonal antibodies,      22      A. It's closed now. We were
   23   and that was the --                          23   purchased in 2008.
   24      Q. Were you doing any work at this        24      Q. By?
                                           Page 27                                            Page 29
    1   time on controlled substances?                1      A. By Bracco Diagnostics. It's the
    2      A. No.                                     2   next company on the list.
    3      Q. After that, there's a reference         3          And I was --
    4   to EZEM.                                      4      Q. Before we leave EZEM though.
    5          What is that?                          5          At any time during your 21 years
    6      A. It was a pharmaceutical medical         6   there, did you work in any way with
    7   device company.                               7   controlled substances or opioids?
    8      Q. And, what did you do for them?          8      A. No.
    9      A. I did a lot for them. So, I had         9      Q. The company was bought out in
   10   multiple -- multiple jobs. I came as a       10   2008.
   11   kind of an immunochemist when I was          11          What did your responsibilities
   12   working in their research laboratory. We     12   become?
   13   started the department there called          13          What was the name of the
   14   Enteric Products where we commercialized     14   company?
   15   the protein from the Baylor College of       15      A. The company was Bracco
   16   Medicine, and it was for detection of a      16   Diagnostics.
   17   bacteria called Helicobacter pylori. So      17      Q. Okay. And, what, if any,
   18   we had kind of spun off part of the          18   additional responsibilities did you have?
   19   business, and we ran an incubator out at     19      A. So, in that role, I took on the
   20   Stony Brook University. Relatively small     20   VP of operations, and in that role I was
   21   staff which we over the years built up       21   overseeing the manufacturing of some of
   22   when but we started to commercialize this    22   the contract manufactured pharmaceuticals,
   23   product, put it through the FDA, and, you    23   as well as some of the -- we -- EZEM made
   24   know, sold it to major laboratories like     24   barium products, barium sulphate for
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    1   swallows, enemas, things like that. And         1       Bates No. HSI-MDL-00632419 to
    2   then in that role, I took over the              2       00632520, was marked for
    3   manufacturing responsibilities, 'cause of       3       identification, as of this date.)
    4   my prior experience, of the facility that       4   BY MR. MIGLIORI:
    5   we had in Montreal, as well as several          5       Q. This is the personnel file that
    6   contract manufacturers throughout the U.S.      6   we received for you. I'm not going to go
    7      Q. Okay. And --                              7   through the whole thing. We may return to
    8      A. Both in devices and drugs.                8   it later. I just want to direct your
    9          I'm sorry.                               9   attention on Exhibit Number 3, if you look
   10      Q. That was going to be my next             10   at the bottom right corner there are
   11   question.                                      11   numbers and the first number is -- the
   12          On the drug side, did you have          12   first letters are HSI. That's referring
   13   any direct involvement with agencies, FDA,     13   to Henry Schein Incorporated. And then it
   14   DEA?                                           14   says MDL.
   15      A. Yes.                                     15           If you turn to the page that has
   16      Q. What kind of involvement did you         16   the last three numbers '425. This appears
   17   have?                                          17   to be the signature page of a letter offer
   18      A. Well, we were audited fairly             18   to you and acceptance of the position.
   19   regularly. There was a -- you know, with       19           Is that your signature?
   20   the device and the drug business, it was       20       A. Yes, sir.
   21   almost every year we were being audited.       21       Q. Okay. So you accepted the
   22      Q. Okay. Any controlled                     22   position on May 20th, 2013 to start on
   23   substances?                                    23   July 1st of 2013, and the job title was
   24      A. No, sir.                                 24   vice-president Regulatory Affairs based in
                                             Page 31                                            Page 33
    1      Q. You stayed there for how long?            1   Melville, New York reporting to Len David,
    2      A. Five years.                               2   the senior vice-president and chief
    3      Q. And then what happened?                   3   compliance officer.
    4      A. Then I was recruited to come to           4          Is that the job that you
    5   Schein. The prince -- the Bracco                5   accepted?
    6   Diagnostics was based out of Princeton. I       6      A. That's correct.
    7   was commuting from Long Island to               7      Q. And, what did you understand the
    8   Princeton and did that for five years, and      8   job to be?
    9   then I was recruited and I came to Henry        9      A. The job was responsible for the
   10   Schein.                                        10   Quality Assurance and Regulatory Affairs
   11      Q. Who recruited you?                       11   for the company for North America.
   12      A. I don't know the name of the             12      Q. Okay. And, is this the first
   13   recruiting firm. It's a Long Island            13   time that you would have been involved in
   14   company. APR, something like that.             14   any way with responsibilities relative to
   15          I'm sorry I don't know the name.        15   controlled substances?
   16      Q. And, into what position did they         16      A. That's correct.
   17   recruit you?                                   17      Q. Had you had any training, prior
   18      A. I was the VP of Quality                  18   to accepting this position in 2013, in
   19   Assurance and Regulatory Affairs.              19   regulatory compliance or obligations for
   20          MR. MIGLIORI: I'm going to show         20   controlled substances?
   21      you what I'm just going to mark as          21      A. No, sir.
   22      Exhibit 3.                                  22      Q. How did you get educated, or how
   23          (Peacock Exhibit 3, Conflict of         23   did you educate yourself to understand
   24      Interest Statement, Offer Letter,           24   your responsibilities in your new position
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    1   relative to controlled substances at Henry      1   was presented by your company as the
    2   Schein?                                         2   person with most knowledge about the
    3      A. So, there was initially training          3   suspicious order monitoring programs and
    4   with the team. So we -- we would meet and       4   the obligations of Henry Schein for
    5   go over what the processes were.                5   controlled substances?
    6   Generally it was on-the-job training.           6      A. I was not aware, no.
    7      Q. Okay. And, who were the folks,            7      Q. Is it, in your view, in your
    8   when you got there, that had the knowledge      8   experience, in your on-the-job training,
    9   about the Controlled Substances Act and         9   your perception that compliance with the
   10   the obligations of Henry Schein relative       10   Controlled Substances Act is more of a
   11   to controlled substances that you learned      11   responsibility of the Verifications
   12   from on the job?                               12   Department or of the Regulatory Affairs
   13      A. Yeah. So, primarily would be             13   Department?
   14   Sergio Tejeda, who had been with the           14      A. Could you repeat the question?
   15   company for a long time prior to my coming     15      Q. Sure.
   16   on.                                            16         Compliance and reporting to the
   17      Q. Okay. And, we'll go through,             17   DEA, is that a function within Henry
   18   but he now reports to you, right?              18   Schein of the Regulatory Affairs
   19      A. Correct.                                 19   Department or the Verifications
   20      Q. Okay. Who else?                          20   Department?
   21      A. And his team. So there were              21         MR. McDONALD: Object to the
   22   people that had been, you know, reviewers,     22      form.
   23   verifiers, et cetera, for a number of          23      A. My opinion is it's a shared
   24   years.                                         24   responsibility. So, there's functions
                                             Page 35                                              Page 37
    1      Q. And, as I understand the                  1   that they do. There is , you know,
    2   structure of Henry Schein, there is the         2   processes within the team in the
    3   Regulatory Department and then there is a       3   electronic reporting, the ARCOS data, et
    4   Verifications Department. Those are two         4   cetera, but then, you know, other
    5   separate departments, but they have some        5   additional advising and oversight is with
    6   overlap in some of their responsibilities.      6   my group.
    7          Is that a fair statement?                7      Q. Okay. Is it fair to say then
    8      A. Yeah. It's a shared process,              8   that the primary responsibility to assure
    9   right, so.                                      9   compliance with DEA regulations is with
   10      Q. But Verifications, for example,          10   the Regulatory Department, but
   11   didn't report to Regulatory?                   11   Verification plays a role in that process?
   12      A. No.                                      12          MR. McDONALD: Object to the
   13      Q. That is they are their own               13      form.
   14   department, and to the extent that there       14      A. Yeah, I -- I -- I would agree.
   15   was overlap, there was collaboration           15          MR. MIGLIORI: Okay. Let me
   16   between those two departments?                 16      show you Exhibit Number 4.
   17      A. Yes.                                     17          (Peacock Exhibit 4, Power Point
   18      Q. And, at no point in this process         18      presentation Global Quality Assurance,
   19   did you have oversight obligations or          19      Regulatory Affairs and Trade
   20   responsibilities towards Shaun Abreu or        20      Compliance December 9th, 2016 Jeff
   21   those that worked for him in                   21      Peacock, was marked for
   22   Verifications, correct?                        22      identification, as of this date.)
   23      A. That is correct.                         23   BY MR. MIGLIORI:
   24      Q. Are you aware that Shaun Abreu           24      Q. This just helps me understand a
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    1   little bit more about the structure.             1     record, because Tejeda was
    2           From time to time, we'll see a           2     vice-president of Quality Assurance
    3   document that doesn't have a date on it,         3     and Regulatory Affairs and then it
    4   but I can tell you what the date is based        4     changed to Global, still Quality
    5   on information that's in the metadata.           5     Assurance and Regulatory Affairs.
    6           So, I'll represent to you that           6          MR. MIGLIORI: Did I --
    7   this is from December 9th of 2016. It's a        7          MR. McDONALD: You skipped
    8   Power Point presentation. The Bates              8     Quality Assurance in his initial
    9   number ends on the first page in '509.           9     title.
   10           And, if you look at the second          10          MR. MIGLIORI: In his initial,
   11   page, it's the cover of the Power Point is      11     fair enough.
   12   "Global Quality Assurance, Regulatory           12     A. Actually, he's correct because
   13   Affairs and Trade Compliance, December          13   when I was hired, it was Regulatory
   14   9th, 2016, Jeff Peacock."                       14   Affairs, and I split the department into
   15           That's you, correct?                    15   Quality Assurance and Regulatory Affairs.
   16       A. That is correct.                         16   That was one of the functions that I did.
   17       Q. Do you remember giving this              17     Q. Wait. Can you repeat that
   18   presentation?                                   18   again, he's correct? No, just the "he's
   19       A. Yes, sir.                                19   correct" part.
   20       Q. And, who had you given it to?            20     A. Yeah, you're correct.
   21       A. My immediate boss.                       21          No, but the offer letter was
   22       Q. Which was who at the time?               22   basically for Regulatory Affairs.
   23       A. Walter Siegel.                           23     Q. Right.
   24       Q. And, what was his title?                 24     A. And then over the course of, you
                                              Page 39                                             Page 41
    1      A. He's the chief counsel, senior             1   know, a year or so, I broke the department
    2   vice-president, chief counsel.                   2   into Quality Assurance and Regulatory
    3      Q. Okay. And, what was the purpose            3   Affairs.
    4   of the presentation?                             4      Q. I think that's why I pulled that
    5      A. I was just taking on, I don't              5   out of my head because we just pulled that
    6   know exactly the dates, but I had been           6   out of the letter.
    7   expanded and promoted for global                 7          So, you went from the
    8   responsibility. So this was one of the           8   vice-president of Regulatory Affairs and
    9   kind of overviews that I did.                    9   then it became the vice-president of
   10      Q. Okay. So, at some point, you              10   global -- I'm sorry, of Quality Assurance
   11   went from regular -- the vice-president of      11   and Regulatory Affairs.
   12   Regulatory Affairs to the vice-president        12          Does trade compliance --
   13   of Global Quality Assurance and Regulatory      13      A. That was rolled in, yeah.
   14   Affairs?                                        14      Q. Rolled into it as well?
   15      A. Yes.                                      15      A. Yeah.
   16      Q. And this would have been some             16      Q. And then at some point, you --
   17   time approximately right after that             17   they expanded that to not just domestic
   18   transition in 2016?                             18   U.S. responsibilities, but worldwide
   19      A. I would assume. I --                      19   responsibilities?
   20      Q. Okay.                                     20      A. Global, correct.
   21      A. -- can't be sure, but --                  21      Q. And this would have been a
   22          MR. McDONALD: And, to be clear,          22   presentation now of what's going on both
   23      Don, looking at your question, he            23   domestically and worldwide?
   24      previously -- so we have a clear             24      A. Yes.
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    1      Q. And you were making this                   1          Are they broken up by
    2   presentation to your immediate report,           2   responsibilities?
    3   your supervision, correct?                       3      A. Yes, sir.
    4      A. Mm-hm.                                     4      Q. What are they?
    5      Q. And, when you say compliance --            5          Let's start with Sergio Tejeda.
    6   you said, sounded like a lawyer. I forget        6      A. So, he's Regulatory Affairs,
    7   the counsel or something.                        7   director RA there.
    8           Who did you give this to, this           8      Q. Okay. And under him there is
    9   presentation?                                    9   Gary, at least at the time, Tiam?
   10      A. It was chief counsel.                     10      A. Tiamsic.
   11      Q. Chief counsel.                            11      Q. Tiamsic.
   12           So, is that within the Legal            12      A. Andi Tiller.
   13   Department?                                     13      Q. And then there was an open
   14      A. Yep.                                      14   manager position?
   15      Q. All right. On the third page of           15      A. Correct.
   16   this, it talks about the -- the division        16      Q. And this would have been the
   17   and the mission statement.                      17   Regulatory Affairs Department in Melville
   18           And, is that something that             18   or both in Melville and I believe Denver?
   19   pre-existed, or did you come up with the        19          Where is the other facility, or
   20   mission statement?                              20   the other --
   21      A. It's changed, but I came up with          21      A. We have several facilities. So,
   22   a new one, but this is what was there, I        22   there's one in Denver, Pennsylvania, in
   23   believe.                                        23   Jacksonville, Florida, Bastian, Virginia,
   24      Q. Okay. And part of the mission             24   Indianapolis and Reno, Nevada.
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    1   statement is to support the continuous           1      Q. Okay. And they all have
    2   success of Henry Schein businesses and           2   regulatory responsibilities, all of those
    3   operations worldwide while insuring              3   that you just listed?
    4   ongoing compliance with all applicable           4      A. Could you be more specific?
    5   regulatory, quality and trade compliance         5      Q. Are there regulatory affairs
    6   requirements.                                    6   folks in each of those locations?
    7          That component involves the               7          I'm trying to work off this
    8   compliance with DEA and Controlled               8   flowchart and just understand the
    9   Substances Act, correct?                         9   structure of the department.
   10      A. Yes, sir.                                 10      A. No, there's not.
   11      Q. It also, to the extent relevant,          11      Q. Okay. So, are there any folks
   12   would apply to the FDA?                         12   within Regulatory Affairs, other than
   13      A. Yes, sir.                                 13   those listed in this chart?
   14      Q. And all of those functions and            14      A. So, I'm a little confused. I
   15   that quality assurance and that                 15   apologize.
   16   compliance, that fell under your direct         16          So, if you go back to are there
   17   responsibility, correct?                        17   any? There's some of the DEA auditors
   18      A. Yes, sir.                                 18   were in Indy, Jacksonville and Denver. So
   19      Q. If you turn to the next page,             19   we had three of them there.
   20   there's a flowchart that lists you on top       20      Q. Okay. You had -- so, you had
   21   as vice-president, and then on the U.S.         21   internal DEA auditors?
   22   side, which is all we're going to talk          22      A. Yeah, our internal DEA team.
   23   about, it has four different columns            23      Q. Right.
   24   there.                                          24      A. Would perform, you know, your
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    1   customer end audits, site audits.               1   suspicious order, they would seek review
    2      Q. And, is there a person -- is              2   from this department?
    3   there a managing person of that team, of        3      A. Correct.
    4   the internal --                                 4      Q. And there were times throughout
    5      A. So, Sergio's the ultimate                 5   the course, at least of your experience,
    6   director of that team. There was a              6   that those pended orders were cleared and
    7   manager who was left -- who had left, and       7   released within the Verifications
    8   then there was a new manager who was            8   Department, correct?
    9   brought in.                                     9      A. That is correct.
   10      Q. Okay. Who is the manager that            10      Q. That is it didn't involve
   11   left?                                          11   Regulatory Affairs at all?
   12      A. Her name was Tina Steffanie-Oak.         12      A. Yes.
   13      Q. Okay. And, who's the one that            13      Q. Is that still true today? Is
   14   replaced Tina Steffanie-Oak?                   14   that still part of the process?
   15      A. His name is Frank O'Regan.               15      A. Yes.
   16      Q. Okay. And, what is the                   16          MR. MIGLIORI: Is that our
   17   responsibility of the internal DEA team,       17      phone?
   18   audit team?                                    18          MR. McDONALD: No. It's next
   19      A. So, they work with Verifications         19      door. They just fixed it.
   20   when there is any Know Your Customer Due       20          MR. MIGLIORI: Okay.
   21   Diligence that needs to be done. They          21   BY MR. MIGLIORI:
   22   review the files. They review the              22      Q. And, can you remember, in the
   23   doctors. They review the questionnaires.       23   time that you've been there from 2013 to
   24   They speak to them on occasion, and they       24   the present, any other people on this team
                                             Page 47                                              Page 49
    1   may visit the site on occasion.                 1   just by name, on the -- the internal --
    2      Q. Okay. What roles do they have             2      A. You want the name of the people?
    3   relative to audits? Is it their own             3      Q. Yeah. Just other folks that
    4   auditing?                                       4   worked with Tina or Frank.
    5           When you say DEA audits, are            5      A. Beverly Butcher, Liam Schemer.
    6   they also responsible for external audits?      6      Q. Anyone else that you can think
    7      A. Yes, of customers.                        7   of?
    8      Q. Okay. Just of customers.                  8      A. There was Pete Schmidt, Nick
    9      A. They support the managing                 9   DeLucia, Glenn Lonnquist. And I believe
   10   director of the facilities, the                10   that's it.
   11   distribution centers.                          11      Q. Okay. Did this group meet
   12      Q. Right.                                   12   regularly?
   13      A. So, the operations people, they          13      A. Yes.
   14   would support the DEA audits when they         14      Q. And, you said they were spread
   15   come to audit us.                              15   out all over the country, or were they all
   16      Q. Got you.                                 16   in Melville?
   17      A. These people would be support            17      A. All over -- well, most of them
   18   for questions, et cetera.                      18   were on -- on their -- different sites.
   19      Q. And, so, this department,                19      Q. Okay. And, so, how often would
   20   this -- this department is under Sergio        20   they meet? Was there a regular meeting
   21   Tejeda within Regulatory Affairs, correct?     21   for them?
   22      A. Correct.                                 22      A. There was a regularly
   23      Q. And, from time to time, if               23   once-a-month meeting and, you know, there
   24   Verifications couldn't clear a pended or       24   was a lot of interface within the team.
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    1      Q. And, were there minutes of those          1      A. So, the teams that are listed
    2   meetings?                                       2   here, the Andi Tiller's team, she runs the
    3      A. Yes.                                      3   facility in Bastian, Virginia. Gary
    4      Q. And, were those minutes --                4   Tiamsic's team runs what we call the Major
    5      A. Not all. I can't say all, but             5   Projects.
    6   certainly some for sure.                        6      Q. Okay.
    7      Q. And those minutes would be                7      A. So, in 2013, there were two
    8   shared with Sergio, or would Sergio be at       8   legislations, the Drug Quality Security
    9   these meetings as well?                         9   Act for the FDA for serialization of
   10      A. Sergio was likely at those               10   pharmaceutical products, as well as unique
   11   meetings.                                      11   device identification for barcoding and
   12      Q. Okay. And then would you get a           12   identification of medical devices for
   13   monthly report of those meetings?              13   counterfeiting, et cetera. So, those are
   14      A. Sometimes I was present at those         14   two large initiatives, as you might
   15   meetings.                                      15   imagine, and he's the project manager
   16      Q. Okay. Were they webinars? Did            16   running those projects.
   17   you link in visually? Was it a phone           17      Q. When you say "running the
   18   conference?                                    18   project," is it implementation? Is it
   19      A. Phone conference.                        19   lobbying? How -- what role did Gary have?
   20      Q. Okay. And, was somebody's                20      A. Well, it's a multifunctional.
   21   responsibility to document any of the          21   So, you know, we have disciplines and
   22   decisions or concerns or events of the         22   operations. We have IT, et cetera.
   23   month?                                         23          So, during the meetings with the
   24      A. I can't say specifically. I              24   vendors sourcing out the solutions that we
                                             Page 51                                            Page 53
    1   mean, I -- you know, the minutes I think        1   have put in place, discussing negotiated
    2   drove what --                                   2   with those vendors for pricing, ultimately
    3      Q. Okay.                                     3   managing a budget with myself. You know,
    4      A. -- occurred.                              4   I had sign-off authority on it. Writing
    5      Q. And, if you were to ask to see            5   minutes to the meetings. Making sure that
    6   the minutes, where would you go? On what        6   we were on timelines. Being able to
    7   database, what system?                          7   report how the progress of the, you know,
    8          Or would you just call Lydia?            8   projects are going 'cause there are
    9      A. I probably would have received            9   certain timelines based on a class of
   10   them.                                          10   medical devices or who's, you know, the
   11      Q. Okay. And, so, you would have            11   manufacturer or distributors for
   12   somewhere in your files a file of the          12   pharmaceuticals, there were different
   13   monthly meetings of the DEA Audit Team,        13   dates that need to occur. So we wanted to
   14   correct?                                       14   make sure that we had, you know, process
   15      A. Mm-hm.                                   15   in place to meet those deadlines.
   16      Q. Yes?                                     16      Q. Did Major Projects track
   17      A. Yes.                                     17   state-specific obligations in regulations;
   18      Q. All right. And that's something          18   for example reporting requirements to
   19   that's kept in the ordinary course of your     19   Boards of Pharmacy and the like?
   20   business?                                      20      A. That would be within the
   21      A. Yes.                                     21   Regulatory under Sergio's DEA team.
   22      Q. All right. Any other teams               22          These were company-wide big
   23   underneath Regulatory Affairs besides this     23   projects.
   24   DEA Audit Team?                                24      Q. Sure. Okay.
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    1          So, none of them were truly just        1      Q. All right. They met regularly,
    2   specific to controlled substances or to a      2   had their own minutes, reported to you as
    3   particular drug? It was more universal         3   well?
    4   projects?                                      4           There's a "did" in there that I
    5      A. Yeah. So, I mean, he does other          5   didn't say.
    6   things as well. So, you know, it's part        6           Is that a group that had a
    7   of just running projects, but not the          7   regular meeting, or the repackaging was
    8   controlled substance part.                     8   just simply a function that was managed
    9      Q. Okay. The person for controlled          9   out of that?
   10   substances is Sergio Tejeda?                  10      A. So, they reported on a monthly
   11      A. Correct.                                11   basis on what the progress was and what
   12      Q. All right. Did this group,              12   they had done, any issues like that. They
   13   Major Projects, have regular meetings and     13   have management review meetings, which,
   14   minutes similar to the DEA team?              14   you know, one's happening today.
   15      A. Yes.                                    15      Q. More operational report?
   16      Q. All right. And those would be           16      A. Yeah.
   17   kept in the same --                           17      Q. And then the open manager
   18      A. Yes.                                    18   position DEA, what role is that? And who
   19      Q. -- course as the other minutes          19   filled it?
   20   that you have?                                20      A. The person who filled it was
   21      A. Yes.                                    21   Frank O'Regan, as I mentioned before. He
   22      Q. Okay. And then, I'm sorry I             22   had retired from the DEA, and he had
   23   missed it, but what did Andi Tiller run?      23   joined us to lead the team that does the
   24      A. She runs the facility in                24   Know Your Customer surveillance.
                                            Page 55                                            Page 57
    1   Bastian, Virginia. And, you know, it's         1      Q. Do you know when he joined to
    2   one of our distribution centers, but it's      2   fill that position?
    3   also a pharmaceutical repackaging. So          3           And again, just for orientation,
    4   it's kind of a misnomer, repackaging, but      4   this presentation was created in December
    5   we take packs of ten, we don't open the        5   9th of 2016.
    6   content, et cetera. We just individualize      6      A. I don't have the date.
    7   them for, you know, doctors that only want     7           I'm sorry.
    8   one out of a package of ten.                   8      Q. But it would be after that --
    9       Q. So that has its own set of              9      A. Yes.
   10   controls and --                               10      Q. -- if my date is correct?
   11       A. It's an FDA-regulated process.         11      A. Correct.
   12       Q. And, does Andi have any                12      Q. All right. And, the Know Your
   13   responsibilities relative to controlled       13   Customer components, at that point, you
   14   substances or opiates?                        14   had become aware that, prior to your
   15       A. There are controlled substances        15   hiring into Henry Schein, there was a
   16   in our facility.                              16   project to get current with the Know Your
   17       Q. Okay. So, that process of              17   Customer Due Diligence files at the
   18   repackaging could actually be for opioids     18   company, correct?
   19   as well?                                      19           MR. McDONALD: Object to the
   20       A. No, I don't believe that it's          20      form.
   21   true.                                         21      A. Yeah, I'm not quite clear.
   22       Q. All right. But it's just for           22           Prior to my --
   23   other classes?                                23      Q. There was an observation made,
   24       A. Yes.                                   24   earlier before your arrival at Henry
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    1   Schein, that 60 percent of the files had         1      A. I'd have to see the document. I
    2   no Know Your Customer Due Diligence              2   don't recall.
    3   letters in them.                                 3          I'm sorry.
    4          You were made aware of that when          4      Q. All right. We'll show it to
    5   you got there, correct?                          5   you. It's at the end of this. But let me
    6      A. Maybe not immediately, but at              6   finish this before I leave the document.
    7   some point, yes.                                 7          So, in terms of the regulatory
    8      Q. And there was a concerted                  8   affairs and quality assurance, this team
    9   effort, in fact you report on it, to catch       9   here is the team, this open position was
   10   up and catch up quick, correct?                 10   ultimately taken by Frank O'Regan.
   11      A. Yes.                                      11          Does he still hold that
   12      Q. And you've been involved in that          12   position?
   13   process and you show in some of your            13      A. No, he does not.
   14   reporting the efficacy of actually              14      Q. Did somebody replace him?
   15   completing that process and doing deeper        15      A. Somebody is starting on Monday.
   16   dives into certain prescribers, correct?        16      Q. Okay. And, when did Frank no
   17          MR. McDONALD: Object to the              17   longer have this position?
   18      form.                                        18      A. December 20th.
   19      A. Two parts to your question. I'm           19      Q. Of this -- of 2018?
   20   not sure.                                       20      A. Yes, sir.
   21          I apologize.                             21      Q. And, why did he -- did he leave?
   22      Q. Sure.                                     22      A. He did leave.
   23          You do report on the progress            23      Q. And, why did he leave?
   24   and expediency or urgency of the project        24      A. So, he had applied through the
                                              Page 59                                              Page 61
    1   to get current to your supervisors,              1   state for a -- he took a test about four
    2   correct?                                         2   years ago for a new position, 'cause he
    3      A. That is correct.                           3   had been in the DEA, and four years after
    4      Q. And, in that reporting, you also           4   it, he had worked for us probably
    5   talk about the importance of that process        5   year-and-a-half or two years, I don't
    6   and the ability it had given you to do           6   remember exactly the time frame, they
    7   more on-site visits and inspections,             7   called him and said you got the job. And
    8   correct?                                         8   he basically wrestled with it and took it.
    9          MR. McDONALD: Object to the               9       Q. Okay. And that's with the State
   10      form.                                        10   of New York?
   11   BY MR. MIGLIORI:                                11       A. Yes. Nassau County DA,
   12      Q. I believe you called it a                 12   actually.
   13   risk-driven process. That is you                13       Q. And, so, is he continuing to
   14   prioritized the catch-up project on the         14   work with compliance --
   15   Know Your Customer files by what seemed to      15       A. Yes.
   16   be the greatest risks first down to the         16       Q. -- and controlled substances?
   17   lesser risks.                                   17       A. That's correct.
   18      A. That is correct.                          18       Q. Is Andi Tiller still in this
   19      Q. All right.                                19   position?
   20      A. We always take a risk-based               20       A. Yes.
   21   approach, as we need to.                        21       Q. How about Gary Tiamsic?
   22      Q. And you also reported on doing            22       A. Yes.
   23   more on-site inspections in the period of       23       Q. And Sergio still is as well?
   24   time that you were catching up, correct?        24       A. Yes.
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    1      Q. All right. Anyone else on the            1   that I'm -- that I'm asking you about, DEA
    2   chart in the U.S.A. side that has              2   and opioids, if any?
    3   regulatory affairs responsibilities? I         3      A. Well, they're a distributor. So
    4   know that we're broken down by quality         4   they do have controlled substances.
    5   assurance and the like, but is there any       5      Q. Okay. So, where are they?
    6   overlap in these other -- these three          6          When you say they're a
    7   other?                                         7   distributor. Are they a distributor of
    8      A. So, it depends on the definition         8   controlled substances to the animal health
    9   of regulatory affairs.                         9   business?
   10      Q. I'm primarily focused on DEA and        10      A. The veterinary business, yes.
   11   controlled substances.                        11      Q. Okay. And, so, do they have
   12      A. Right. Just want to be clear.           12   their own set of rules or their own
   13      Q. No, I appreciate that.                  13   compliance people?
   14      A. No.                                     14      A. Yes.
   15      Q. Okay. So, in my world that              15      Q. And, who is the compliance
   16   we're dealing with in this case, the          16   person within the animal health division?
   17   opioid litigation, the -- the suspicious      17      A. Liz Ernst is the lead.
   18   order monitoring programs, the compliance     18      Q. Okay. And, do they report to
   19   with DEA regulations relative to the          19   you?
   20   distribution and sale of opioids, that        20      A. No.
   21   would be covered by these four managers       21      Q. Do they have separate reporting
   22   and director and the folks that report to     22   requirements? I mean, do they -- do any
   23   them?                                         23   of their --
   24      A. Correct.                                24          MR. MIGLIORI: Strike that.
                                            Page 63                                               Page 65
    1      Q. All right. On page 5, that's             1     Q.   The chart says they report to
    2   your international crew?                       2   you.
    3      A. Yes.                                     3          Is it just to report that
    4      Q. All right. Page 6 Regulatory             4   they're being compliant with their own
    5   Affairs and Quality Assurance. Again this      5   regulatory scheme? Do you have any
    6   has you on top with Lydia.                     6   involvement at all in their practice?
    7          Is it fair to say that Lydia's          7      A. I'm going to clarify that. It's
    8   probably equal in the importance --            8   a dotted line to me.
    9      A. In importance to me?                     9      Q. Okay.
   10          More so, actually.                     10      A. It's not a direct line.
   11      Q. Okay.                                   11      Q. Okay. That's helpful.
   12      A. Make sure she gets a copy.              12      A. So, we are like advisors,
   13      Q. I know how that works. That             13   consultants, and we, you know --
   14   works the same way in my office.              14      Q. Got you.
   15          Tell me about the breakdown            15      A. -- surveil and try to help them
   16   here.                                         16   as necessary.
   17          Who is Liz Ernst?                      17      Q. Same would be true for the Ortho
   18      A. Liz Ernst is the director at the        18   Organizers?
   19   time, now VP of Regulatory and Quality at     19      A. Yes. For all.
   20   Animal Health.                                20      Q. And the BioHorizons?
   21      Q. Okay. And, so, is this for              21      A. Mm-hm.
   22   research and development? Is this for         22      Q. And, what is Smart Pack?
   23   regulatory compliance? What roles would       23      A. It's an animal feed company.
   24   that column have relative to the things       24   They have horse feed.
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    1      Q. You have a solid line to Kathy             1      Q. And, how were their customers
    2   Strange at Ace Surgical.                         2   different from Schein's customers, if they
    3          Do you have DEA regulatory                3   are?
    4   responsibilities over that division?             4      A. I couldn't speak on that.
    5      A. Yes, sir.                                  5      Q. Okay. Page 8 you've got
    6      Q. And, what are they?                        6   licensure database.
    7      A. So, they were a distributor of             7          I just want to ask you briefly
    8   controlled substances. And my team would         8   where -- what do you call this database?
    9   help Sergio, and his team would help audit       9      A. Facility licensure database.
   10   them and advise them, et cetera.                10      Q. It's actually called that?
   11      Q. Do they have their own sales              11      A. So, our Henry Schein facilities
   12   force at Ace Surgical?                          12   and the licensure that each facility has.
   13      A. They do.                                  13      Q. Okay.
   14      Q. And, so, the sales force at Ace           14      A. Globally.
   15   Surgical would, of course, be accountable       15      Q. All right. So, these are your
   16   to you for complying with regulatory            16   own licenses, and this would include DEA
   17   obligations for the sale and distribution       17   licensing?
   18   of controlled substances, correct?              18      A. All the facilities that have
   19          MR. McDONALD: Object to the              19   them, yes.
   20      form.                                        20      Q. And they would include
   21   BY MR. MIGLIORI:                                21   state-based licensing, to the extent those
   22      Q. That is some of the functions             22   were required?
   23   of -- of the Regulatory Affairs is --           23      A. Correct.
   24   involves the sales and marketing of             24      Q. For controlled substances?
                                              Page 67                                             Page 69
    1   opioids as well, correct?                        1      A. Correct.
    2          MR. McDONALD: Object to the               2      Q. The customer licensure
    3      form.                                         3   verification, we talked a little bit about
    4      A. In terms of process, yes.                  4   this.
    5      Q. Okay. There's a specific                   5          But, is this Shaun Abreu's
    6   reference to, a little later in the deck,        6   department?
    7   but whatever functions they have at Ace          7      A. Yes.
    8   Surgical relative to opioids, the sale of        8      Q. Okay. The databases that they
    9   opioids, distribution of opioids, and            9   use, at least in 2016, are MedPro and NTIS
   10   their compliance with regulations, that is      10   systems.
   11   ultimately the responsibility of your           11          Is that right?
   12   department, correct?                            12      A. Yes, from back then, yes.
   13      A. Primarily it's the                        13      Q. Okay. Is it different today?
   14   responsibility of Kathy Strange, who is --      14      A. I'm not aware. I don't believe
   15   was the senior manager. She was                 15   so. I think it's the same.
   16   ultimately promoted to vice-president and       16      Q. And the JDE is what?
   17   ran this, but she had the direct line to        17      A. It's an Oracle EIP system.
   18   me for reporting, yes.                          18      Q. Okay. And is that the mother --
   19      Q. Okay.                                     19   the mother board of everything?
   20      A. They managed their system                 20      A. Enterprise resource system that
   21   themselves, so they didn't -- you know,         21   runs a company.
   22   Sergio and his team would provide               22      Q. Okay. If you could turn to page
   23   guidance. And, so, again, it's audits,          23   13, the slide that you have in your
   24   things like that.                               24   presentation called DEA Suspicious Order
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    1   Monitoring: Suspicious order monitoring       1      Q. Okay. And, where are those
    2   is managed through a system algorithm that    2   audits kept, that is the reports of those
    3   was built by a leading DEA consultant firm    3   audits?
    4   that confirms practice standards to insure    4      A. We have a share drive online.
    5   that only controlled substance drugs          5      Q. Okay. And, how often were those
    6   applicable to the practice are sold and       6   audits performed in the time that you were
    7   that the amounts of controlled substances     7   responsible from when you started to -- to
    8   are in line within acceptable tolerance       8   present? What was the regularity of
    9   ranges.                                       9   frequency of those audits?
   10           The DEA consulting firm you're       10      A. I'd say yearly, but I can't be
   11   referring to there is the Buzzeo firm, or    11   sure for every one. We target try to do
   12   do you know?                                 12   it yearly.
   13       A. I believe so, but I can't -- I'm      13      Q. And they would have been reduced
   14   not a hundred percent positive at this       14   to a writing, correct?
   15   time.                                        15      A. Mm-hm.
   16       Q. All right. If you go to the           16      Q. Yes?
   17   fourth bullet point: The team has gone       17      A. Yes.
   18   back to gain Know Your Customer forms from   18      Q. And those writings would have
   19   customers over the last few years on a       19   been shared with you and you would have
   20   risk-based approach.                         20   kept them in the ordinary course of
   21           We were talking about that a         21   business, correct?
   22   little earlier. In an effort to catch up     22      A. Yes.
   23   on the 60 percent of the customers that      23      Q. And, to the extent those audits
   24   had no due diligence Know Your Customer      24   produced any recommendations or concerns,
                                           Page 71                                              Page 73
    1   files, as of this point, it says: We have     1   those would have been elevated to the
    2   approximately 600 left out of the total of    2   correct people for -- to be addressed,
    3   18,000 customers purchasing controlled        3   correct?
    4   substances.                                   4      A. At each facility, that's
    5           Was this a reporting to your          5   correct.
    6   direct supervisor of what was left in the     6      Q. And, that is separate and apart
    7   project to catch up on the Know Your          7   from any outside auditing, that is any
    8   Customer documentation?                       8   vendors that came in like Buzzeo or
    9      A. Yes, that's fair. Yes.                  9   Dendrite, to come in and do the same
   10      Q. It says: Lastly, we perform            10   function, right?
   11   approximately 800 due diligence reviews      11      A. That is correct, yes.
   12   and 133 physician site audits of             12      Q. And those outside audits were
   13   suspicious customers each year, which has    13   also produced to you in a report form,
   14   been growing yearly. We also perform DEA     14   correct?
   15   audits of JVs.                               15      A. I'm not aware. I mean, I don't
   16           What are JVs?                        16   recall.
   17      A. Joint ventures.                        17      Q. Okay. I'll have some to show
   18      Q. Involved in controlled                 18   you and maybe we can talk about it.
   19   substances, including ACE, HSAH, Health      19           But, to the extent that
   20   First, Banyan and Darby.                     20   Dendrite, Buzzeo, any of those entities
   21           The DEA audits that you refer to     21   performed an audit and issued a report or
   22   here, who ran those?                         22   finding, you would certainly be one of the
   23      A. It would be Sergio or Frank            23   people to have received it, correct?
   24   O'Regan and the team.                        24      A. If it was of a Henry Schein
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    1   facility, absolutely.                          1   JVs impacted by controlled substance DEA
    2          If it was for a joint venture,          2   issues, Quality Assurance and Regulatory
    3   I'm not sure.                                  3   Affairs issues and Trade Compliance
    4      Q. Fair enough. And I'm mostly              4   issues.
    5   concerned about Henry Schein.                  5          The meetings are held with
    6      A. Yeah. Then I would say yes               6   relevant facilities regarding DQSA
    7   then.                                          7   prescription serialization and UID FDA
    8      Q. Okay. And, do you know how               8   compliance. Monthly reports are provided
    9   often outside vendors performed audits on      9   for all territories and quality metrics
   10   DEA compliance?                               10   have been established for overview of
   11      A. I think fairly regularly, but I         11   critical processes.
   12   don't know the time frame. So, 12, 18         12          These monthly reports, who
   13   months, maybe once every two years,           13   produces them? And where are they?
   14   somewhere in that area.                       14      A. My staff produces them. Each
   15      Q. Okay. And, was there                    15   individual has a contributing part. I
   16   somebody -- was there another auditing        16   would put an executive summary on it, and
   17   company besides Dendrite that you can         17   then I would provide it to my boss.
   18   think of that would have performed that       18      Q. Okay. And that's on a monthly
   19   kind of function?                             19   basis?
   20      A. Hyman Phelps.                           20      A. Correct.
   21      Q. Okay. Do you know when they             21      Q. And that began when, to your
   22   would have performed their audit?             22   knowledge?
   23      A. That was this past fall.                23      A. I think my stamp on it came
   24      Q. Fall of 2018?                           24   probably in the fall of '13.
                                            Page 75                                           Page 77
    1      A. Yes, sir.                                1      Q. Okay.
    2      Q. And, was a report -- do you              2      A. So I don't know December or
    3   recall reading a report of their audit?        3   November, somewhere in there.
    4      A. Yes.                                     4      Q. So some time in the end of 2013
    5      Q. And, is that something you would         5   through to today, these monthly meetings
    6   maintain in the ordinary course of your        6   or reports have been a normal process of
    7   business?                                      7   the department?
    8      A. Yes, sir.                                8      A. Correct.
    9      Q. Do you recall any of the                 9      Q. Okay. On page 16 it says:
   10   conclusions of that audit?                    10   Quality Assurance and Regulatory Affairs
   11      A. Not -- no, sir. I --                    11   developments are tracked globally by many
   12      Q. You'd have to rely on the               12   individuals around the globe through
   13   document?                                     13   seminars, general industry news
   14      A. I'd have to look at it.                 14   publication, email notifications from
   15      Q. Fair enough.                            15   regulatory agencies, trade journals and
   16          Any other third-party vendor           16   keyword searches in Westlaw and Nexus.
   17   audits that you can think of?                 17         Is there a place where those
   18      A. I can't recall. Sorry.                  18   tracked data or informations are kept?
   19      Q. Fair enough.                            19      A. At this time, no.
   20          If you turn to page 15. It             20         Currently we have adapted one of
   21   says: Quality Assurance and Regulatory        21   our positions to we call it Government
   22   Affairs communications plans have been        22   Affairs position and that person is a
   23   established for training and best             23   lawyer. They got their degree while
   24   practices review for all facilities and       24   working with us. They -- they had gone to
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    1   school, but they finally passed the bar,      1   hazardous materials and pesticides are
    2   and they're now the repository.               2   highly regulated activities by numerous
    3       Q. Okay. And, who is that person          3   government agencies worldwide.
    4   today?                                        4          So, are you responsible here, in
    5       A. Nick DeLucia.                          5   any way, and I'm trying to focus in on the
    6       Q. Okay. And, any such -- the next        6   sale of controlled substances.
    7   thing: Relevant findings are shared           7          Do you have, are you reporting
    8   throughout the Henry Schein network.          8   that you have within Regulatory Affairs a
    9           Are they shared electronically?       9   responsibility as to the sale and sales
   10       A. Yes. Or one of the monthly            10   practices of controlled substances?
   11   meetings. So if we have a monthly meeting    11          MR. McDONALD: Object to the
   12   with staff and we're talking about a -- a    12      form.
   13   new regulation or something like that,       13      A. Semantics, I believe.
   14   we'll start kicking it off.                  14          Processes are in place. There's
   15           So, there's a major regulation       15   customer verifications placed to make sure
   16   coming in Europe called the Medical Device   16   that the doctors are appropriate licensed.
   17   Regulation. It's kind of more mimicking      17   So, in that context, I think sale could be
   18   the A20 for medical devices. So, you         18   considered.
   19   know, it's coming into effect in 2020, so    19      Q. What about the messaging of the
   20   it's a lot of -- a lot of activity.          20   sales force at Henry Schein to new
   21   Everyone's getting involved in meetings,     21   customers or existing customers?
   22   now the kickoff meeting, looking at GAAP     22      A. I believe we do play a role. I
   23   analyses, et cetera.                         23   think there's a -- a -- I'm trying to
   24       Q. And, so, that would be housed,        24   recall, but I believe there's a package
                                           Page 79                                             Page 81
    1   the hub for that would be Nick DeLucia?       1   that we've kind of, you know, educational
    2      A. The information about that, yes.        2   package that we put out.
    3      Q. Okay.                                   3      Q. Okay. Do you know what that
    4      A. And others.                             4   package is called?
    5      Q. Let me show you page 21, and            5      A. I don't.
    6   once we're finished with this we'll take      6      Q. Do you know how big the sales
    7   our first break.                              7   force is at Henry Schein?
    8          Page 21 has -- it's entitled the       8          MR. McDONALD: Object to the
    9   "Role of Regulatory Affairs." It says:        9      form.
   10   Regulatory Affairs are responsible for the   10      A. Roughly, it's about three to
   11   compliance of all Henry Schein operations    11   four thousand.
   12   with applicable regulatory requirements      12      Q. And, are all three to four
   13   including - you list a bunch, but it says:   13   thousand sales reps qualified, authorized
   14   DEA, the National Board of Pharmacy, state   14   to sell, among other things, controlled
   15   boards of pharmacy, and others both at the   15   substances?
   16   federal and state level.                     16          MR. McDONALD: Object to the
   17          That -- that's -- that is             17      form.
   18   responsibility of your department,           18      A. I couldn't speak to that, sir.
   19   correct?                                     19      Q. Okay. That's what I'm trying to
   20      A. Correct.                               20   understand, what -- what it is that you
   21      Q. It says: The manufacture,              21   oversee with respect to sales.
   22   purchase, storage, sale and shipment of      22          What if those sales forces were
   23   prescription drugs, including controlled     23   presenting brochures of manufacturers
   24   substances, prescription medical devices,    24   about controlled substances, is that
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    1   something that would get reviewed through     1   requirements that the company is in good
    2   your department?                              2   standing with the FDA, no recalls, no
    3          MR. McDONALD: Object to the            3   warning letters, things of that nature.
    4      form; assumes facts not in evidence.       4   So that we facilitate them bringing new
    5      A. No, sir.                                5   products into the Henry Schein fold.
    6      Q. Okay. Do you know whether the           6      Q. And, is it also true on the
    7   sales force at Henry Schein delivered any     7   other side, on the distribution side, that
    8   promotional materials of any of the           8   you're involved with the Know Your
    9   controlled substance manufacturers in         9   Customer compliance obligations and all of
   10   their sales?                                 10   the out-the-door compliance requirements
   11      A. I do not have any such                 11   relative to marketing and sales?
   12   knowledge, no.                               12          MR. McDONALD: Object to the
   13      Q. Okay. One way or the other, you        13      form.
   14   don't know?                                  14      A. Two parts to the question again.
   15      A. I don't know.                          15          So, the customer verifications,
   16      Q. All right. And you don't               16   again, yes, that's correct.
   17   recall, since 2013, ever being asked to      17          If you're talking about
   18   review a situation where some                18   marketing materials or anything else,
   19   representations were made of the sales       19   promotional materials regarding any
   20   force to doctors or consumers of -- of       20   particular products, no.
   21   opioids from Henry Schein's distribution?    21      Q. Okay. What's your definition of
   22      A. Representation of?                     22   the verification process? What comes out
   23      Q. Of any kind about the efficacy,        23   of Verification for regulatory affairs
   24   the safety, the -- the use of, the proper    24   purposes?
                                           Page 83                                             Page 85
    1   use of, the indications for controlled        1      A. What would come out of
    2   substances?                                   2   Verifications from the customer service
    3      A. No, I have not.                         3   function would be an order that's pended
    4      Q. All right. It says: Regulatory          4   that they were not able to make a
    5   Affair customers - in quotes - includes       5   determination on, that they need
    6   almost every Team Schein Member, TSM. We      6   additional eyes or decision-making
    7   aid our fellow TSMs and joint venture         7   processes to make a final determination of
    8   partners across the globe working in          8   restriction or allowing sales.
    9   business units in marketing, in private       9      Q. Is the -- the process of pending
   10   brand, operations, verifications, customer   10   an order or performing due diligence of an
   11   service and business development.            11   order primarily, or on the front lines,
   12           What roles do you play in            12   the responsibility of the Verifications
   13   marketing as part of the Team Schein         13   Team?
   14   Members that are involved in marketing?      14      A. Define front lines.
   15      A. Well, I think in marketing we          15      Q. The first indication of a
   16   play a role in onboarding new -- new         16   potential suspicious order or any red
   17   cus -- new products. So, in terms of what    17   flag.
   18   they're looking to bring on, 'cause we --    18      A. Then the answer's yes.
   19   that's the business that we're in is         19      Q. So, it's the Verifications Team
   20   bringing on new products. So                 20   that would be the first to learn of and
   21   understanding what's there. We look at       21   know of a potential red flag?
   22   their regulatory requirements, making sure   22      A. That's correct.
   23   that the products are properly registered    23      Q. And it would be through the
   24   and they have, you know, all of the proper   24   Verifications Team that a decision would
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    1   be made to halt shipment or clear shipment      1   DEA requirements and best practices.
    2   or seek review from your department,            2          Is the sales reporting there a
    3   correct?                                        3   reference to ARCOS reporting?
    4      A. I'd have to look at the                   4      A. Yes, sir.
    5   procedure, but yes.                             5      Q. And, is the ARCOS reporting,
    6      Q. All right.                                6   does it emanate from your department or
    7      A. It makes sense.                           7   from Verifications?
    8      Q. In preparation for today, did             8      A. So, it's out of the JD Edwards
    9   you educate yourself on the history of the      9   system. It's an automated process.
   10   suspicious order monitoring programs and       10      Q. Okay. Who -- who monitors it,
   11   SOPs, or do -- do you know it just from        11   supervises it, quality controls it?
   12   your on-the-job training?                      12   Who's -- who's looking at it?
   13      A. I did not educate myself in              13      A. The Verifications Team.
   14   preparation for this.                          14      Q. All right. On page 22 it says:
   15           You know, this is one of many          15   Facility audits. Regulatory Affairs
   16   functions that I am responsible for. So I      16   conducts domestic facility audits for
   17   do have, you know, some knowledge. It's        17   Henry Schein Inc. and subdivision partners
   18   certainly not intimate knowledge about the     18   primarily for DEA and OSHA audits. The
   19   specifics of each procedure.                   19   audit teams identify where a violation
   20      Q. Okay. So, to the extent we were          20   could potentially arise and partner with
   21   to get into the -- the history of when the     21   facility representatives to proactively
   22   first suspicious order monitoring program      22   resolve these concerns.
   23   was put in place and what it entailed and      23          Are these the audits that we
   24   how it evolved and what set the thresholds     24   were talking about earlier that you think
                                             Page 87                                             Page 89
    1   prior to your employment at Henry Schein,       1   happened maybe once a year?
    2   you would defer to somebody else on that        2      A. For our DCs, absolutely. And
    3   information?                                    3   for the JVs, likely.
    4      A. Yeah. I would not have that               4      Q. Okay. And them.
    5   information.                                    5          And, to the extent there are
    6      Q. All right. If you go to page              6   reports of those, again, you would have
    7   22. Again there's a reference to                7   received those for the domestic DCs?
    8   Regulatory Affairs and DEA compliance.          8      A. Correct.
    9          It says: The sale of controlled          9          MR. MIGLIORI: You have to
   10   substances is a high risk area with heavy      10      forgive me. Somehow over the past two
   11   fines.                                         11      days, I developed a cold. So if my
   12          You agree with that, correct?           12      voice dropped or you can't understand
   13      A. Absolutely.                              13      me, let me know. I feel like I'm
   14      Q. And you know that by definition,         14      shouting right now.
   15   a controlled substance or a Class II           15          THE WITNESS: Not at all.
   16   controlled substance is a substance that       16   BY MR. MIGLIORI:
   17   has a high risk of abuse and misuse,           17      Q. And in the last page, and then
   18   correct?                                       18   we'll take a break, it says: Metrics of
   19      A. Yes, sir.                                19   regulatory activities.
   20      Q. All right. Regulatory Affairs            20          This is you just compiling,
   21   implemented and maintains a rigorous           21   basically from the time you got there
   22   Suspicious Order Monitoring and Know Your      22   through the report in 2016, so essentially
   23   Customer systems, as well as providing         23   from July of '13 or throughout all of '13
   24   sales reporting to insure compliance with      24   through all of '16, the -- the -- certain
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    1   activities --                                  1   go out based on would it be the high risk
    2      A. Activities.                              2   prioritized that is -- do they go out
    3      Q. So complaints, adverse events,           3   randomly, or do they go out to specific
    4   recalls and the like, right?                   4   facilities based on risk?
    5      A. That is correct.                         5      A. Based on risk.
    6      Q. When it says "DEA due diligence"         6      Q. Okay. And, so, in 2013, if I'm
    7   in the middle of the page, what is that?       7   reading this right, 103 such audits were
    8          Is that the Know Your Customer          8   performed of customers throughout the
    9   follow-up?                                     9   U.S.?
   10      A. That is correct.                        10      A. Mm-hm.
   11      Q. And, so, in 2013, 529 new Know          11      Q. Yes?
   12   Your Customer reports were added to the       12      A. Yes.
   13   system.                                       13      Q. And in 2016, 120 DEA audits
   14          Is that how I'm reading this?          14   performed by Henry Schein within your
   15      A. That's correct.                         15   department were performed throughout the
   16      Q. And then in 2016, in that               16   United States?
   17   calendar year, there were an additional       17      A. Yes.
   18   930 added?                                    18      Q. And, obviously, that would
   19      A. Yes.                                    19   include the State of Ohio, where we are in
   20      Q. Do you know as of --                    20   this litigation?
   21      A. Now, excuse me. I don't know if         21      A. It would include. Whether it's
   22   they're new customers or they were a          22   true or not for Ohio, I can't say.
   23   customer that had been, whether it was a      23      Q. To find out which are from Ohio
   24   new drug or a new something else that         24   and which are from others, there is a way
                                            Page 91                                             Page 93
    1   would trigger a due diligence file to be       1   to search that information, correct?
    2   reviewed. So, just to clarify that.            2      A. Yes.
    3      Q. So this number 930 could be new          3      Q. And, is that in the JDE?
    4   onboarded clients along with those that        4      A. It would be in the share --
    5   never had a Know Your Customer letter in       5   share drive.
    6   the file that you were retroactively           6      Q. Share drive?
    7   catching up on?                                7      A. Yeah.
    8      A. Correct.                                 8      Q. Okay.
    9      Q. All right. But the 930 is for            9      A. All the reports would be in
   10   the calendar year 2016, correct?              10   there.
   11      A. Correct.                                11      Q. Do you know how far that --
   12      Q. And the DEA customer audits,            12   those reports go back?
   13   that would be your department or              13      A. I do not.
   14   Verifications going out to see your           14      Q. Did you do anything to educate
   15   customers?                                    15   yourself at all, before we take a break,
   16      A. My department.                          16   about Ohio-specific actions taken,
   17      Q. And, who would perform those            17   investigations, audits in preparation for
   18   audits? Is that the team, the --              18   today?
   19      A. Under Frank O'Regan.                    19      A. I did not.
   20      Q. -- Tina or Fred?                        20          MR. MIGLIORI: Okay. Let's take
   21      A. Yeah.                                   21      a break and see if I can get my voice
   22      Q. Is it Fred or Frank?                    22      back.
   23      A. Frank.                                  23          THE VIDEOGRAPHER: All right.
   24      Q. They would go out and they would        24      The time is 10:29 a.m.
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    1          Going off the record.                    1      have a microphone.
    2          (Recess taken.)                          2           MR. MIGLIORI: As I was saying
    3          THE VIDEOGRAPHER: We are back            3      at the break, I developed a cold and
    4      on the record.                               4      my voice is starting to fade.
    5          The time is 10:48 a.m.                   5           So, I will try to talk louder,
    6          MR. MIGLIORI: I appreciate the           6      but it -- I feel like I'm screaming.
    7      education you gave me on the systems         7      But I'll keep -- there's no way to
    8      of the company. I want to take a step        8      move the phone. The microphones are
    9      back and talk about opioids                  9      built into the table.
   10      specifically and your obligations on        10           MS. BORSAY: Okay. Thank you.
   11      opioids.                                    11           MR. MIGLIORI: But I'll do my
   12          Let me show you Exhibit                 12      best.
   13      Number 5.                                   13   BY MR. MIGLIORI:
   14          (Peacock Exhibit 5, Title 21            14      Q. It says: Congress makes the
   15      United States Code Annotated Section        15   following findings. Many of the drugs
   16      801, was marked for identification, as      16   included within the subchapter have a
   17      of this date.)                              17   useful and legitimate medical purpose and
   18   BY MR. MIGLIORI:                               18   are necessary to maintain the health and
   19      Q. As the vice-president of, among          19   general welfare of the American people.
   20   other things, Regulatory Affairs, you          20           You understand that to be true
   21   agree with me that it's within your            21   for controlled substances?
   22   department ultimately that you are             22      A. Yes, sir.
   23   responsible for compliance with the            23      Q. The illegal importation,
   24   Controlled Substance Act, correct?             24   manufacture, distribution or possession of
                                             Page 95                                             Page 97
    1      A. Yes, sir.                                 1   improper use of controlled substances have
    2      Q. And Congress made certain                 2   a substantial and detrimental effect on
    3   findings about controlled substances, like      3   the health and general welfare of the
    4   opioids.                                        4   American people.
    5           Have you ever seen these before?        5          Do you agree with that
    6           MR. McDONALD: In this form?             6   statement?
    7           MR. MIGLIORI: And I'm referring         7      A. I do.
    8      to Exhibit 5 is the -- is the direct         8      Q. Do you believe today that we are
    9      Congress findings in the Controlled          9   in an epidemic with respect to the abuse
   10      Substance Act relative to controlled        10   and misuse of opioids?
   11      substances.                                 11      A. I --
   12      A. I have not.                              12          MR. McDONALD: Object to the
   13      Q. Let's see if you understand that         13      form.
   14   this is part of your charge and                14          Go ahead.
   15   responsibility within Regulatory Affairs       15      A. I do.
   16   at Henry Schein.                               16      Q. We talked about this a little
   17           It says Congress --                    17   earlier, but controlled substances have a
   18           MS. BORSAY: I'm sorry to               18   schedule. Schedule II opioids are, A, the
   19      interrupt. This is Casteel Borsy with       19   drug or other substance -- are classified
   20      Jones Day on the phone.                     20   as this: The drug or other substance has
   21           I'm having a really difficult          21   a high potential for abuse.
   22      time hearing the questions now. I           22          You understand that to be true
   23      could hear them before the break. So        23   for opioids, correct?
   24      I don't know if you moved or don't          24      A. That's correct.
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    1      Q. The drug or other substance has           1      A. Correct.
    2   a currently accepted medical use in             2      Q. And part of that obligation of
    3   treatment in the United States or               3   Henry Schein is to maintain an effective
    4   currently accepted medical use with severe      4   control against diversion of particular
    5   restrictions.                                   5   controlled substances into other than
    6          Do you appreciate that? Do you           6   legitimate medical, scientific and
    7   agree with that?                                7   industrial channels.
    8      A. Accepted medical use, yes.                8           Do you understand that to be
    9      Q. And that there are severe                 9   Henry Schein's obligation as a DEA
   10   restrictions on that use, correct?             10   registrant?
   11          MR. McDONALD: Object to the             11      A. Yes, sir.
   12      form.                                       12      Q. In carrying out that obligation,
   13          If you know, tell him.                  13   do you understand that there's a specific
   14      A. In terms of -- not -- I don't --         14   provision of the Controlled Substance Act,
   15   I'm not following what it says.                15   this is Exhibit Number 6, that requires
   16      Q. That there are severe                    16   Henry Schein, as a DEA registrant, to
   17   restrictions placed on the use of --           17   design and operate a system to disclose to
   18      A. In the ability to acquire them?          18   the registrant suspicious orders of
   19      Q. And distribute them.                     19   controlled substances?
   20      A. Yep. Yes.                                20           Do you understand that is the
   21      Q. Okay. The abuse of the drug or           21   obligation of Henry Schein to design and
   22   other substance may lead to severe             22   operate that system?
   23   psychological or physical dependence.          23      A. Yes, sir.
   24          Do you understand that to be            24           (Peacock Exhibit 6, Title 21
                                             Page 99                                            Page 101
    1   part of the classification of a Schedule        1      Code of Federal Regulations Section
    2   II drug?                                        2      1301.74, was marked for
    3       A. Yes, sir.                                3      identification, as of this date.)
    4       Q. Is there somebody at Henry               4   BY MR. MIGLIORI:
    5   Schein that is specifically tasked with         5      Q. (Reading) The registrant shall
    6   overseeing the compliance with Schedule II      6   inform the field office -- field division
    7   controlled substances, or is that a             7   office of the administration in his area
    8   general obligation within your department,      8   of suspicious orders when discovered by
    9   of all people that work for you?                9   the registrant.
   10       A. In the Regulatory Department,           10          Do you understand that
   11   it's general.                                  11   suspicious orders are to be, and have been
   12       Q. And you understand that you have        12   since 1971, reported to the DEA field
   13   a registration that is given by the            13   office when they are discovered?
   14   attorney general of the United States to       14          MR. McDONALD: Object to the
   15   distribute Schedule II controlled              15      form.
   16   substances which requires you to be in         16      A. Yes, sir.
   17   compliance with the Controlled Substances      17      Q. (Reading) Suspicious orders
   18   Act, correct?                                  18   include orders of unusual size, orders
   19       A. That is correct.                        19   deviating substantially from a normal
   20       Q. And that failure to comply with         20   pattern, and orders of unusual frequency.
   21   the Controlled Substances Act could cause,     21          Do you understand that to be, in
   22   among other things, the suspension or          22   part, the definition of a suspicious
   23   revocation of that DEA registration,           23   order?
   24   correct?                                       24          MR. McDONALD: Object to the
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    1      form.                                        1   BY MR. MIGLIORI:
    2      A. I do.                                     2      Q. You can answer.
    3      Q. So, an order that deviates from           3      A. Could you reclarify or restate,
    4   a prior order in size, in pattern, or in        4   please?
    5   frequency, by this definition, is presumed      5          I'm sorry.
    6   suspicious until determined otherwise,          6      Q. Were you asked to help prepare
    7   correct?                                        7   answers to interrogatories in this case,
    8          MR. McDONALD: Object to the              8   or provide information so that the company
    9      form.                                        9   could respond to written questions in this
   10      A. Yes. Yes.                                10   case?
   11      Q. In your review of the historical         11      A. No, I was not.
   12   suspicious ordering monitoring programs of     12      Q. Did you review yesterday any of
   13   Henry Schein, did you ever learn that the      13   the written responses of the company in
   14   suspicious order monitoring program            14   this case?
   15   through 2009, at least, did not measure        15      A. No, I did not.
   16   deviations in frequency or pattern? Did        16      Q. Did they show you that Henry
   17   you ever learn that fact?                      17   Schein has not produced any suspicious
   18      A. I did not.                               18   orders for Ohio in this case?
   19      Q. Okay.                                    19      A. No, they had not.
   20      A. I had no understanding, no.              20      Q. Does it surprise you that there
   21      Q. And, to the extent that that is          21   are no suspicious orders reported to the
   22   true or not, that is something you leave       22   DEA by Henry Schein in this case?
   23   to those that were there at the time,          23          MR. McDONALD: Object to the
   24   correct?                                       24      form.
                                            Page 103                                           Page 105
    1      A. I would have to investigate.              1      A. I would have to see what the
    2   Can't really make a determination, sir.         2   ordering patterns are, how much the
    3      Q. I guess my question is more               3   volumes were. There's no way I could make
    4   simple then. You're not the person to           4   a determination just without any
    5   either refute that or affirm that               5   information, sir.
    6   statement, correct?                             6      Q. You would agree with me that if
    7      A. That's correct.                           7   there were no suspicious orders for Ohio
    8      Q. Are you aware that in Ohio, in            8   from 2009 to present, it would mean that
    9   searching for suspicious orders in this         9   there were no orders that deviated in
   10   case, Henry Schein represented and             10   size, frequency, or pattern, by
   11   represents that it found no suspicious         11   definition, correct?
   12   orders reported to the DEA from 2009 to        12          MR. McDONALD: Object to the
   13   the present, that is during the period of      13      form.
   14   time that it had transactional                 14      A. So, I think, you know, I'd have
   15   information?                                   15   to understand what the -- what the scope
   16          MR. McDONALD: Object to the             16   of this, you know, question is.
   17      form; mischaracterizes and misstates        17          So, if we looked at sales
   18      the assertions of Henry Schein in this      18   volumes, numbers, et cetera, what's the
   19      case.                                       19   practices are there, what's the percentage
   20   BY MR. MIGLIORI:                               20   of our total sales, et cetera, I'd be
   21      Q. Were you aware of that?                  21   better apt to answer that question.
   22          MR. McDONALD: Object. Same              22      Q. Fair enough. But I'm not asking
   23      objection.                                  23   you about reporting.
   24                                                  24          I'm just simply saying that if
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    1   there were an order that deviated in size,      1           MR. MIGLIORI: Well, I almost
    2   frequency, or pattern --                        2      forget my own question.
    3      A. Yes. Then yes.                            3   BY MR. MIGLIORI:
    4      Q. -- then it would be a suspicious          4      Q. The -- the existence of a
    5   order, correct?                                 5   deviation in size, frequency, or pattern,
    6      A. Yes.                                      6   once discovered, at the time of discovery,
    7      Q. And, at the time of discovering           7   is required to be reported to the field
    8   that deviation in size, frequency, or           8   office of the DEA under the regulations,
    9   pattern, under the obligations that we          9   correct?
   10   just read, it would have had to have been      10           MR. McDONALD: Object to the
   11   reported at the time of discovery,             11      form.
   12   correct?                                       12      A. Yes, that's my understanding.
   13          MR. McDONALD: Object to the             13      Q. Those regulations, to your
   14      form.                                       14   understanding, go back to 1971, even
   15   BY MR. MIGLIORI:                               15   before OxyContin was on the market,
   16      Q. That's the law, correct?                 16   correct?
   17          MR. McDONALD: Object to the             17           MR. McDONALD: Object to the
   18      form.                                       18      form.
   19          He's not a lawyer.                      19      A. Yeah, I -- I was not involved in
   20          MR. MIGLIORI: He's a Regulatory         20   anything regarded to controlled substance
   21      Affairs vice-president.                     21   prior to 2013. So I never researched when
   22          MR. McDONALD: And you --                22   it officially went into effect.
   23   BY MR. MIGLIORI:                               23           So I can't answer specifically,
   24      Q. What is your understanding of            24   but --
                                            Page 107                                            Page 109
    1   your obligation to comply with the DEA as       1     Q.     Okay.
    2   the person in the company worldwide             2          (Peacock Exhibit 7, letter dated
    3   responsible for DEA compliance?                 3      December 21, 2018 from Locke Lord,
    4          MR. McDONALD: Objection.                 4      with attachment, was marked for
    5   BY MR. MIGLIORI:                                5      identification, as of this date.)
    6      Q. Who's not a lawyer.                       6   BY MR. MIGLIORI:
    7      A. I am not a lawyer.                        7      Q. I'm going to show you Exhibit
    8          MR. McDONALD: Hang on. Hang              8   Number 7. Your counsel had a concern that
    9      on.                                          9   I was misrepresenting what Henry Schein
   10      Q. I understand.                            10   said. So I just -- I don't want to put
   11          MR. McDONALD: Object to the             11   words in your mouth or the company's
   12      form; vague as to time.                     12   mouth.
   13          You can give your understanding.        13          This is Exhibit Number 7. This
   14   BY MR. MIGLIORI:                               14   is a December 21st letter of Locke Lord in
   15      Q. Do you understand my question?           15   this case to the Court, and I'm just going
   16      A. Yes, I do.                               16   to direct your attention to the bottom
   17      Q. All right.                               17   where it says "Suspicious Order Reports."
   18          Do you have an answer?                  18          It says: As previously noted,
   19      A. I would say yes.                         19   the Schein defendants have searched for
   20      Q. Okay. So, to make sure we                20   and located no suspicious order reports
   21   understand it, after all of that               21   with respect to any of its customers with
   22   interchange between me and your counsel.       22   whom they have transacted business in
   23          MR. McDONALD: There wasn't that         23   Summit County, Ohio, for the time period
   24      much.                                       24   for which they have transactional data.
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    1          Do you see that?                           1      Q. This is much more definitional
    2     A.    I do.                                     2   than anything specific. It just simply
    3          MR. McDONALD: And, to be clear,            3   said if there were a deviation in size,
    4      you previously said the State of Ohio.         4   frequency or pattern in any drug, in any
    5      And this clearly says Summit County.           5   opioid distributed by Henry Schein in
    6          MR. MIGLIORI: That's why I'm               6   Summit County, that deviation in size,
    7      doing this. I'm not being -- I'm               7   frequency or pattern, under the Controlled
    8      trying to clarify the objection.               8   Substance Act, would have had to have been
    9          MR. McDONALD: Awesome.                     9   reported at the time it was discovered to
   10          MR. MIGLIORI: I'm not a hostile           10   the field office of the Drug Enforcement
   11      person.                                       11   Agency, correct?
   12          MR. McDONALD: I know you're               12          MR. McDONALD: Object to the
   13      not. You just have a cold.                    13      form.
   14          MR. MIGLIORI: I do have a cold.           14      A. Correct.
   15          MR. McDONALD: I'm trying to               15      Q. And, based at least on the
   16      help you out.                                 16   exhibit in front of you, Exhibit 7, no
   17   BY MR. MIGLIORI:                                 17   such reports to the DEA have been located
   18      Q. So, in searching all of Summit             18   at Schein for that time period in Summit
   19   County, Ohio for the time period that            19   County, correct?
   20   Schein maintains transactional data, Henry       20      A. According to this document.
   21   Schein has found no suspicious orders            21          But I have no knowledge of who,
   22   which would mean, under the law, that            22   what, when, where, why this was done.
   23   Henry Schein found no deviations in size,        23      Q. Fair enough. Thank you.
   24   frequency, or pattern in any of its              24          Are you familiar with the -- the
                                              Page 111                                           Page 113
    1   controlled substance orders for the time          1   Healthcare Distribution Management
    2   period that they had data, correct?               2   Association or its successor, the
    3          MR. McDONALD: Object to the                3   Healthcare Distribution Association?
    4      form.                                          4      A. Yes, sir.
    5      A. That's what it says. That's                 5      Q. Are you a member of it?
    6   correct.                                          6      A. Our company is. I've attended a
    7      Q. Okay. And, if a deviation in                7   meeting. I get, you know, monthly
    8   size, frequency or pattern did -- did             8   updates, blog, newsletters, things like
    9   arise, the obligation would have been at          9   that.
   10   the time of identifying it for Summit            10      Q. Are you provided with minutes or
   11   County that Schein report that deviation         11   accounts of HDA meetings attended by
   12   of size, frequency, or pattern of ordering       12   various Henry Schein employees?
   13   opioids to the field office for Ohio,            13      A. May or may not have been.
   14   correct?                                         14   Depends. We go every year. So,
   15          MR. McDONALD: Object to the               15   generally, somebody in the organization,
   16      form.                                         16   whether it's in regulatory or others,
   17      A. Yeah. Again, so back to my                 17   we've had, you know, many -- many
   18   comment if it failed to meet the                 18   different people may have attended.
   19   requirements, then yes, it would need to         19      Q. Is there somebody at Henry
   20   be reported. But, you know, depends on           20   Schein who serves on the board, to your
   21   what the volumes were and all the other          21   knowledge?
   22   issues, so.                                      22      A. Vaguely familiar, but I couldn't
   23      Q. Sure.                                      23   name the person, sir.
   24      A. There's no data to look at, so.            24      Q. Okay. But you understand
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    1   that -- that that is the trade association    1      Q. And part of your on-the-job
    2   for distributors of -- of pharmaceuticals,    2   training for compliance with DEA
    3   including controlled substances, correct?     3   regulations when you got to Henry Schein
    4      A. That's correct.                         4   in 2013, this wasn't, to your
    5      Q. And Henry Schein is one such            5   recollection, part of any introduction?
    6   distributor, correct?                         6      A. Not in this format. Might have
    7      A. That is correct.                        7   been summarized or parts of it pulled out,
    8      Q. Other members include                   8   but I don't recognize this format, sir.
    9   manufacturers of controlled substances,       9      Q. In the introduction it refers to
   10   correct? Do you know that?                   10   its membership. It says: Manufacturers,
   11      A. I don't know for sure.                 11   distributors, pharmacies and healthcare
   12      Q. All right. And, relative to the        12   practitioners share a mission and a
   13   issue of suspicious order monitoring and     13   responsibility to continuously monitor,
   14   obligations to comply with Controlled        14   protect and enhance the safety and
   15   Substances Act, are you familiar with the    15   security of this system, to combat
   16   HDMA's guidance that it published with the   16   increasingly sophisticated criminals who
   17   input of all of its members back in 2008?    17   attempt to breach the security of a
   18      A. Don't recall. Haven't recall           18   legitimate supply chain.
   19   seeing it, sir.                              19          Do you understand that one of
   20      Q. Okay. Let me show it to you.           20   the reasons why your department is charged
   21          (Peacock Exhibit 8, Healthcare        21   with compliance with DEA is to protect
   22      Distribution Management Association       22   against diversion of drugs?
   23      (HDMA) Industry Compliance Guidelines:    23      A. Yes, sir.
   24      Reporting Suspicious Orders and           24      Q. And it says: These industry
                                          Page 115                                           Page 117
    1      Preventing Diversion of Controlled         1   compliance guidelines are consistent with
    2      Substances, Bates No. HSI-MDL-00063613     2   and further extend the distributor's track
    3      to 00063627, was marked for                3   record of supporting and implementing
    4      identification, as of this date.)          4   initiatives designed to improve the
    5      A. Based on the time frame, I would        5   safety, security and integrity of the
    6   say no. But I prefer to look at it before     6   medical supply. They have been prepared
    7   I make a determination.                       7   in recognition of a growing problem of
    8      Q. Absolutely.                             8   misuse and diversion of controlled
    9           MR. McDONALD: It will make your       9   substances and the critical role of each
   10      deposition shorter if you say no.         10   member in the supply chain in helping to
   11           MR. MIGLIORI: Maybe not.             11   enhance security.
   12   BY MR. MIGLIORI:                             12           Do you understand that the role
   13      Q. Let me show you what's been            13   or the obligation of all members of the
   14   marked as Exhibit 8. This is the industry    14   supply chain for controlled substances is,
   15   compliance guidelines of the Healthcare      15   the critical role of each member, is to
   16   Distribution Management Association          16   help prevent and protect against misuse
   17   (HDMA). The Industry Compliance              17   and diversion of controlled substances,
   18   Guidelines: Reporting Suspicious Orders      18   including opioids?
   19   and Preventing Diversion of Controlled       19           MR. McDONALD: Object to the
   20   Substances.                                  20      form.
   21           Does that look familiar to you       21      A. I think it's a community.
   22   at all?                                      22   Everybody should be responsible, you know.
   23      A. No, I have not seen this before,       23           We wish physicians would be more
   24   sir.                                         24   responsible, sure.
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    1      Q. But, on that point, your trade             1   supply it, that you are in, as your trade
    2   association says: At the center of a             2   association says, distributors are
    3   sophisticated supply chain, distributors         3   uniquely situated to perform the due
    4   are uniquely situated to perform the             4   diligence in order to support the security
    5   diligence in order to help support the           5   of the controlled substances they deliver
    6   security of the controlled substances they       6   to their customers.
    7   deliver to their customers.                      7          Do you believe that to be true?
    8          Do you see your role as being a           8      A. The definition of unique. I
    9   unique position to understand the supply         9   mean, it's -- yes, we have a central role.
   10   issues relative to potential diversion,         10      Q. Okay.
   11   abuse, and misuse of controlled                 11          It says: Further, due diligence
   12   substances?                                     12   can provide a greater level of assurance
   13      A. I mean, we're -- we're one of             13   that those who purchase controlled
   14   the key. Everybody's in the key. So,            14   substances from distributors intend to
   15   manufacturers have their role. They don't       15   dispense them for legally accepted
   16   necessarily all distribute, right. So           16   purposes.
   17   they go through large distributors.             17          That is one of the goals of due
   18   We're, you know, dealing with physician         18   diligence, correct?
   19   and practices, very small. Whereas              19      A. Yeah.
   20   everybody's responsible, in my opinion.         20      Q. You agree with that, yes?
   21      Q. Do you think that, as a                   21      A. I do, yes.
   22   distributor, you're in a unique position        22      Q. And that due diligence can
   23   to understand the supply issues of each of      23   reduce the possibility that controlled
   24   your customers?                                 24   substances within the supply chain will
                                             Page 119                                              Page 121
    1          MR. McDONALD: Object to the               1   reach locations they are not intended to
    2      form.                                         2   reach.
    3      A. The supply issues of how they              3          Do you agree with that? That's
    4   get it? It's difficult if they get it            4   another benefit or function of proper due
    5   from more than one distributor.                  5   diligence?
    6      Q. You understand you have the                6      A. With the caveat that if we get
    7   ability to, and in fact at times do, ask         7   told the truth, we can do our jobs, yes.
    8   for dispensing information from your             8      Q. Is it enough to just ask a
    9   customers for all controlled substances?         9   question and get an answer for due
   10          MR. McDONALD: Object to the              10   diligence?
   11      form.                                        11          MR. McDONALD: Object to the
   12      A. Yes, we ask, but depends what             12      form.
   13   they tell us.                                   13      A. You need to do many things. So,
   14      Q. Sure.                                     14   you could do a site audit. You could, you
   15      A. Fundamentally, this is something          15   know, do a Google search. You could look
   16   that, you know, if somebody's going to be       16   at Google Earth and see what their
   17   diverting drugs necessarily going to be         17   facility looks like. There's a lot of
   18   telling us the truth.                           18   things you could do to try to assess what
   19      Q. Right. To the extent your trade           19   the conditions are.
   20   association says that the distributors,         20      Q. Okay. Let's see what some of
   21   because of their role in connecting             21   the suggestions are of the HDA.
   22   manufacturers with its customers, whether       22          Let's turn to the page that
   23   they be doctors or hospitals or                 23   starts with '616, on the bottom it says
   24   pharmacies, that because it's your role to      24   '616.
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    1          In 2008, your trade association         1           MR. McDONALD: Object to the
    2   recommended to its members different           2      form.
    3   things to do before opening a new customer     3   BY MR. MIGLIORI:
    4   account.                                       4      Q. In other words, it's not driven
    5          The distributor should obtain           5   or triggered only by a deviation in size
    6   background information on the customer and     6   or frequency or pattern order. It's
    7   the customer business.                         7   triggered by your obligation as a DEA
    8          You agree that's a -- a good            8   registrant who will supply or intends to
    9   thing to do, correct?                          9   supply controlled substances to that
   10      A. Yes.                                    10   customer, correct?
   11      Q. They should review the                  11           MR. McDONALD: Object to the
   12   information carefully and, where              12      form.
   13   appropriate, verify it.                       13      A. Yeah. I'm not a lawyer. I
   14          That's what your Verifications         14   mean, at the end of the day, I believe
   15   Department would do, correct?                 15   you're correct.
   16      A. Yes.                                    16      Q. Right. And I'm asking these
   17      Q. Independently investigate the           17   questions in your role as a reg -- as the
   18   potential customer.                           18   vice-president of Regulatory Affairs, not
   19          That's an important part of due        19   as a lawyer.
   20   diligence, correct?                           20           So, to the extent you can answer
   21      A. Yes.                                    21   it as a vice-president of Regulatory
   22      Q. And the -- when we refer to Know        22   Affairs and compliance with DEA, from that
   23   Your Customer Due Diligence, that is a        23   perspective, that's all I'm asking.
   24   component part of your obligation to          24      A. Okay.
                                           Page 123                                           Page 125
    1   comply with DEA regulations, correct?          1      Q. So, the Know Your Customer
    2         MR. McDONALD: Objection.                 2   requirement starts as you onboard a new
    3   BY MR. MIGLIORI:                               3   client, right?
    4      Q. That is the Know Your Customer           4          MR. McDONALD: Object to the
    5   obligation exists beyond identifying           5      form.
    6   changes or deviations in size, frequency,      6      A. Yes. Verifications of
    7   and pattern, correct?                          7   licensing, et cetera is part of the
    8         MR. McDONALD: Object to the              8   process.
    9      form.                                       9      Q. And sometimes it's a site visit
   10   BY MR. MIGLIORI:                              10   to see what kind of -- what kind of
   11      Q. Do you understand my question?          11   customers might be in the waiting rooms of
   12      A. Yeah. I'm trying to relate it           12   the -- either the dispensary or the
   13   to what the, you know-                        13   doctor's office, correct?
   14      Q. I could break it down.                  14      A. I mean, there's many forms. I
   15      A. Yeah, please.                           15   don't do those audits, so I really can't
   16         I'm sorry. I'm getting stuck on         16   speak to what the specifics of the actions
   17   semantics here.                               17   are.
   18      Q. Know Your Customer is an                18      Q. Well, you gave a couple examples
   19   obligation that you have to be compliant      19   recently.
   20   with DEA even before you supply the first     20          You're familiar with certain red
   21   opioid or controlled substance to that        21   flag items are for --
   22   customer, correct?                            22      A. Yeah.
   23         MR. McDONALD: Object.                   23      Q. -- Know Your Customer Due
   24      A. Yes.                                    24   Diligence, correct?
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    1      A. Yes, sir.                                   1   different types of information that are
    2      Q. Some of them involve is the                 2   part of your ongoing consistent obligation
    3   patient paying with cash or insurance.            3   to know your customer, not just those that
    4          That's one red flag issue,                 4   are triggered by a deviation in size,
    5   correct?                                          5   frequency and pattern of -- of order,
    6      A. Yes.                                        6   correct?
    7      Q. Cars in parking lots with                   7          MR. McDONALD: Object to the
    8   out-of-state license plates is another red        8      form.
    9   flag issue, right?                                9   BY MR. MIGLIORI:
   10      A. It would appear to be, sure.               10      Q. That's an ongoing obligation?
   11      Q. And a doctor that orders a                 11          MR. McDONALD: Object to the
   12   disproportionate amount of controlled            12      form.
   13   substances to non-controlled substances          13      A. Yes. It's part of what we do.
   14   raises a red flag concern that should be         14   Yes.
   15   investigated, correct?                           15      Q. Okay. This HDMA guidance
   16      A. You know, would depend on the              16   actually gives a bunch of questionnaire
   17   circumstance. A pain clinic, maybe not.          17   suggestions.
   18          So, it depends on what the                18          Do you see it here on the bottom
   19   circumstance of what the practice is.            19   of page '616?
   20   That would also be considered.                   20      A. Yes.
   21          With the license plate issue, it          21      Q. It talks about the business
   22   depends on if they're on the border of           22   background and the customer base and the
   23   someplace. That might have some --               23   average number of prescriptions filled
   24      Q. Henry Schein has --                        24   each day.
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    1     A.    It's a variable.                          1          You don't ever recall getting
    2     Q.    I'm sorry.                                2   this kind of guidance in -- at Henry
    3          Henry Schein has a due diligence           3   Schein when you started in this position?
    4   form that it sends to all of its                  4      A. So, the process of some of these
    5   customers, correct?                               5   were in place at the time.
    6      A. That is correct.                            6      Q. Okay.
    7      Q. And when it discovered that 60              7      A. So, it was a review of what the
    8   percent of them didn't have this form,            8   practices were. That's what I was
    9   this process that you've been reporting on        9   basically my job -- on-the-job training
   10   is to get that form out to the customers         10   was about.
   11   and get that feedback from the customers         11      Q. Okay. And, when you got there,
   12   about various things, including where            12   you were aware that Henry Schein in 2013
   13   their office is, what kind of practice           13   was somewhat behind on the Know Your
   14   they have, what types of controlled              14   Customer Due Diligence side of compliance,
   15   substances they -- what percentage of            15   and it was part of your job to get caught
   16   controlled substances they use, et cetera,       16   up, correct?
   17   correct? Those are different elements of         17          MR. McDONALD: Object to the
   18   your --                                          18      form.
   19      A. Of the questionnaire, yes. Some            19      A. I'm not exactly sure when I
   20   of that information would have already           20   learned of the -- the backlog, but
   21   been captured on the customer setup form         21   ultimately, yes.
   22   in the JDEwards that would allow us to,          22      Q. And that was one of the -- one
   23   you know, ship the product.                      23   of the measures, even for your own
   24      Q. And, so, that -- those are the             24   performance within the company, was your
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    1   ability to sort of rectify this problem       1   onboarding a new client?
    2   that pre-existed you at the company,          2      A. In relate to both of them would
    3   correct?                                      3   be their licenses. If there's any issues
    4      A. Correct.                                4   with licenses, we would certainly do that.
    5      Q. All right. And today, as of             5   I'm not aware that we check specifically
    6   today, has that now been caught up, to        6   and call and say is Dr. Jones okay.
    7   your knowledge?                               7      Q. Okay. And I think Mr. Abreu
    8      A. To my knowledge, yes.                   8   talked about this, but the verification
    9      Q. Okay. And is that process of            9   process would be to make sure that the
   10   catching up on all that backlog due          10   license is in good standing?
   11   diligence, was that something that was       11      A. Right.
   12   primarily the responsibility of the          12      Q. And that at Henry Schein is
   13   Verifications Department and Shaun Abreu's   13   performed online as an online source?
   14   side of things?                              14      A. An automatic source, yes.
   15      A. Primarily.                             15      Q. Do you check with any
   16      Q. But in order to be compliant, in       16   disciplinary counsel or medical licensure
   17   order for your department to report          17   board of doctors, to your knowledge?
   18   compliance with DEA, that's something that   18          MR. McDONALD: Object to the
   19   you would have had a sort of joint           19      form.
   20   responsibility for --                        20      A. I'm not aware. Not that close
   21      A. That's correct.                        21   to that process.
   22      Q. -- at least accountability for,        22      Q. What about criminal background,
   23   correct?                                     23   do you do any criminal background check on
   24      A. That's correct.                        24   doctors that you're supplying to?
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    1      Q. All right. Turn to page '618.           1       A. Not to my knowledge.
    2   The HDMA recommended to its members that      2       Q. And, as you understand it today,
    3   the distributor should independently          3   if an order gets pended in the system and
    4   invent -- investigate the potential           4   it's reviewed, one of the things that the
    5   customers by checking with the local DEA      5   verification department does is send out a
    6   office for information regarding a            6   new letter by regular mail with the
    7   potential customer.                           7   various questions about the prescribing
    8          Is that something that would be        8   habits of that physician and wait for a
    9   a good practice for onboarding a new          9   response from a doctor in writing,
   10   customer?                                    10   correct?
   11      A. I'm sorry. What bullet are you         11           MR. McDONALD: Object to the
   12   on?                                          12       form.
   13      Q. The very first one on top. I'm         13       A. I can't say. I'm not familiar
   14   sorry. Paragraph D.                          14   with the process specifically at that
   15          When you onboard a new client --      15   level.
   16   a new customer at Henry Schein, do you       16       Q. That level is handled by
   17   check with local DEA?                        17   Verifications or from the -- the Sergio
   18      A. Not to my knowledge.                   18   Tejeda level?
   19      Q. Another recommendation is that         19       A. The letter that goes out,
   20   you check with the state oversight           20   Sergio's team.
   21   authorities, like the Board of Pharmacy      21       Q. Okay. That's -- that's within
   22   and the Board of Medicine.                   22   your department, but Sergio would have the
   23          To your knowledge, does Henry         23   information about what actually happens --
   24   Schein check with those boards prior to      24       A. Yeah.
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    1      Q. -- at that point, correct?                1       Q. And, do you agree that the
    2      A. Yep.                                      2   performance and results of all steps in a
    3      Q. Do you know whether when you              3   customer review process should be fully
    4   bring on a new customer, whether, as it         4   documented as to each potential customer
    5   says here in the HDMA guidance, you             5   and such documentation should be obtained
    6   conduct an Internet search to determine         6   in the appropriate file?
    7   whether any potential Internet business         7       A. The records are important.
    8   can be identified relating to a potential       8   Absolutely.
    9   customer?                                       9       Q. In fact, there's an adage that
   10          MR. McDONALD: Object to the             10   if it's not written down and recorded, it
   11      form.                                       11   doesn't exist.
   12      A. I'm not aware.                           12            Correct?
   13      Q. Relative to the question that            13       A. Yeah.
   14   goes out to the new potential customer,        14       Q. And that is true in regulatory
   15   the HDMA has various recommendations. It       15   compliance, correct?
   16   says that the individuals selected to          16       A. That is correct.
   17   develop questionnaires for parts A and to      17       Q. The distributor may include
   18   conduct reviews and investigations under       18   provisions for notification of state and
   19   parts B and C should receive appropriate       19   federal authorities of an unlawful
   20   training.                                      20   activity identified under the Know Your
   21          Do you see that?                        21   Customer Due Diligence as required by
   22      A. Yes.                                     22   local, state, or federal law.
   23      Q. Do you agree that the folks that         23            You would agree with me that
   24   are doing the review of the due diligence      24   that's an important component part. It's
                                            Page 135                                            Page 137
    1   in the questionnaires as they come back         1   not just enough to identify such potential
    2   should be appropriately trained to              2   activity, but to share it with local law
    3   investigate the -- whether or not an order      3   enforcement and DEA, correct?
    4   would be considered suspicious?                 4      A. I agree --
    5      A. Yes, they should be                       5          MR. McDONALD: Hang on.
    6   appropriately trained.                          6          I object to the form.
    7      Q. Do you agree with me that they            7          You need to pause, okay.
    8   should be folks that are -- are currently       8          THE WITNESS: I'm sorry.
    9   trained and kept up to date on misuse,          9          MR. McDONALD: That's okay.
   10   abuse, and potential red flags for             10   BY MR. MIGLIORI:
   11   diversion?                                     11      Q. Are you involved at all in the
   12          MR. McDONALD: Object to the             12   establishment, development of any of the
   13      form.                                       13   thresholds or algorithms used to identify
   14      A. Yes.                                     14   changes or deviations in size, pattern, or
   15      Q. The next recommendation is that          15   frequency of orders by your customers?
   16   the distributor should update the              16      A. I was not involved, no.
   17   questionnaires periodically, particularly      17      Q. To the extent that the
   18   if a concern arises during an                  18   automization or the re-tuning of the
   19   investigation.                                 19   system happened or occurred, in terms of
   20          Do you agree that the form              20   the specifics of that change, that's not
   21   should change over time?                       21   something you would be directly involved
   22      A. Continuous improvement is always         22   in, correct?
   23   what everyone should live by in quality        23      A. I was not, no.
   24   regulatory.                                    24      Q. It's fair to say that that's
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    1   something ultimately your department's           1      Q. Even though you have a science
    2   responsible for, but you relied on Sergio        2   background and research and development
    3   Tejeda for the entire time that you've           3   background, at Henry Schein you don't --
    4   held this position at Henry Schein, to           4   you have not gotten into the specifics of
    5   make sure that the algorithms and the            5   suspicious order monitoring design
    6   assumptions of the algorithms were               6   implementation and refinement, correct?
    7   appropriate and consistent with DEA              7   That's not -- you sign off on it, but you
    8   regulations, correct?                            8   don't know at any given moment what the
    9       A. It wasn't Sergio. It was the              9   actual algorithm is or how it works,
   10   outside consultants that we hired. So           10   correct?
   11   there was outside, you know, groups that        11      A. That is correct.
   12   came in and did the re-tuning of the            12      Q. And, if I were to go talk to the
   13   algorithms.                                     13   person that knew the most about it, not
   14       Q. I have some of those here, and           14   outside the company, but within the
   15   I'll show them to you.                          15   company, who would that be?
   16           But, the outside consultants            16      A. I'd say a combination of Sergio
   17   that came in, they -- they proposed the         17   and Shaun.
   18   changes, but they would have to be              18      Q. Okay. That may have saved you a
   19   approved at Henry Schein first, correct?        19   lot of time today.
   20       A. Mm-hm.                                   20      A. Fact.
   21       Q. Yes?                                     21      Q. And I appreciate it. That's all
   22       A. Yes.                                     22   I'm trying to get to is facts.
   23       Q. How -- how does that work at             23          So, to the extent the HDMA
   24   Henry Schein? Who would receive the             24   provided guidances on what is a proper way
                                             Page 139                                           Page 141
    1   certain Dendrite, Buzzeo, what was the           1   to set a threshold or how far back in time
    2   other one, Hyman Phelps, who would receive       2   to look at a dispensing history, those
    3   those recommendations at Henry Schein and        3   aren't parameters, those aren't data
    4   make a decision to-go and no-go on a             4   points that you have any particularized
    5   particular recommendation?                       5   knowledge about or -- or command of,
    6      A. So, depending on the                       6   correct?
    7   circumstance, could be either the Customer       7      A. Yes, that's correct.
    8   Verifications and Sergio would come              8      Q. And, what about the -- when, in
    9   together, see what was, you know, needed,        9   fact, an order is in your system pended or
   10   put together a statement of work, reach         10   identified or flagged, do you have any --
   11   out to the consultant, have the consultant      11   do you play any role in establishing what
   12   come in and then they would agree, and I        12   causes that event to -- to get
   13   probably would sign off on the final            13   investigated? Do you --
   14   purchase order for the -- for the service.      14      A. Me personally, no.
   15      Q. But, do you know how the                  15      Q. Okay.
   16   algorithms work? Have you ever --               16      A. I do not.
   17      A. I have not dealt into how the             17      Q. So, that's all sort of the
   18   algorithms work.                                18   functional operational part of your
   19      Q. So you will rely on Sergio and            19   department that ultimately you have to
   20   Shaun, those are the -- that's Regulatory       20   rely upon Sergio and Shaun Abreu to -- to
   21   Affairs and Verifications, you would rely       21   advise you of, make recommendations for
   22   on them for their input on how a threshold      22   your sign-off?
   23   was established, correct?                       23      A. Yeah. And Frank O'Regan when he
   24      A. That is correct.                          24   was with us also. I mean, he's, you know,
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    1   previously a DEA investigator. So he was        1   time to time others, Tina, you ultimately
    2   adding a lot of value in terms of training      2   would be the person that signed off on it,
    3   and bringing the staff up to speed and          3   correct?
    4   making determinations. He was making            4      A. That's correct.
    5   those determinations.                           5      Q. But you would not, at that
    6      Q. Okay. So, are those the three             6   point, educate yourself to the level of
    7   sort of top people that you rely on for         7   understanding the inner workings of it.
    8   establishment of thresholds: Frank, Shaun       8   You were relying on this advice, correct?
    9   and Sergio?                                     9      A. That is correct.
   10      A. The threshold for?                       10      Q. If you turn to page '625.
   11      Q. For identification of suspicious         11          The HDMA recommends of
   12   orders by size, frequency or pattern.          12   distributors relative to employees working
   13          MR. McDONALD: And you're                13   with controlled substances the following.
   14      referring to internally, right?             14   It says: Individuals working in
   15          MR. MIGLIORI: Yeah.                     15   controlled substance areas should be
   16      A. Yeah, so, the algorithm is based         16   screened and selected for their attention
   17   on the ERP system would initially set          17   to detail, ability to recognize importance
   18   that. How that was set would be -- I           18   of accuracy, length of tenure with the
   19   don't think Frank was involved, maybe          19   company, and work ethic.
   20   later, but mostly Shaun and Sergio.            20          You agree with that, correct?
   21      Q. You understand that some -- so,          21      A. Yes. Any position.
   22   some companies may set a threshold based       22      Q. But controlled substance, you
   23   on three months of prescribing history,        23   agree with me, has a heightened
   24   while others may use 24 months. You            24   sensitivity within the company. That
                                            Page 143                                            Page 145
    1   understand that -- that there are               1   is --
    2   different decisions that need to be made        2      A. Right.
    3   in terms of establishing a threshold?           3      Q. -- it is a highly restricted
    4      A. Sure.                                     4   area of distribution and the potential for
    5      Q. And, in terms of what decisions           5   abuse and misuse is, by definition,
    6   are made relative to those parameters, is       6   extremely high, correct?
    7   that something that Frank and Sergio and        7          MR. McDONALD: Object to the
    8   Shaun would do, or is that something you        8      form.
    9   would be a part of deciding?                    9   BY MR. MIGLIORI:
   10      A. I was not part of deciding, but          10      Q. As a Schedule II drug, correct?
   11   I believe it would come from the               11          MR. McDONALD: Object to the
   12   consultants and what they felt and were        12      form.
   13   informing us were, like, industry              13      A. A Schedule II, yes.
   14   standards.                                     14      Q. It is recommended that employee
   15      Q. Okay. So, so it's fair to say            15   training include a review of DEA rules and
   16   when it comes to the specifics of              16   regulations.
   17   algorithms and automated suspicious order      17          Do you have today an employee
   18   monitoring, you relied upon the outside        18   training for those that work within
   19   consultants and internally you relied upon     19   Regulatory Affairs and within
   20   the input from Frank O'Regan, Sergio           20   Verifications of the DEA rules and
   21   Tejeda, and Shaun Abreu?                       21   regulations?
   22      A. Correct.                                 22          And by training, I'm talking
   23      Q. And based on that input from             23   about formal training.
   24   those four difference sources, and from        24      A. Could you define formal
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    1   training?                                      1   rules and regulations?
    2      Q. Classroom, didactic.                     2      A. So, we have a monthly, you know,
    3      A. We've had classroom training.            3   call, and there are discussions about the
    4      Q. What -- where and who gave that          4   rules and regulations.
    5   training?                                      5      Q. Okay.
    6      A. Ken Romeo, one of our premier --         6      A. We referred to that earlier
    7   prior employees, and we had a session with     7   today.
    8   the HDA and some others a little over a        8      Q. So, that's the -- those -- those
    9   year ago. I believe it was in October of       9   generally have minutes and those minutes
   10   '17.                                          10   are kept on the share file?
   11      Q. All right. When did Ken Romeo           11      A. Correct.
   12   give a presentation?                          12      Q. And that's attended by
   13      A. Probably in -- I don't know for         13   Verifications and by Regulatory Affairs?
   14   sure. I'm sorry.                              14      A. Not Verifications.
   15      Q. Were you at the company at the          15      Q. Just Regulatory Affairs?
   16   time?                                         16      A. Yes.
   17      A. I was, yes.                             17      Q. So, those monthly calls, to the
   18      Q. So it's some time after July of         18   extent they have DEA rules and regulations
   19   2013?                                         19   trainings, would only be for Regulatory
   20      A. Yes.                                    20   Affairs folks, not for Shaun Abreu and the
   21      Q. Were you there?                         21   Verifications folks?
   22      A. I was. For part -- part of it.          22      A. That's correct.
   23   Not -- it was a two-day training. So part     23      Q. Anything else that you can
   24   of the sessions I was there. Maybe two or     24   recall?
                                           Page 147                                           Page 149
    1   three hours of it.                             1      A. I cannot.
    2      Q. And, was it required?                    2      Q. Who were some of the people that
    3      A. Customer Verifications and the           3   you know on the front line of
    4   staff, yes.                                    4   Verifications that would be making the
    5      Q. Was it required of anybody in            5   decisions today about whether an order
    6   Regulatory Affairs?                            6   should be further investigated, somehow it
    7      A. The staff in Regulatory Affairs.         7   got pended automatically and requires
    8      Q. Okay.                                    8   further due diligence? Do you know any of
    9      A. That team, yes.                          9   those folks?
   10      Q. And, when you say Verifications,        10      A. I know Shaun obviously for a
   11   that's Shaun and the folks that work for      11   long time and Lisa Matalon, who's his
   12   him, correct?                                 12   supervisor. I've met a few of the
   13      A. Correct.                                13   individuals, but I don't know them
   14      Q. Okay. Was there a Power Point           14   specifically by name or, you know.
   15   presentation of some sort, or --              15      Q. And Regulatory Affairs does not
   16      A. Yeah, there were some Power             16   have any regular systematic training of
   17   Point presentations, I believe, yes.          17   those frontline staff members or
   18      Q. Did you present at all?                 18   Verification Team members in terms of
   19      A. I introduced it. That's all.            19   their obligations under the Controlled
   20      Q. Other than that one                     20   Substance Act, correct?
   21   presentation, do you recall any other --      21      A. I'm not aware.
   22   set aside the HDA for a second.               22      Q. Okay. And then tell me about
   23          Do you recall any other internal       23   this October of 2017 HDA presentation.
   24   or recurrent Henry Schein training on DEA     24      A. So, again, we had a two-day
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    1   meeting. Several individuals from the HDA      1   they felt was becoming a big topic for
    2   came to visit. We had several, you know,       2   discussion and potentially implementation.
    3   guest speakers during the -- the process.      3      Q. Okay. Did -- and when you say
    4   And again, we addressed some of the            4   folks from all over the country came to
    5   ongoing regulations, some of the issues        5   attend --
    6   that they brought to our attention or they     6      A. Our team.
    7   were, you know, giving us information on.      7      Q. Okay.
    8   And the staff from around the country flew     8      A. So our team in the different
    9   in to be there.                                9   DCs.
   10      Q. Is this in the aftermath of the         10      Q. And that would be Regulatory
   11   Masters Pharmaceutical decision?              11   Affairs?
   12      A. The Masters was discussed at            12      A. Yes.
   13   that meeting, yes.                            13      Q. Do you know if Verifications
   14      Q. And, was this sort of a industry        14   attended?
   15   advisory about the implications of what       15      A. Management. Shaun was there,
   16   Masters means for day-to-day operation        16   I'm sure.
   17   within the distributors?                      17      Q. Okay. But the -- the frontline
   18      A. Could you repeat the question?          18   people that are actually getting the
   19      Q. Sure.                                   19   pended orders and doing -- sending out the
   20          Did HDA request to hold this           20   letters, to your recollection, they didn't
   21   presentation?                                 21   attend that training, correct?
   22      A. No. It was our -- it was our            22          MR. McDONALD: Object to the
   23   training and we invited them to speak on,     23      form.
   24   you know, current topics, et cetera.          24      A. Can't recall.
                                           Page 151                                            Page 153
    1      Q. And the current topic of the end         1      Q. Okay. And, as a result of the
    2   of 2017 was a recent decision in the           2   Masters decision and/or this HDA
    3   Masters Pharmaceutical case, correct?          3   presentation in the fall of 2017, did
    4      A. That is correct.                         4   Henry Schein change any of its standard
    5      Q. And the implications of that             5   operating procedures or suspicious mon --
    6   decision in terms of obligations and           6   order monitoring systems?
    7   compliance with the Controlled Substances      7      A. We were evolving too, yes.
    8   Act as a distributor, correct?                 8      Q. So, what came of that? That is,
    9      A. Yes, sir.                                9   what, if anything, do you attribute to a
   10      Q. And one of the key issues in            10   change in the Henry Schein compliance with
   11   that decision was when to halt an order       11   the Controlled Substances Act as a result
   12   from shipment and when to ship, correct?      12   of the Masters decision, if any?
   13          MR. McDONALD: Object to the            13      A. The decision of Masters was
   14      form.                                      14   evaluated for a period of time. HDA was
   15      A. Yes. That's my understanding.           15   solidifying the discussions, and then we
   16      Q. Do you remember any of the --           16   began to implement the process through the
   17   the representations made of the HDA at        17   IT teams, et cetera. So, the implication
   18   that meeting in terms of the Masters          18   was that orders that had pended, all of
   19   decision, its implications, et cetera?        19   those were orders would be immediately
   20      A. I think it was evolving at the          20   reported to the DEA.
   21   time. So I don't know the specifics of        21      Q. Because they were, at the time
   22   what they presented. I'd have to see the      22   they were discovered, deviations in size,
   23   presentations again, et cetera. But, you      23   frequency and pattern, correct?
   24   know, obviously this was something that       24      A. Yes.
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    1           MR. MIGLIORI: Exhibit Number 9.       1      A. I read it yesterday, yes.
    2           (Peacock Exhibit 9, interoffice       2      Q. All right. And, do you recall,
    3       memorandum dated December 23, 2013,       3   having read this yesterday, do you recall
    4       Bates No. HSI-MDL-00622244 to             4   the meeting surrounding this?
    5       00422250, was marked for                  5      A. Vaguely.
    6       identification, as of this date.)         6      Q. And, the team that we're talking
    7   BY MR. MIGLIORI:                              7   about, it says on December 2nd and 3rd of
    8       Q. Exhibit Number 9 is a                  8   2013, Ken Romeo, Tina Steffanie-Oak and
    9   interoffice memorandum marked privileged      9   Sergio Tejeda were on a -- were on site at
   10   and confidential to you and Jim Mullins      10   Melville to complete a DEA compliance
   11   from Ken Romeo.                              11   assessment of the Henry Schein Suspicious
   12           You said Ken Romeo was the guy       12   Order Monitoring/Know Your Customer
   13   that gave a presentation of some sort, or    13   systems and procedures.
   14   a training of some sort to Regulatory        14         Was this a routine audit or a
   15   Affairs, correct?                            15   regularly scheduled audit, to your
   16       A. That is correct. He was on the        16   knowledge?
   17   team at the time.                            17      A. I don't recall, but generally we
   18       Q. So, what was Ken Romeo's job          18   do that occasionally.
   19   title at this point in 2013?                 19      Q. Okay. It says: A desk audit
   20       A. I don't know exactly. He was a        20   assessment was also performed with full
   21   Regulatory Affairs specialist or senior      21   cooperation of the Verifications Team for
   22   specialist, something of that nature.        22   the Melville, New York and Reno call
   23       Q. Okay. But he worked underneath        23   center locations over a three-week period.
   24   Sergio Tejeda?                               24         What is a desk audit assessment?
                                          Page 155                                           Page 157
    1      A. Tina and then Sergio at that            1      A. It's paper. So you're not
    2   time, yes.                                    2   asking individuals. You're asking for
    3      Q. So he was part of the DEA Audit         3   SOPs or procedures to review or --
    4   Team?                                         4      Q. Okay. And this assessment was
    5      A. Correct.                                5   limited to January 1st of '13 through
    6      Q. And, in December of 2013, who's         6   October 1st of 2013, correct?
    7   Jim Mullins?                                  7      A. Yes. That's what it says.
    8      A. Jim Mullins, he's in charge of          8      Q. That was the period of study?
    9   operations, and he was over Shaun Abreu.      9      A. Yeah, that's what it says.
   10      Q. The subject line of this,              10      Q. All right. So, at this point,
   11   December 23rd, 2013, "Regulatory Internal    11   the suspicious order monitoring program at
   12   Assessment of Our DEA Suspicious Order       12   Henry Schein is automated, correct?
   13   Monitoring/Know Your Customer Systems and    13      A. To my knowledge, yes.
   14   Procedures."                                 14      Q. All right. As far as your
   15          You agree with me that this is        15   tenure at -- at Henry Schein, the
   16   at the beginning of your tenure at Henry     16   system -- the SOM was always a computer --
   17   Schein, correct?                             17   computerized program, correct?
   18      A. Correct.                               18      A. That's correct.
   19      Q. And this is certainly before the       19      Q. I may have asked you this, and
   20   Masters Pharmaceutical decision came out     20   forgive me.
   21   in 2017, correct?                            21          But, did you ever study the
   22      A. Correct.                               22   evolution that led up to the exist -- the
   23      Q. All right. Did you review this         23   program that existed at the time you got
   24   in preparation for today?                    24   there?
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    1      A. I did not.                               1          MR. McDONALD: Object to the
    2      Q. All right. It says: The goals            2      form.
    3   of the audit were for the Verification and     3      A. Semantics again.
    4   Regulatory Teams to better understand,         4          You know, I could see where, you
    5   anticipate and proactively respond to the      5   know, it's an objective review, right. On
    6   challenges in the ever-changing regulatory     6   the ground, you know, that's an objective
    7   environment by gaining an accurate             7   review.
    8   understanding of past and current business     8      Q. All right. As a result of that
    9   practices and drawing informed conclusions     9   audit by your DEA team, certain findings
   10   about the future.                             10   were made, correct?
   11           Is that your general                  11      A. Correct.
   12   recollection of the goal of the audit?        12      Q. One of the findings, which was
   13      A. Mm-hm.                                  13   ranked as a high risk, or high level risk,
   14      Q. Yes?                                    14   was that the current computerized
   15      A. Yes, sir.                               15   suspicious order monitoring system is
   16      Q. The real value of this approach         16   dated.
   17   is to take us beyond traditional              17          What did you understand that to
   18   retrospective analysis and help us            18   mean?
   19   anticipate and react accordingly with         19      A. That it needed to be refreshed.
   20   future business needs and opportunity,        20      Q. Why? What did they tell you?
   21   such as impending roll-out of the national    21      A. So, the opportunity is that it
   22   healthcare and potential emergence of         22   had not been checked against the neutral
   23   concierge physicians.                         23   nationally recognized medical database to
   24           The roll-out of the national          24   cross-check its validity as truthful and
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    1   healthcare, what is that? Is that              1   accurate.
    2   Obamacare?                                     2      Q. So, it wasn't comparing it -- it
    3      A. Yes.                                     3   was comparing itself to itself, right? It
    4      Q. Did that change your suspicious          4   wasn't comparing itself to what was going
    5   order monitoring program in any way?           5   on in the country?
    6      A. No.                                      6      A. Yes. That's what it says.
    7      Q. The second goal was to optimize          7      Q. And, why is that a high risk?
    8   potential investment in key regulatory         8   Why is that a high risk for noncompliance
    9   business systems can improve the customer      9   with the Controlled Substances Act?
   10   service, sales process and regulatory         10          MR. McDONALD: Object to the
   11   compliance without requiring large-scale      11      form; mischaracterizes the document.
   12   changes. And third is a real world            12          MR. MIGLIORI: Let me -- let me
   13   assessment of our business from a             13      walk through that for a second, just
   14   regulatory and verifications perspective.     14      so we have clarity.
   15         What -- what do you understand          15   BY MR. MIGLIORI:
   16   real world assessments to be?                 16      Q. This is your DEA internal
   17      A. Very clear. Something that's            17   auditing team, correct?
   18   taking an objective look across the whole     18      A. That is correct.
   19   process.                                      19      Q. Their function is to perform
   20      Q. You'd agree with me that real           20   internal audits to make sure you're in
   21   world is more of a realistic,                 21   compliance with DEA regulations for
   22   on-the-ground, deeper-dive type               22   controlled substances in this context,
   23   understanding of the impact of, or the        23   correct?
   24   success of your program?                      24      A. That is correct.
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    1      Q. Why is this observation that the         1   correct?
    2   current computerized suspicious order          2      A. It doesn't say that we were out
    3   monitoring system as of December of 2013       3   of compliance. It says that we were --
    4   was out of date? Why is that a high risk?      4   could be better. So that's how I am
    5   What risk does that pose?                      5   interpreting this. And, so, the risk of
    6      A. So, I'm not familiar with the            6   our noncompliance or our -- our areas for
    7   specifics of the findings, sir.                7   improvement, this was one that we're
    8           At the end of the day, you know,       8   taking seriously.
    9   Henry Schein is -- tries to be                 9      Q. So, in terms of the risk here,
   10   continuously improving itself. If there       10   the risk here is to noncompliance, right?
   11   hadn't been a refresh in the system in a      11           MR. McDONALD: Object to the
   12   number of years, I don't know what the        12      form.
   13   history was 'cause I wasn't in the company    13   BY MR. MIGLIORI:
   14   at the time, but depending on the number      14      Q. When your -- when your employees
   15   of years, obviously there's opportunities     15   say that the risk of not updating the
   16   for improvement, and I think that's what      16   computer system is a high risk, they're
   17   this is calling to -- to light is that we     17   telling you it's a high risk to the
   18   needed to improve.                            18   company because of noncompliance and
   19      Q. Okay. You agree with me that            19   liability to the company, correct?
   20   your own internal team considered the risk    20      A. It doesn't say that here, sir.
   21   of not improving and updating the             21      Q. What does high risk mean?
   22   suspicious order monitoring system posed a    22           This is your company.
   23   high risk to the company?                     23      A. It means that there's
   24           MR. McDONALD: Object to the           24   opportunities for improvement. There's
                                           Page 163                                           Page 165
    1      form.                                       1   risk that's, you know, inherent here and
    2      A. Yeah, that's the conclusion              2   we're going to look at trying to improve
    3   of -- of the auditors.                         3   it.
    4          And it's memo from Ken Romeo.           4       Q. So, your interpretation of risk
    5   So that was his opinion. Yes, sir.             5   is that it just means you can do better?
    6      Q. Okay. It was actually the                6       A. That's one that we should focus
    7   opinion of his team, right? Ken Romeo,         7   on. The highest focus should be on these
    8   Tina Steffanie-Oak and Sergio Tejeda           8   observations.
    9   performed this audit, right?                   9       Q. All right. Let's go back to the
   10      A. Right.                                  10   first page, since I think we need a
   11      Q. And they report to you, correct?        11   definition.
   12      A. That's correct.                         12          Under "Scope" it says: The
   13      Q. And if they report to you and           13   ongoing assessment process is required by
   14   tell you that there's a high risk to the      14   the Code of Federal Regulations and the
   15   company because our computerized system is    15   Drug Enforcement Administration.
   16   outdated, you took that seriously, right?     16          So, you understand that the DEA
   17      A. Yes, sir.                               17   requires you to do these internal audits?
   18      Q. And, that's something Henry             18       A. Yes, sir.
   19   Schein would do? That is, if it was not       19       Q. (Reading) We are also requested
   20   accurately or efficiently or in the real      20   by Henry Schein internal audit to conduct
   21   world operating to prevent, in this           21   an annual assessment of our systems and
   22   context, the risk of diversion of             22   processes.
   23   controlled substances, Henry Schein needed    23          So it's an internal policy, as
   24   to, and would, immediately address it,        24   well as a federal regulation, correct?
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    1      A. Yes.                                    1   risk they're referring to is DEA action
    2      Q. (Reading) The assessment is a           2   against Schein?
    3   result of a cooperative effort of both the    3      A. Potential DEA action, yes.
    4   Regulatory and Verification Teams and took    4      Q. All right. And the risk -- the
    5   into account, 1, the identification of        5   material -- the second is the materiality
    6   controlled substance and/or specific          6   of controlled substance transactions in
    7   combinations of controlled substances that    7   dollar thresholds and active product
    8   might potentially place Schein in a high      8   ingredient thresholds, computer system
    9   risk category as a distributor of             9   errors inherent or not presently accounted
   10   controlled substances for DEA regulatory     10   for, unintentional misstatements or
   11   actions.                                     11   omissions, risk control statistics as
   12          Do you understand that to be the      12   related to a level of training, potential
   13   Auditing Team's definition of what the       13   errors, and known DEA hot buttons, such as
   14   risk is?                                     14   the current street trends.
   15      A. Yes.                                   15           Those are all of the foci,
   16      Q. That doesn't say there's room          16   focuses, foci of this audit, correct?
   17   for improvement under high risk, correct?    17      A. Yes, sir.
   18      A. No, I disagree, sir.                   18      Q. All right. Now let's get back
   19      Q. That says this is just room for        19   to the ways that Schein could improve
   20   improvement?                                 20   itself.
   21      A. It says might potentially, sir.        21           The second one. Your Internal
   22      Q. Might potentially place Schein         22   Audit Team reported to you directly in
   23   in a high risk of being out of compliance    23   December of 2013, as you took on this new
   24   with the DEA. That's the definition of       24   role, and said: Individual account
                                          Page 167                                           Page 169
    1   high risk.                                    1   thresholds for controlled substance
    2         MR. McDONALD: Object to the             2   purchase may be adjusted by Verifications
    3     form.                                       3   without regulatory and/or appropriate
    4   BY MR. MIGLIORI:                              4   medical guidance which could result in an
    5     Q. Correct?                                 5   inappropriate product release. Risk level
    6         MR. McDONALD: Object to the             6   high.
    7     form.                                       7          First of all, did I read that
    8   BY MR. MIGLIORI:                              8   correctly?
    9     Q. At least in the document?                9      A. Yes.
   10         MR. McDONALD: Well, you misread        10      Q. What did you understand that to
   11     the document.                              11   mean when your team reported that to you?
   12         MR. MIGLIORI: I read it twice.         12      A. So, that there were some
   13         MR. McDONALD: Well, and you            13   opportunities for improvement in the
   14     added some words too that are not in       14   system that, you know, we needed to
   15     the document.                              15   tighten the activities and the abilities
   16   BY MR. MIGLIORI:                             16   to edit or modify.
   17     Q. Go ahead. You can answer.               17      Q. And if you didn't do that, there
   18         Is the definition of high risk         18   was a, as the document says, a potential
   19   by the team that reported to you:            19   risk for --
   20   Potential -- potentially place Schein in a   20      A. Yes.
   21   high risk category as a distributor of       21      Q. -- DEA action, correct?
   22   controlled substances for DEA regulatory     22      A. Yes.
   23   action.                                      23      Q. And that risk, according to
   24         Would you agree with me that the       24   them, has been ranked as high, correct?
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    1      A. Yes.                                      1          A product release decision could
    2      Q. All right. It says:                       2   be made solely within Verification Team
    3   Decisionmakers in the Verifications             3   without a secondary check. Justification
    4   Department lack the medical training and        4   letters submitted to Schein by physicians
    5   qualifications to release controlled            5   or accounts requesting controlled
    6   substances without regulatory/medical           6   substance are not reviewed currently by
    7   guidance in some instances.                     7   medically trained personnel.
    8          Did you appreciate, when you             8          So, at least at this time, your
    9   took this responsibility in 2013, that a        9   auditing team was telling you that
   10   lot of -- some of the decisions being made     10   somebody solely within Verifications,
   11   at the verifications level to let a pended     11   without input from Regulatory, could take
   12   order go out were being made by folks          12   a questionnaire sent out to a doctor, take
   13   that, at least in your department's            13   the information provided in that
   14   assessment, weren't properly or                14   questionnaire, and make a decision on his
   15   sufficiently trained in medicine or            15   or her own at that verifications level and
   16   regulatory compliance?                         16   release the order without ever involving
   17          MR. McDONALD: Object to --              17   anybody outside of Verifications.
   18   BY MR. MIGLIORI:                               18          Correct?
   19      Q. That was one of their                    19      A. Yes, sir.
   20   observations?                                  20      Q. And, according to at least these
   21          MR. McDONALD: Object to the             21   auditors, that posed a high risk,
   22      form.                                       22   potential high risk for DEA enforcement
   23      A. When I took the position, no.            23   action, correct?
   24      Q. In December 2013, was that the           24      A. Yes, sir.
                                            Page 171                                             Page 173
    1   observation of your Internal DEA Audit          1       Q. They say: In fairness,
    2   Team, that some of the Verification Team        2   Verification Team is doing the best they
    3   members who had the ability and were            3   can with the limited training that they
    4   releasing pended orders to physicians were      4   have received and many of our
    5   not sufficiently trained in regulatory and      5   Verifications colleagues are new to the
    6   medical guidances? Is that what they told       6   position of decisionmaker.
    7   you?                                            7           So, your auditing team in
    8      A. That's what it says. Yes, sir.            8   Regulatory Affairs was trying to say well,
    9      Q. All right. That's one of the              9   it's not that they were -- they had any
   10   things, as you took this position, that        10   bad intentions. These were good people
   11   you had to fix, correct?                       11   trying to do the best they could, but just
   12      A. Yes, sir.                                12   simply weren't trained enough.
   13      Q. And that's something you've              13           Is that what you understood them
   14   tried to do ever since, correct?               14   to tell you?
   15      A. Yes, sir.                                15       A. Yes, sir.
   16      Q. And that's what a good company           16       Q. And then the same team said
   17   would do, correct?                             17   that: Internal documentation such as
   18      A. Absolutely.                              18   account notations performed by the
   19      Q. It says: The Verifications Team          19   suspicious order HS teams is not revealed
   20   is operating in a potential closed-loop        20   to Regulatory on a regular basis.
   21   system. All closed-loop systems would be       21           And I -- I don't know what HS
   22   considered potentially dangerous from a        22   stands for.
   23   regulatory standpoint.                         23           Is it their Henry Schein
   24          Then they give an example.              24   suspicious order team?
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    1      A. Yes.                                      1          So, this --
    2      Q. As opposed to the joint                   2      A. No, not this document. The
    3   venture's?                                      3   training that Ken did to the Verifications
    4      A. Yeah.                                     4   Team on the medical applications of the
    5      Q. Is that why it's there?                   5   controlled substances.
    6      A. I would imagine.                          6      Q. Got you.
    7      Q. So, and there's documentation of          7          So, as a result of this audit --
    8   suspicious orders and notations to              8      A. Correct.
    9   customer files within Verifications that,       9      Q. -- in this report, in this
   10   at this time, was not getting reported to      10   recommendation that I just read, Ken Romeo
   11   or shared with your department, Regulatory     11   did a training for the Regulatory Affairs
   12   Compliance, correct?                           12   team, correct?
   13      A. That's what it says, yes.                13      A. Yes.
   14      Q. And the recommendations made at          14      Q. And did he do it also for the --
   15   the end of 2013 was to provide                 15   the Verifications Team?
   16   Verifications personnel with additional        16      A. Yes.
   17   medical and dental training geared toward      17      Q. All right. And that happened
   18   the recognition of common drug utilization     18   one time, to your knowledge?
   19   and prescribing habits of clinical             19      A. One time, to my knowledge.
   20   physicians, dentists and institutional         20      Q. All right. And you think it
   21   accounts.                                      21   happened right after this December --
   22          So, one of the recommendations          22      A. I can't say the time frame.
   23   of your internal team was to better train      23   Sorry. Can't recall.
   24   the -- Shaun Abreu's Verifications Team on     24      Q. All right. But you only recall
                                            Page 175                                            Page 177
    1   mental and dental prescribing habits,           1   it happening once?
    2   correct?                                        2      A. That's correct.
    3      A. Correct.                                  3      Q. It says as a second opportunity:
    4      Q. Now, other than the, as I                 4   Better define the limits under which an
    5   understand it, the monthly calls don't          5   atypical account is processed into the
    6   involve the Verifications staff, correct?       6   regulatory system. The current gut
    7      A. That's correct.                           7   feeling approach - in quotes - while
    8      Q. And the HDA presentation was              8   laudable, leaves Schein exposed.
    9   only to management of Verification. It          9   Operating within a closed-loop is usually
   10   was only Shaun Abreu's. It wasn't the          10   dangerous - exclamation point. During the
   11   staff, to your knowledge.                      11   assessment process, accounts were
   12           Correct?                               12   identified which needed further regulatory
   13      A. It may have been Lisa Matalon,           13   scrutiny, but were trapped within the
   14   but yes.                                       14   closed-loop.
   15      Q. And the Ken Romeo presentation,          15          Do you recall after this audit
   16   is that this presentation that you talked      16   any changes that were implemented and
   17   about?                                         17   documented in SOPs to break through this
   18      A. Yes.                                     18   closed-loop gut-feeling approach to when
   19      Q. All right. So, when you said             19   to involve Regulatory in these decisions?
   20   there was a training --                        20          MR. McDONALD: Object to the
   21      A. This is the training. That's             21      form.
   22   correct.                                       22      A. I wasn't aware.
   23      Q. -- you're referring to this              23          MR. McDONALD: Hang on.
   24   document.                                      24          Object to the form.
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    1   BY MR. MIGLIORI:                                1     Q.     Okay.
    2      Q. Go ahead.                                 2          I show you on page 247: The
    3      A. I wasn't aware.                           3   current Schein SOPs allow for a three-time
    4      Q. All right. So, at least as to             4   courtesy release of controlled substances
    5   this second recommendation or opportunity,      5   before an account is required to produce
    6   you're not aware, from 2013 to today, of        6   full documentation of medical need on many
    7   any change in standard operating procedure      7   controlled substances.
    8   to increase the amount of communication         8          Did you understand that that was
    9   and interaction between the Verifications       9   a standard operating procedure in 2013,
   10   Team and the Regulatory Affairs                10   that full medical need documentation was
   11   Department?                                    11   not required and that there was a
   12      A. No. I'd like to take that                12   three-time courtesy release permitted?
   13   question -- my answer back.                    13      A. This is when I learned of it,
   14          We have implemented a database          14   sir.
   15   system so that the documentation is            15      Q. Did you have a concern when you
   16   shared. So when Customer Verifications         16   learned of it?
   17   enters any comments or notations, et           17      A. Yes, sir.
   18   cetera, that file is an active file. It's      18      Q. And, what was your concern?
   19   recorded and then it's transferred to the      19      A. Well, obviously, you know,
   20   Regulatory Team, and then they see             20   the -- the opportunity is to improve to
   21   everything and there's much more               21   make sure that we have these without this
   22   transparency.                                  22   courtesy release.
   23      Q. Excellent.                               23      Q. What was the risk of continuing
   24          What's that data -- what's that         24   to have this three-time courtesy rule?
                                            Page 179                                              Page 181
    1   system called?                                  1   And by risk I mean --
    2      A. FileMaker Pro.                            2      A. Our Know Your Customer data,
    3      Q. And, when was that implemented?           3   sir, would not be complete.
    4      A. Last year, maybe a little bit             4      Q. Okay. It says under that: If a
    5   earlier, but completed last year.               5   diversion of controlled substances is
    6      Q. 2018?                                     6   taking place at the administration or
    7      A. Yeah.                                     7   nursing level of a Schein customer, the
    8      Q. So, this recommendation in                8   corresponding entity might hold Schein
    9   December of 2013, to the best of your           9   responsible for a lack of due diligence in
   10   knowledge, was implemented in 2018?            10   our internal controls by releasing
   11      A. That's correct.                          11   controlled substance through their
   12      Q. That's, by my math, five years           12   individual DEA license.
   13   later, correct?                                13          So, it's a concern both of
   14      A. Your math is correct.                    14   knowing your customer and of proper
   15      Q. All right. Last recommendation:          15   documentation, correct?
   16   Provide training to Verifications              16      A. What do you mean by the
   17   personnel on how to search Google and          17   documentation?
   18   other databases so more accurate decision      18      Q. Well, part of the DEA
   19   can be made.                                   19   compliance. It's not just doing the job
   20           Do you recall whether or not           20   correctly, but also documenting it
   21   there were any changes in standard             21   appropriately.
   22   operating procedures to train Verification     22          Correct?
   23   personnel on Internet-based searches?          23      A. That's correct.
   24      A. I'm not aware that it was done.          24      Q. And that was -- those were both
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    1   raised in this observation, correct?             1   in terms of, you know, managing the
    2      A. Yes, sir.                                  2   systems for that.
    3      Q. Number 5 it says: The current              3      Q. And who, at this time in 2013,
    4   suspicious order monitoring system fails         4   when this was being reported to you, who
    5   to account for two potential deviant order       5   would have been the IT person that, if you
    6   patterns.                                        6   recall?
    7          It says: The current computer             7      A. Liaison currently for Regulatory
    8   analysis system fails to detect a static         8   is Gavin D'Souza, and I would venture that
    9   order patterns of controlled substances          9   he was probably it back then.
   10   and, B, a singular purchase order pattern.      10      Q. Okay. And, who would then --
   11   Both of these order patterns may be             11   who would he have interacted with within
   12   indicative of potential criminal activity       12   your department?
   13   and liability to Schein for a controlled        13      A. Sergio.
   14   substance product release without               14      Q. Sergio, okay.
   15   appropriate due diligence under a strict        15          On the last page it says:
   16   interpretation of the code.                     16   Overall recommendations. Short-term.
   17          Was that explained to you at the         17   Enhance communication with Verifications
   18   time, how those two types of potential          18   Department.
   19   suspicious orders were not being captured       19          That's something you said
   20   by the system?                                  20   FileMaker Pro addressed in 2018, correct?
   21      A. I'm sure we discussed that. I             21   The interactive?
   22   don't recall, sir.                              22      A. That was the ultimate goal. I
   23      Q. Okay. The risk of that for                23   think that there was other enhancements
   24   potential DEA enforcement action was            24   prior to this.
                                             Page 183                                           Page 185
    1   considered to be moderate.                       1      Q. You can't recall any of the
    2          Do you see that?                          2   specifics?
    3      A. Yes, sir.                                  3      A. No.
    4      Q. And then recommendations were              4      Q. All right. Do you have any
    5   made to reprogram the current suspicious         5   other additional medical training other
    6   order monitoring system to detect static         6   than what Ken Romeo did right after this
    7   order patterns of a period of ten months         7   report, medical training of the
    8   or more of a singular controlled or              8   verification decisionmakers?
    9   combination of controlled substances             9      A. I do not.
   10   utilizing the active product ingredient.        10      Q. And as you sit here today,
   11   Needs to be discussed with Verifications.       11   you're not familiar with any verification
   12          Do you know if that was ever             12   decisionmakers recurrent training program
   13   done?                                           13   at Henry Schein?
   14      A. I believe it was, sir.                    14      A. Yeah, they don't report to me.
   15      Q. Okay. And, who would have                 15   So I'm not sure.
   16   implemented that? That is, technically,         16      Q. (Reading) Provide any
   17   who would have verified that? Who would         17   additional training relative to account
   18   have implemented it and then quality            18   due diligence techniques.
   19   controlled it that it was working at the        19          Do you know if any additional
   20   company?                                        20   training had been implemented at Henry
   21      A. I think a combination of the IT           21   Schein for due diligence techniques as a
   22   teams and potentially Regulatory and            22   result of this audit in 2013?
   23   Customer Verifications, but all of the          23      A. I believe Ken Romeo's training,
   24   activities would be driven by the IT team       24   from both a medical and due diligence
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    1   techniques, covered -- covered both             1       Q. And then the last: A more
    2   topics.                                         2   proactive involvement by Regulatory in API
    3      Q. Okay. And so, to your                     3   and SOM systems on a continual basis.
    4   knowledge, and to your recollection,            4           Did you understand that ultimate
    5   anyway, the only -- the only training was       5   long-term recommendation of your Internal
    6   whatever Ken did in that one- or two-day        6   DEA Audit Team was that Regulatory needed
    7   presentation after this report?                 7   to get more proactive in the actual
    8      A. Correct.                                  8   implementation of suspicious order
    9      Q. All right. It says in the                 9   monitoring systems and Know Your Customer
   10   long-term, there's a need to enhance the       10   obligations? Did you under -- appreciate
   11   computer system and validate it.               11   that as the recommendation?
   12          Correct?                                12       A. Yes, sir.
   13      A. Yes.                                     13       Q. And, since your role as
   14      Q. When was that ultimately done?           14   vice-president in this area in 2013, is
   15      A. I'd have to go back and look. I          15   that what you've tried to do over the past
   16   don't know specifically off the top of my      16   five years, be more proactive in getting
   17   head, sir.                                     17   the Regulatory Affairs Department involved
   18      Q. So, at the end of 2013, if the           18   with the verification system?
   19   SOM computer system was outdated, do you       19       A. In my opinion, yes.
   20   have any recollection in your tenure as        20       Q. Okay. But as we sit here today,
   21   vice-president of, among other things,         21   it is still possible for a pended order,
   22   Regulatory Affairs of when the system was      22   or an order that is kicked out of the
   23   switched?                                      23   automated system as being potentially
   24          MR. McDONALD: Object to the             24   suspicious or suspicious and it is -- it
                                            Page 187                                          Page 189
    1      form.                                        1   is possible that that today, that order
    2   BY MR. MIGLIORI:                                2   can be determined or deemed by a
    3      Q. It would have happened during             3   Verifications person to be okay to ship
    4   your time --                                    4   without Regulatory involvement, correct?
    5      A. Yeah, there's been two re-tunes,          5      A. That's my understanding.
    6   I believe.                                      6      Q. Okay.
    7      Q. Okay.                                     7          MR. MIGLIORI: Why don't we take
    8      A. But I don't know the dates, sir.          8      a lunch break?
    9      Q. Okay. Enhance regulatory                  9          MR. McDONALD: Sure.
   10   training on medical aspects of a field         10          THE VIDEOGRAPHER: All right.
   11   audit.                                         11      Stand by.
   12          Other than what you've already          12          The time is 12:18 p.m.
   13   described, are you aware of any other          13          Going off the record.
   14   enhanced regulatory training on medical        14          (Luncheon recess taken.)
   15   aspects?                                       15                 - - -
   16      A. Yeah, that would be the monthly          16        AFTERNOON SESSION
   17   reports where the auditors themselves          17                 - - -
   18   discuss what they find and what challenges     18          THE VIDEOGRAPHER: We are back
   19   they've come across, et cetera.                19      on the record.
   20      Q. But that would only be within            20          The time is 1:03 p.m.
   21   the Regulatory Affairs Department. It          21                - - -
   22   would not involve Verifications.               22          (Peacock Exhibit 10, interoffice
   23          Correct?                                23      memorandum dated December 19, 2012,
   24      A. Correct.                                 24      Bates No. HSI-MDL-00622252 to

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    1       00622258, was marked for                     1   probably the -- in looking at Exhibit 10,
    2       identification, as of this date.)            2   this is probably the first written report
    3   BY MR. MIGLIORI:                                 3   anyway of the assessment, correct?
    4       Q. Okay. We were talking about the           4      A. Yeah.
    5   Internal DEA Audit Team and their report         5      Q. That you received?
    6   to you in December of 2013.                      6      A. The prequel.
    7           The company produced to me               7      Q. Okay. And, so, from this
    8   several letters relating to that. So I'm         8   Exhibit Number 19 was written and
    9   just going to mark them and show them to         9   distributed to not just Regulatory, but to
   10   you. I have a couple questions on each,         10   Regulatory and to Verifications, correct?
   11   but it's mostly to just authenticate            11      A. Correct.
   12   these.                                          12      Q. Essentially the substance of it
   13           This is Exhibit Number 10. It's         13   appears to be the same? It has the same
   14   a similar letter to Exhibit Number 9.           14   reports of risk, the system being
   15           That's Henry Schein interoffice         15   outdated. We talked about that already.
   16   memorandum privileged and confidential.         16   And the parameters of the market segment,
   17   This time it's just to you from Ken Romeo.      17   practice type and practice specialty do
   18   It's dated December 19th. It says 2012,         18   not cross-reference normal clinical drug
   19   but I think that's a typo.                      19   utilization patterns.
   20           Right? You weren't there in             20           So this was the observation that
   21   2012, were you?                                 21   it didn't reflect what was going on
   22       A. I was not, no.                           22   nationally in the -- in the perimeters of
   23       Q. Okay. So I assume this is                23   your system, correct? That's consistent
   24   December 19th of 2013. It talks about the       24   with the prior document, correct?
                                             Page 191                                             Page 193
    1   same scope of the assessment.                    1     A.    Mm-hm.
    2          This looks like it's more of the          2     Q.    Yes?
    3   report of the verification side of things.       3          MR. McDONALD: Well, I don't
    4   And, I can't tell what the differences           4      think he's on the same page you're on,
    5   are.                                             5      Don. Show him.
    6          Did you review this as well as            6      A. You're on 10. Where are you
    7   the one you -- we previously looked at,          7   reading from?
    8   number 9? And feel free to go back and           8      Q. So, I'm reading under the first
    9   compare them.                                    9   findings. I just want to establish that
   10          Is this part of what you                 10   these findings are generally the same
   11   reviewed yesterday?                             11   findings, they're just to a smaller
   12      A. Yes, sir.                                 12   audience on the first document, correct?
   13      Q. Okay. Did you identify, in                13      A. That is correct.
   14   reviewing them, differences or why there        14      Q. So, there's one observation
   15   were two memos that were pretty similar,        15   about the computerized system being
   16   but written to different people?                16   outdated and there's the observation here
   17      A. Well, this was the internal memo          17   about the parameters set in the suspicious
   18   to the department. So this was to me.           18   order monitoring program not reflecting
   19   And then this other one was the one that        19   national real world utilization patterns,
   20   was to a broader audience, including the        20   correct? That's B.
   21   Verifications Team.                             21          MR. McDONALD: It says normal
   22      Q. Okay. So, you wouldn't -- this            22      clinical.
   23   is dated earlier. This would have been          23          Where are you reading?
   24   December 19th of 2013. So this was              24          MR. MIGLIORI: I'm actually just
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    1      summarizing this part B.                      1      Bates No. HSI-MDL-00621989 to
    2          MR. McDONALD: Okay.                       2      00621996, was marked for
    3      A. Yeah, I would agree that the               3      identification, as of this date.)
    4   documents are the same.                          4   BY MR. MIGLIORI:
    5      Q. Okay. We talked already about              5      Q. So, I think this version of the
    6   there being a need for more medical              6   report, which is dated December 30th of
    7   training.                                        7   2013, is again addressed to you and to Jim
    8          There's one we didn't talk                8   Mullins and the Verification Team. It
    9   about, and I didn't go back to compare if        9   seems to report on the same issues.
   10   it was in the earlier document. Number 3        10           First of all, did you review
   11   it says: Accounting data reported to            11   this yesterday in preparation for today?
   12   Regulatory and Verification underwriters        12      A. No, I did not.
   13   as total sales may be materially                13      Q. Do you know what the difference
   14   misstated.                                      14   is in this document from the other
   15          What do you understand that to           15   documents?
   16   be?                                             16           One apparent difference is the
   17      A. So, as defined in the                     17   word "draft."
   18   description under A, there's material,          18      A. That's on the 23rd document
   19   like capital equipment, that could be           19   also.
   20   added or put into the value of that             20      Q. Yeah, okay.
   21   account. So the total sales may be              21           It seems to be written to the
   22   misstated because it's not just controlled      22   same people on Exhibit Number 9, the
   23   substances. It could potentially be other       23   December 23rd letter. And I'm just trying
   24   medical devices or capital equipment.           24   to see whether you can help me understand
                                             Page 195                                            Page 197
    1      Q. So, as it relates to DEA                   1   if there's anything in here that is
    2   compliance, which was the focus of this          2   different.
    3   audit, does that mean that it -- it was          3       A. Honestly, I don't know. I mean,
    4   possible that some of the sales data being       4   I would have to go word-by-word through
    5   reported through ARCOS was misstated             5   the whole document. We could try to do
    6   because it included not just controlled          6   that, if you'd like.
    7   substances, but capital purchases?               7       Q. No, I mean, if you didn't review
    8          MR. McDONALD: Object to the               8   it.
    9      form.                                         9           There are some things that, if
   10          If you know, tell him. But               10   you go to page 6 of the document, or the
   11      don't guess.                                 11   Bates number '996. In this particular
   12      A. I don't know.                             12   document, there seem to be more margin
   13      Q. Okay. You agree with me this is           13   notations of edits. You see the black
   14   a finding related to DEA compliance. I          14   line on the bottom of page 6?
   15   mean, that's --                                 15       A. Yep.
   16      A. That's in the report, yes.                16       Q. And then I don't recall this
   17      Q. Do you have any sense of why              17   component. It says: Background for
   18   that would be in this report?                   18   assessment conclusion. What is Schein's
   19      A. I don't recall, sir. I'm sorry.           19   statistical risks as determined from the
   20      Q. Okay. That's fair enough.                 20   success of current SOM system?
   21          MR. MIGLIORI: All right. You             21           First of all, do you know
   22      can set that aside.                          22   what -- who would have inserted that
   23          (Peacock Exhibit 11, interoffice         23   comment or question?
   24      memorandum dated December 30, 2013,          24       A. It's on the other document too.
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    1     Q.     Is it?                               1      Q. Question mark.
    2     A.     Yeah.                                2      A. Yes.
    3          MR. McDONALD: It's bullet 10.          3      Q. Okay. So, now after the first
    4          MR. MIGLIORI: I'm sorry?               4   finding about the current computerized
    5          MR. McDONALD: It's bullet 10 on        5   system being outdated, there is a proposed
    6      Exhibit 9.                                 6   preliminary action listed in italics.
    7   BY MR. MIGLIORI:                              7          Did you review this document
    8      Q. So, but it's presented a little         8   yesterday?
    9   differently. It doesn't have a 10 here.       9      A. No, sir.
   10          I'm just trying to figure out is      10      Q. Okay. Look over the proposed
   11   there anything -- is that --                 11   preliminary action, if you will, on page
   12      A. Does it mean anything? I don't         12   2.
   13   think so.                                    13      A. (Perusing document.)
   14      Q. I mean, were you trying to edit        14          Okay.
   15   this document for yet a different            15      Q. Did Buzzeo address this issue?
   16   audience, to your knowledge?                 16   Was it Buzzeo ultimately that you chose to
   17      A. To my knowledge, no.                   17   address this issue?
   18      Q. Okay.                                  18      A. I'm not a hundred percent sure,
   19      A. Not aware.                             19   but I believe so. That's correct.
   20          (Peacock Exhibit 12, interoffice      20      Q. Do you recall any other third
   21      memorandum dated February 14, 2014,       21   party databases being tested,
   22      Bates No. HSI-MDL-00622219 to             22   investigated, vetted as referred in this
   23      00622224, was marked for                  23   section?
   24      identification, as of this date.)         24      A. I don't have specific knowledge,
                                          Page 199                                            Page 201
    1   BY MR. MIGLIORI:                              1   sir.
    2      Q. This is Exhibit 12. This is a           2      Q. You mentioned earlier the
    3   February 14th, 2014 memorandum. It's got      3   company, was it Hyman Phelps?
    4   meeting minutes from a February 11th, 2014    4      A. Yes. It's a law firm, sir.
    5   review of the suspicious order monitoring     5      Q. Okay. So, you can't recall any
    6   audit findings that we've been talking        6   other input that you would have received
    7   about.                                        7   to address this first finding other than
    8           Tell me the context, if you can,      8   what's represented here, that Ken and Tina
    9   of this meeting. Why was it held? Was it      9   go talk to Buzzeo?
   10   a regular meeting? Was it specific to        10      A. Yeah, Buzzeo and possibly
   11   this -- these findings, if you can recall?   11   others, but I don't recall who all they
   12      A. Well, it's obviously the               12   spoke with.
   13   individuals that were -- the original        13      Q. On the second discussion point
   14   audit was addressed to. So this was, I       14   about the need for training, medical and
   15   guess, to discuss and more collectively      15   regulatory training for decisionmakers,
   16   understand and ask questions.                16   the proposed preliminary action that Ken
   17      Q. Okay. So, it was a meeting             17   will develop a training program in 2014
   18   dedicated to this issue, as best you can     18   that will be given to Verification and
   19   tell?                                        19   Regulatory. Will also provide training to
   20      A. Yes, sir.                              20   HSAH and GIV as well. Will need to
   21      Q. All of the folks that are listed       21   partner with the dental and animal
   22   as attendees are either from Regulatory or   22   profession to cover these specialties.
   23   from Verifications?                          23          So, that's the 2014.
   24      A. Yes, sir.                              24          Does that sound -- does that
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    1   give you a better sense of time when that      1   those, if they had separate systems?
    2   training that Ken offered to those teams?      2      A. I do not.
    3      A. Yes, it follows logically.               3      Q. Okay. Accounting data reported
    4      Q. Okay. In discussing in this              4   to Regulatory Affairs as total sales. We
    5   proposed preliminary action getting            5   just talked about that. We don't really
    6   training to other joint venture groups,        6   know what that means, as we sit here
    7   HSAH and GIV and dental and animal health,     7   today.
    8   is it fair to say that these observations,     8          The proposal for the three-time
    9   these regulatory observations that the         9   pend rule as listed here, Regulatory
   10   internal DEA group came up with related to    10   requested the Verifications use the 16
   11   not just the Henry Schein companies, but      11   high risk controlled substances instead of
   12   to also these joint venture groups?           12   the list of four controlled substances.
   13           MR. McDONALD: Object.                 13   It also suggested that they reduce the
   14   BY MR. MIGLIORI:                              14   three-time pend to two times going
   15      Q. Was the audit included HSAH, GIV        15   forward.
   16   and dental and animal health?                 16          Is that essentially what was
   17      A. The audit did not --                    17   recommended at this time?
   18           MR. McDONALD: Object to the           18      A. Yes, sir.
   19      form.                                      19      Q. And, is that what happened? Did
   20      A. The audit did not include those.        20   you change the three-time rule to a
   21   It was just the corporate office that was     21   two-time rule?
   22   done.                                         22      A. I can't comment, sir. Not for
   23      Q. Okay.                                   23   sure.
   24           MR. McDONALD: And so that we          24      Q. Okay. And, do you know whether
                                           Page 203                                             Page 205
    1      have a clear record and not some            1   or not they expanded the list of
    2      confusion at a later date, dental is        2   controlled substances in Verifications
    3      included with Henry Schein. It's            3   from the four that had been used through
    4      Henry Schein Dental.                        4   2013 to the 16 high risk?
    5          MR. MIGLIORI: Correct.                  5      A. I don't know specifically, sir.
    6          MR. McDONALD: That's not a              6      Q. Do you know even today what
    7      separate JV.                                7   number of controlled substances --
    8   BY MR. MIGLIORI:                               8      A. I do not.
    9      Q. GIV is, right?                           9      Q. Okay. On the finding related to
   10      A. Yeah. Well, it's Henry Schein           10   the two types of deviate order patterns
   11   company.                                      11   that were being -- that were -- were not
   12      Q. And HSAH, is that a Henry Schein        12   being accounted for in the existing
   13   company?                                      13   system, the proposed preliminary action
   14      A. The animal health, yes.                 14   says: In the short-term the correction
   15      Q. Okay. So, all of those were             15   can be addressed by using data warehouse
   16   involved in this DEA audit, correct?          16   reports to review customer order patterns.
   17      A. No, they were not.                      17          What are data warehouse reports?
   18      Q. Okay. Why not?                          18   And where are they kept?
   19      A. This was a focus on the                 19      A. It's in the JD Edwards system,
   20   corporate system. They have their own         20   sir, so it's the ERP system. It's a
   21   systems.                                      21   module that basically tracks inventory to
   22      Q. Okay. But the reaction to               22   customers.
   23   training, is there -- do you recall why a     23      Q. All right. So it's a inventory,
   24   response to the recommendation included       24   not a sales --
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    1      A. No, it would be tied to sales.            1   but the memo is dated later than
    2   It would show what was shipped to which         2   Exhibit 12.
    3   customer.                                       3          Did you review this in
    4      Q. Okay. There's a question about            4   preparation for today?
    5   how far back some of this data goes.            5      A. I did not.
    6          Do you -- do you know how far            6      Q. Is there a -- is there anything
    7   back the warehouse reports go?                  7   that jumps out at you as being different,
    8      A. I do not.                                 8   in terms of who's getting this, why it's
    9      Q. But they exist in the JDE                 9   being produced, that you can educate me
   10   system, right?                                 10   about?
   11      A. Correct.                                 11      A. The first one has "draft" on it.
   12      Q. So, if we were --                        12   The same as before. So that's all I --
   13      A. And we have off-site storage             13      Q. So this one may be the final
   14   also.                                          14   because it doesn't have the watermark?
   15      Q. Okay. And what -- the off-site           15      A. Yeah.
   16   storage, is that hard copy storage?            16      Q. Okay. Fair enough.
   17      A. No.                                      17          MR. MIGLIORI: So, that's
   18      Q. Or redundant storage?                    18      Exhibit Number 13. We're cruising
   19      A. Redundant, yeah.                         19      now.
   20      Q. Okay. It says: The long-term             20          (Peacock Exhibit 14, DEA
   21   correction will be to add a new pend logic     21      Compliance Update October 2, 2014,
   22   to the SOM system.                             22      Bates No. HSI-MDL-00575077 to
   23          That is to change the algorithm,        23      00375079, was marked for
   24   right?                                         24      identification, as of this date.)
                                            Page 207                                             Page 209
    1      A. Mm-hm.                                    1   BY MR. MIGLIORI:
    2      Q. And that Ken and Tina will                2      Q. Exhibit 14, this is an October
    3   use -- will discuss this issue with Buzzeo      3   2nd, 2014 DEA compliance update.
    4   and the other consultants.                      4          Look at this and tell me if
    5          Do you know --                           5   you've seen this before, or if you
    6          MR. MIGLIORI: Well, strike               6   reviewed it in preparation for today.
    7      that.                                        7      A. (Perusing document.)
    8          I think we have another document         8          I can't recall this specific
    9      that says when that happened.                9   document, sir.
   10      Q. Do you have any further                  10          I don't believe I saw this
   11   information about whether the Buzzeo           11   yesterday. I certainly have received it
   12   system incorporated new pend logic? And        12   in the past.
   13   if so, when that happened?                     13      Q. Okay. You're listed as an
   14      A. I don't know the dates, sir.             14   attendee to this meeting.
   15          (Peacock Exhibit 13, interoffice        15      A. Correct.
   16      memorandum dated February 17, 2014,         16      Q. Is this a regular meeting, based
   17      Bates No. HSI-MDL-00499366 to               17   on the way this document looks?
   18      00499371, was marked for                    18      A. Yes.
   19      identification, as of this date.)           19      Q. And would this be a monthly
   20   BY MR. MIGLIORI:                               20   meeting?
   21      Q. This is Exhibit 13.                      21      A. That's correct.
   22          This is just another dated copy         22      Q. Is this the monthly meetings
   23   of the same meeting minutes from appears       23   we've been talking about?
   24   to be the same meeting on February 14th,       24      A. That's correct.
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    1      Q. So, if I were to look for and             1      Q. He's not -- he's not part of the
    2   ask for the minutes of the monthly              2   team as of the date of this memo, correct?
    3   meetings that the Regulatory Affairs            3      A. Right.
    4   Department itself held, these were by           4      Q. As of October of 2014, he wasn't
    5   phone, they would look something like           5   yet hired?
    6   this, to the extent they exist?                 6      A. No.
    7      A. Correct.                                  7      Q. Okay. So, is this the first
    8      Q. All right. 2014 hydrocodone               8   person, to your knowledge, as you sit here
    9   gets rescheduled as a class -- a Schedule       9   today, is Beverly the first person on the
   10   II controlled substance, right?                10   DEA Audit Team that had this kind of
   11           Do you recall that?                    11   specialized training in pharmacy?
   12      A. I do recall, yes.                        12      A. Well, Ken's an MD.
   13      Q. And, so, there were some                 13      Q. Okay.
   14   logistical issues discussed in this            14      A. I don't know specifically what
   15   particular meeting about keeping those         15   Glenn's background training is.
   16   records separate for the -- those that         16          But of the others, that's
   17   were sent out as Class III and those that      17   correct.
   18   were sent out as Class II, correct?            18      Q. Ken Romeo is a medical doctor.
   19      A. Mm-hm.                                   19          And, what was he trained in?
   20      Q. Yes?                                     20      A. I don't recall.
   21      A. Yes.                                     21      Q. Did he ever practice medicine?
   22      Q. On the next page, there was a            22      A. I don't recall.
   23   minute entry saying: Open Indy position        23      Q. Okay. And his title at this
   24   senior regulatory specialist. Offer is         24   time, was he a member of this team, or was
                                            Page 211                                           Page 213
    1   made to candidate Beverly Butcher.              1   he a supervising person on this team?
    2   Beverly joined the team October 15th to         2      A. He was a member of the team.
    3   shadow Ken on several site visits prior to      3      Q. Okay. And he's the one that
    4   solo trips.                                     4   designed, at the recommendation of the
    5          Who is Beverly Butcher? And              5   audit, the medical training program for
    6   what was she hired to do?                       6   the others, correct?
    7      A. She's on the DEA Audit Team. So           7      A. That's correct.
    8   she's a senior specialist on that team.         8      Q. And it's because of his training
    9      Q. Okay.                                     9   as a medical doctor that he was the one to
   10      A. Conduct audits.                          10   do that?
   11      Q. She was a certified pharmacy             11      A. Correct.
   12   technician.                                    12      Q. Beverly was hired as a certified
   13      A. Yes, sir.                                13   pharmacy tech to follow Ken around on site
   14      Q. Were any other members of the            14   visits and then ultimately, as it seems to
   15   DEA Audit Team, at that time, trained in       15   purport here, to do site visits for due
   16   either pharmacy or medicine or --              16   diligence on her own eventually?
   17      A. Liam was with the Florida Board          17      A. Which she's continuing to do
   18   of Pharmacy. He was an inspector there.        18   today.
   19      Q. Okay.                                    19      Q. Okay. Is Ken still there today?
   20      A. For a number of years prior to           20      A. No, he's not.
   21   joining us.                                    21      Q. When did he leave?
   22      Q. And, do you know when he was             22      A. I don't remember the specific
   23   hired?                                         23   time.
   24      A. I don't have the date, sir.              24      Q. Okay. Site visits in 2014.
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    1   Most site visits to be conducted by our        1   is ramping up in this October 2014 time
    2   team versus Pharma.                            2   frame, correct?
    3          What does that mean? What is            3       A. Yeah. The activity's higher,
    4   the reference to Pharma?                       4   for sure.
    5      A. It's not clear to me. I'm not            5       Q. Okay. So, help me understand
    6   sure, sir.                                     6   it.
    7      Q. Who was doing site visits prior          7           What is HSAH?
    8   to this?                                       8       A. Henry Schein Animal Health.
    9      A. I don't know anybody but our             9       Q. And you're saying that they do
   10   team during my time.                          10   or they don't have a separate system?
   11      Q. Did Verifications do site               11       A. They do have a separate system.
   12   visits?                                       12       Q. But Regulatory is discussing it
   13      A. Not that I'm aware. I don't             13   in its regular monthly meetings and
   14   know.                                         14   reporting on it in their minutes?
   15      Q. Well, this doesn't -- it's a            15       A. In this case, yes.
   16   capital PH too. So it doesn't -- is that      16       Q. Okay. And, so, there is some
   17   a proper name? Do you have any inkling of     17   responsibility, at least of the Regulatory
   18   what that could possibly mean?                18   Affairs personnel that meet on this
   19      A. Light bulbs are going off.              19   monthly basis, to make sure that HSAH is
   20          I believe there was a consultant       20   compliant with respect to controlled
   21   that we used at some time.                    21   substances, correct?
   22      Q. Okay.                                   22       A. I said before --
   23      A. But I'm not familiar with what          23           MR. McDONALD: Object to the
   24   the name was, et cetera, but I believe        24       form.
                                           Page 215                                            Page 217
    1   that was a Pharma Science or something,        1          Go ahead.
    2   like that was a consultant the company had     2      A. As I said earlier, we provide
    3   used prior.                                    3   consulting and auditing for them. So we
    4      Q. So, until this point, at least           4   would give them guidance, you know, do an
    5   some of the site visits being conducted        5   audit of them, have some findings or
    6   through 2014 were being conducted by an        6   whatever and make recommendations to them.
    7   outsourced vendor?                             7      Q. In fact, the first one says:
    8      A. That's my understanding.                 8   Still need help. Four weeks so far. What
    9      Q. Okay. And, the meeting held              9   else can we do for them?
   10   here in October of 2014 discussed the         10          So, it's you're serving as a
   11   concept of regulatory actually doing more     11   resource to them?
   12   of it directly instead of outsourcing it?     12      A. Guidance, yes.
   13      A. Which was why Beverly was hired.        13      Q. Okay. And it says: They are
   14      Q. Okay.                                   14   going to sign a letter that they are
   15      A. Yes.                                    15   compliant, but they are not yet.
   16      Q. Great.                                  16          Do you know what that's
   17          And it said, after that, that          17   referring to?
   18   the due diligence reviews were increasing,    18      A. I do not. Don't recall.
   19   that the summer had slowed down, but the      19      Q. It says: Arthur is still having
   20   fall now ramping up. 45 new accounts were     20   issues.
   21   reviewed and about 15 percent require site    21          I -- do you recall what that's
   22   visits at some point in time.                 22   about?
   23          So, this process of catching up        23      A. No, sir.
   24   on due diligence, of being more proactive,    24      Q. It says: Do we continue to

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    1   support or send a report of issues of what     1      A. Continually improving. There's
    2   needs to be done and then will return to       2   been process changes, et cetera, staffing
    3   do another audit? Procedures have major        3   changes, et cetera.
    4   gaps and further training is required.         4          (Peacock Exhibit 15, email chain
    5          Do you recall what action you           5      ending May 7, 2018, with attachment,
    6   all took at regulatory at Henry Schein in      6      Bates No. HSI-MDL-00572919 to
    7   terms of whether to just report out that       7      00572922, was marked for
    8   the findings of their compliance, or lack      8      identification, as of this date.)
    9   of, or to actually do more? Do you recall      9   BY MR. MIGLIORI:
   10   what decision was made after this meeting?    10      Q. Exhibit 15. It's an email
   11      A. I do not, with the specific             11   exchange of May of last year between you
   12   decision, I don't remember.                   12   and Sergio Tejeda on the Henry Schein
   13      Q. There's a reference: DEA could          13   suspicious order monitoring system memo.
   14   come back for another visit at any time.      14          Did you review this document
   15          Do you know what that is               15   yes --
   16   referring to?                                 16      A. I did.
   17      A. I do not. I mean, the DEA comes         17      Q. I'm sorry. You did?
   18   to all of our -- of all of our DCs            18      A. I did.
   19   generally every year, and they -- it          19      Q. Okay. You recall -- do you
   20   appears that they may have been there and     20   recall, actually, this interaction --
   21   they may come back. I don't know.             21      A. I do.
   22      Q. All right. At the end of the            22      Q. -- when it happened?
   23   meeting, there was a 2015 assignment for      23      A. Mm-hm.
   24   this DEA auditing group. It says:             24      Q. Okay. In reading e-mails, you
                                           Page 219                                           Page 221
    1   Evaluation reformatting our controlled         1   start from the back going forward. So, if
    2   substances processes. Think about              2   you look at the bottom of page 1 Sergio
    3   restructure to take control of all DEA         3   wrote to you, he said: We came to see you
    4   SOM, including customer service                4   and talk to you about the SOM memo.
    5   verifications for subsidiaries, joint          5   Wanted to share draft. See if this is
    6   ventures, set up hotline, do verifications     6   what you're looking for.
    7   here. What would it take? A subsidiaries       7           Do you recall why you asked him
    8   need a valid suspicious order monitoring       8   to put together a memorandum in May of
    9   system. System compatibility may be an         9   2018 relating to the suspicious order
   10   issue. And then charge back cost to the       10   monitoring system at Henry Schein? What
   11   subsidiaries.                                 11   was the context of this email exchange?
   12          At any point after this October        12      A. It was probably part of the
   13   2014 meeting, did you take on the             13   budget request maybe. I don't recall.
   14   responsibility of the subsidiaries and        14      Q. There's a reference to a summary
   15   joint venture entities?                       15   for Stan.
   16      A. No, I did not.                          16           Who's Stan?
   17      Q. Do you know whether you                 17      A. Stan Bergman, the chairman and
   18   performed any further audits for them as a    18   CEO of the company.
   19   resource or guidance?                         19      Q. Okay. And, so, you were
   20      A. Yes, we --                              20   reporting to Stan on the current system,
   21      Q. After this.                             21   as well as some of the history of the
   22      A. Absolutely.                             22   current system?
   23      Q. And, did they change their              23      A. Yeah, giving him background,
   24   systems and update them and re-tune them?     24   yeah.
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    1      Q. Okay. The revised memorandum            1      A. No. No, sir.
    2   talks about how Henry Schein has a robust     2      Q. Did you ever have any
    3   suspicious order monitoring system which      3   interactions with them relative to the
    4   we believe to be unique in the industry,      4   effectiveness of suspicious order
    5   it being two-pronged, it was designed to      5   monitoring programs or thresholds?
    6   fully address the needs of our complex        6      A. Personally, no.
    7   business model.                               7      Q. Did somebody in Henry Schein
    8          It says: The first prong of the        8   have a regular interaction with any of the
    9   SOM gauges orders according to active         9   big 3 suppliers?
   10   ingredient. The second prong monitors        10           MR. ASFENDIS: Just note my
   11   orders based on normalized active            11      objection to form.
   12   ingredient being ordered in the internal     12      A. Not that I'm aware of other than
   13   peer classification.                         13   at a meeting like the HDA where there
   14          As you sit here today, do you         14   might be presentations of, you know,
   15   have an understanding what that means?       15   ongoing activities or regulations or et
   16      A. Somewhat, yes.                         16   cetera or they may be present in speaking.
   17      Q. Is this input that probably came       17      Q. So, to the extent -- with
   18   from Buzzeo that you're relating?            18   respect to the accuracy of the statement
   19      A. Yes.                                   19   that I just read, or paraphrased, that --
   20      Q. All right. It says: Our                20   that's information you got from Sergio?
   21   current SOM was designed in conjunction      21      A. Correct.
   22   with BuzzeoPDMA in 2018 and implementing     22      Q. That's not information you
   23   was completed in 2009. At that point,        23   learned yourself?
   24   there were no service providers that could   24      A. That's correct.
                                          Page 223                                            Page 225
    1   offer an established solution. Companies      1      Q. All right. In order to insure
    2   were forced to develop their own.             2   compliance, your processes were audited in
    3          Is that history as being related       3   2012. So there was a 2012 audit of the
    4   by you to Stan supposed or intended to be     4   new system that was started in 2009 and
    5   a history that you got from Sergio?           5   implemented through 2010 and '11, correct?
    6      A. Yes.                                    6      A. Mm-hm.
    7      Q. 'Cause you obviously weren't            7      Q. Did you ever see the reports of
    8   there at the time?                            8   that audit in 2012?
    9      A. From Buzzeo.                            9      A. No.
   10          Right.                                10          MR. McDONALD: Object to the
   11      Q. Okay. It says: Of the three            11      form.
   12   major drug wholesalers, only Amerisource     12   BY MR. MIGLIORI:
   13   uses the Buzzeo system. Similar to Henry     13      Q. That audit was a collaboration
   14   Schein, they implemented a traditional       14   of Verifications, Legal, Internal Audits
   15   model and are now looking to migrate to      15   and Regulatory.
   16   the SOM cloud solution. Cardinal and         16          Was Legal involved in the 2013
   17   McKesson developed their own SOM systems     17   audit, to your knowledge?
   18   in-house. What we've learned at the same     18      A. Well, I report to Legal, right.
   19   level that Buzzeo does support all three     19   So I report to -- to the Legal Department.
   20   with customer site visits.                   20   So, by inference, I guess I give it to my
   21          Did you have much interaction,        21   boss.
   22   as head of Regulatory Affairs, with the      22      Q. Okay.
   23   other what they call the big 3               23      A. I don't know the specifics about
   24   distributors?                                24   this.
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    1      Q. To the extent, in terms of the            1      A. It's the only one that I'm aware
    2   audit that when you were there in 2013, to      2   of, sir.
    3   the extent Legal was involved, it was           3      Q. Okay.
    4   involved as it related to regulatory            4      A. Yep.
    5   compliance and day-to-day operations,           5      Q. (Reading) Partnering with
    6   correct?                                        6   industry recognized consultants, Henry
    7          MR. McDONALD: Object to the              7   Schein suspicious order monitoring was
    8      form.                                        8   re-tuned in phases. The first one was
    9      A. Could you repeat?                         9   completed on May 1st, 2015.
   10      Q. Sure.                                    10           Does that refresh your
   11          The legal involvement, when you         11   recollection as to when the first SOM
   12   say you report to Legal, the legal             12   automated re-tuning was completed?
   13   involvement on audits like the one we          13      A. Yes, it makes sense.
   14   talked about earlier in 2013, the legal        14      Q. All right.
   15   involvement, to your knowledge, was            15      A. Yeah.
   16   relevant -- was related to regulatory          16      Q. So, all of the recommendations
   17   compliance issues, correct?                    17   that we saw about the system being out --
   18          MR. McDONALD: Object to the             18   outdated, the first re-tune would be
   19      form.                                       19   referring to this May 1st, 2015 re-tune?
   20   BY MR. MIGLIORI:                               20           MR. McDONALD: Object to the
   21      Q. As opposed to ongoing litigation         21      form.
   22   or things like that?                           22           MR. MIGLIORI: Let me state that
   23          MR. McDONALD: Object to the             23      differently.
   24      form.                                       24

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    1      A. Can't answer that. I don't                1   BY MR. MIGLIORI:
    2   really, you know, understand. Or, you           2      Q. One of the findings of the 2013
    3   know, assume yes, but I don't know.             3   audit, the first finding, had to do with
    4      Q. All right. You weren't aware in           4   the computerized system being outdated.
    5   2013 of any legal action that -- that the       5          Do you recall that?
    6   Legal Department was consulting with you        6      A. Yes, sir.
    7   on?                                             7      Q. This reference in your memo to
    8      A. No, sir. Not at all.                      8   the CEO of the company said that in
    9      Q. The memo that -- that was                 9   addressing that issue, the first re-tune
   10   prepared for you to share with the CEO of      10   with input from Buzzeo was completed in
   11   the company then goes on to say that one       11   May of 2015, correct?
   12   of the main findings, in the 2012 audit:       12      A. That's what it says, yes.
   13   One of the main findings was that the          13      Q. All right. And the final phase
   14   suspicious order monitoring system should      14   went live on November 1st of 2017.
   15   be returned periodically -- re-tuned           15          Is that correct?
   16   periodically so that algorithms and            16      A. Yes, sir.
   17   coefficients can be adjusted, if               17      Q. Do you know what the final phase
   18   necessary, to insure optimal sensitivity.      18   was?
   19   This was also highlighted during the           19      A. The difference, I don't, sir.
   20   internal assessment conducted by               20      Q. All right. So, with respect to
   21   Regulatory in December of 2013.                21   findings in 2012, then again in 2013,
   22          Is that reference to the 2013           22   according to this memorandum, as it
   23   assessment the one that we've been talking     23   related to re-tuning and fixing the -- the
   24   about, that is the one conducted by --         24   SOM, updating the SOM computerized system,

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    1   the first re-tune first phase was              1   you brought with you to the meeting?
    2   completed in May of 2015 and the final         2      A. No.
    3   phase was completed November 1st of 2017,      3      Q. I can represent to you it's not
    4   correct?                                       4   one of the documents that's been given to
    5      A. That's what it says. Yes, sir.           5   me today. So I'll have to ask you from
    6      Q. (Reading) In order to insure             6   your memory.
    7   compliance with the current requirements       7           What were the outcome or
    8   and regulator's expectations, we have          8   findings of that report?
    9   contacted three of our DEA consultants to      9           MR. McDONALD: Well, hang on.
   10   conduct another audit on our SOM and KYC      10           So, I need to -- before he
   11   program. One of them is Buzzeo, who has       11      discloses that, I need to visit with
   12   an established SOM program compliance         12      my co-counsel to see if we're claiming
   13   audit. We're also discussing audits with      13      privilege on that since that was --
   14   Quarles and Brady and Cadwalader              14      that report is done by a law firm.
   15   Wickersham and Taft and are waiting for       15           MR. MIGLIORI: Well, can I ask a
   16   their proposals.                              16      couple foundational questions on it,
   17          Do you recall the outcome of           17      to his knowledge? In other words, to
   18   reaching out to the other two outside         18      your knowledge --
   19   vendors?                                      19           MR. McDONALD: Quarles and Brady
   20      A. We just decided to go with Hyman        20      is a law firm, as you know.
   21   Phelps.                                       21           MR. MIGLIORI: So are two of
   22      Q. Okay. Which is a fourth one?            22      these others.
   23      A. Yes.                                    23           MR. McDONALD: Correct.
   24      Q. Okay. And, tell me what you've          24           MR. MIGLIORI: And, so, let me
                                           Page 231                                         Page 233
    1   retained Hyman Phelps to do.                   1      ask a few questions, and then I will
    2      A. They came in to overview a lot           2      respect that request. I won't ask
    3   of the due diligence questionnaire,            3      about the substance of it.
    4   communications with the customers, kind of     4   BY MR. MIGLIORI:
    5   overview the SOM process as well.              5      Q. As you report to the CEO of the
    6      Q. Okay. When did you hire them?            6   company in this email, you're saying that
    7      A. It was the fall. I'm not sure            7   in order to insure compliance with the
    8   exactly the month.                             8   current requirements and regulator's
    9      Q. The fall of 2018?                        9   expectations, we have contacted three of
   10      A. '18, yes, sir.                          10   our DEA consultants to conduct another
   11      Q. And, have they completed their          11   audit on our SOM and Know Your Customer
   12   assessment?                                   12   program.
   13      A. Yes, they have.                         13          That was the purpose of reaching
   14      Q. And, is there a report of that          14   out to outside consultants, correct?
   15   assessment?                                   15          MR. McDONALD: Object to the
   16      A. Yes, there is.                          16      form.
   17      Q. And, have you seen that report?         17   BY MR. MIGLIORI:
   18      A. I have.                                 18      Q. That's what you report to the
   19      Q. And, did you review it                  19   head of the company, correct?
   20   yesterday?                                    20      A. Yeah. So, we were looking to
   21      A. I did not.                              21   continuously evaluate and improve our
   22          MR. McDONALD: You did not.             22   systems.
   23      A. I did not. Sorry.                       23          Yes, I'm reporting to him about
   24      Q. It's not one of the documents           24   that.
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    1      Q. So, the retention of the outside          1      Q. And specifically, when you talk
    2   consulting firm at issue in this                2   about meeting your requirements, you were
    3   memorandum is for the purpose of making         3   talking about going to these DEA
    4   sure that you were in compliance with           4   consultants to conduct another audit on
    5   regulatory requirements for controlled          5   our suspicious order monitoring and Know
    6   substances, correct?                            6   Your Customer programs. That's the
    7          MR. McDONALD: Well, object to            7   requirements that you're referring to,
    8      the form.                                    8   correct?
    9      A. No, I don't think it's -- I -- I          9      A. That's the heart of our systems,
   10   beg to differ.                                 10   yes.
   11          It's semantics again, so.               11      Q. All right. And, so, you reached
   12      Q. Correct me.                              12   out to Buzzeo and two law firms, as you
   13      A. I think it's really about the            13   were representing here, at least in May of
   14   fact that we have systems we feel we are       14   2018, and you ended up going with yet a
   15   compliant and we're looking to button up       15   fourth option, another law firm called
   16   any loose ends that we might find.             16   Hyman and --
   17          So, that we were not in                 17      A. Phelps.
   18   compliance, I disagree with that comment.      18      Q. Phelps.
   19      Q. And, if I suggested you weren't          19           MR. McDONALD: Object to the
   20   in compliance, I actually agree with your      20      form.
   21   disagreement. I didn't mean to.                21           There's no representation in
   22      A. Woo-hoo.                                 22      here about anything to the CEO. This
   23      Q. More simply stated, this                 23      is a draft email from Sergio to him of
   24   memorandum to the CEO of the company says      24      what he might send to the CEO.
                                            Page 235                                            Page 237
    1   that it is your intent to talk to Buzzeo        1          MR. MIGLIORI: Right. I --
    2   and two other companies.                        2          MR. McDONALD: No.
    3           And these two other companies           3          MR. MIGLIORI: I'm perfectly
    4   are law firms; aren't they? Is Quarles          4      comfortable with your --
    5   and Brady a law firm?                           5          MR. McDONALD: Okay.
    6      A. Yes.                                      6   BY MR. MIGLIORI:
    7      Q. And Cadwalader Wickersham and             7      Q. You don't know if this ever got
    8   Taft, that's a law firm?                        8   cents, or do you know if this ever got
    9      A. Yes.                                      9   sent?
   10      Q. So, your effort to, quote,               10      A. Sitting here today, I'm not
   11   insure compliance with the current             11   sure. I believe it did, but I --
   12   requirements and regulator's expectations,     12      Q. Okay.
   13   was addressed by reaching out to these         13      A. I wouldn't swear on a stack of
   14   outside vendors, correct?                      14   bibles right now.
   15           MR. McDONALD: Object to the            15      Q. Okay. Certainly the intent was
   16      form.                                       16   to prepare this memorandum for you to
   17      A. We're be looking --                      17   share with the CEO of Henry Schein,
   18           MR. McDONALD: Object to the            18   correct?
   19      form.                                       19      A. Yes.
   20      A. We're looking for confirmation           20      Q. All right. And it was your
   21   of what we have in place is meeting the        21   intent in sharing this information with
   22   requirements and if there's areas of           22   the CEO of Henry Schein to inform him
   23   improvement, we would be engaged in the        23   that, as a result of the 2012 and 2013
   24   process to fix them.                           24   audits, and as a result of the re-tuning
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    1   that was done in 2015 and 2017, it was        1          MR. McDONALD: Object to the
    2   your belief that it was necessary to vet      2      form.
    3   outside vendors to make sure that you're      3          If you know, tell him, but don't
    4   all in compliance with the current            4      guess.
    5   requirements and regulator's expectations     5      A. Can't guess. I'm not sure a
    6   as it related to suspicious order             6   hundred percent.
    7   monitoring programs and Know Your Customer    7      Q. Okay. And, did they -- they
    8   programs, correct?                            8   performed an audit as a result of your
    9           MR. McDONALD: Object to the           9   retention, correct?
   10      form.                                     10      A. Yes, they did.
   11           Go ahead.                            11      Q. And that audit was an on-site
   12      A. So, the statement that it was          12   audit?
   13   necessary, I'll object to that.              13      A. Yes, sir.
   14           I think it's best practices. At      14      Q. Did it also -- was there a
   15   the end of the day, it's best practices to   15   term -- was it also a desk audit?
   16   evaluate your systems, to look to improve    16      A. I'm not sure.
   17   them, and, you know, make sure that          17      Q. Did they go out to the
   18   they're the best they can be.                18   distribution centers?
   19      Q. Okay. It wasn't necessary, but         19      A. No, sir.
   20   you were recommending it?                    20      Q. Was it just in Melville, New
   21      A. Of course, yes.                        21   York?
   22      Q. All right. And, whether you            22      A. Yes, sir.
   23   sent this memorandum to the CEO of the       23      Q. Did they go to any Verifications
   24   company, you, in fact, did interview three   24   Team in Reno?
                                          Page 239                                            Page 241
    1   companies and a fourth company for this       1      A. No, sir.
    2   purpose of finding a consultant to insure     2      Q. Did they have anybody from the
    3   compliance with current requirements and      3   various national offices come in to
    4   regulator expectations as to suspicious       4   Melville for the audit, to your knowledge?
    5   order monitoring and Know Your Customer       5      A. I'm not sure, sir.
    6   programs, correct?                            6      Q. Did they review due diligence
    7      A. We did.                                 7   files?
    8      Q. All right. And, ultimately, as          8      A. That, I'm sure they did.
    9   a result of that process, you went with       9      Q. Did they review the pended order
   10   Hyman and Phelps, correct?                   10   database?
   11      A. Yes.                                   11      A. Can't say for sure.
   12      Q. And you were personally involved       12      Q. Did they review the suspicious
   13   in the retention of Hyman and Phelps?        13   order monitoring reporting?
   14      A. I believe I signed the contract,       14      A. Can't say for sure.
   15   yes.                                         15      Q. Do you know whether they
   16      Q. And you believe you signed that        16   reviewed the ARCOS data reports?
   17   contract in the summer of 2018?              17      A. Can't say for sure.
   18      A. Early fall.                            18      Q. In the end, they issued a report
   19      Q. And, so, a contract of retention       19   which they sent to you?
   20   exists for this particular assignment?       20      A. I believe they sent it to Sergio
   21      A. Statement of work for the              21   and to Frank O'Regan and I was copied,
   22   activity that we requested and a price.      22   sure.
   23      Q. And a statement of work was            23      Q. And they sent it to Sergio and
   24   consistent with what I just read?            24   Franco as --
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    1          MR. MIGLIORI: Strike that.              1     have it. I have a document from you
    2     Q.     Did Sergio and Franco --              2     saying that you've substantially
    3          MR. McDONALD: It's Frank. Not           3     complied with discovery, and so I
    4      Franco.                                     4     just -- obviously it's something I
    5          MR. MIGLIORI: Frank. Sergio             5     want to further explore. And we could
    6      and Frank.                                  6     do that whenever.
    7   BY MR. MIGLIORI:                               7         MR. McDONALD: Sure.
    8      Q. Did Frank and Sergio serve as            8         MR. MIGLIORI: Okay.
    9   the facilitators cooperating with their --     9         (Peacock Exhibit 16, email dated
   10      A. Absolutely, yes.                        10     July 19, 2018, with attachment, Bates
   11      Q. And, so, the report was sent to         11     No. HSI-MDL-00433692, was marked for
   12   them.                                         12     identification, as of this date.)
   13          And, was action taken as a             13   BY MR. MIGLIORI:
   14   result of their report in terms of, as we     14     Q. Exhibit 16. This is a July
   15   saw in the last few documents, proposed       15   19th, 2018 email from you to Sergio Tejeda
   16   changes?                                      16   regarding DEA slides for July 2018 Henry
   17          MR. McDONALD: You can say yes          17   Schein Incorporated board of directors
   18      or no, but don't reveal any content        18   advisory committee meeting.
   19      until we get --                            19         Did you review this in
   20          MR. MIGLIORI: It's a yes-or-no         20   preparation for today?
   21      question right now.                        21     A. Yes, sir.
   22      A. I believe so.                           22     Q. And, do you recall what the
   23      Q. Okay. And, were you part of the         23   context was of this meeting?
   24   process of coming up with those               24     A. So, I am part of a subcommittee
                                           Page 243                                          Page 245
    1   recommendations?                               1   of the -- including the legal
    2      A. No, sir.                                 2   representation, my boss, and four board
    3      Q. Were you part of the process of          3   members. We call it the Board of
    4   deciding whether or not to implement those     4   Directors Regulatory Compliance Committee.
    5   recommendations?                               5   The compliance officer is also part of
    6      A. No, sir.                                 6   that, when I talk about other compliance
    7      Q. All right. If I pursue the               7   issues, and I kind of give them the state
    8   findings, are you going to want to wait        8   of affairs of other DEA compliance
    9   until you can talk to your client?             9   process.
   10          MR. McDONALD: I do. I want             10      Q. Okay. Can you repeat for me the
   11      to --                                      11   name of the committee?
   12          MR. MIGLIORI: All right. Then          12      A. The Board of Director -- BOD
   13      we can put that on the record and          13   Regulatory Compliance Committee.
   14      we'll deal with it after you've let me     14   Subcommittee, because it's not a full
   15      know after talking to your client. I       15   board.
   16      want to pursue it.                         16      Q. Okay. It's a subcommittee to
   17          MR. McDONALD: We can take a            17   the board of directors of the company?
   18      break right now.                           18      A. That's correct.
   19          MR. MIGLIORI: We can do it             19      Q. All right. And, is there a
   20      after the break. We can plow through       20   chairperson of that committee?
   21      some more stuff.                           21      A. My boss, Walter Siegel, and Joe
   22          MR. McDONALD: That's fine.             22   Herring of the board.
   23          MR. MIGLIORI: But I do                 23      Q. H-E-R-R-I-N-G?
   24      represent, so you know, that I don't       24      A. That's correct.

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    1      Q. Okay. And, who are the members           1   beginning of the morning about the medical
    2   of the committee?                              2   device regulation in Europe, that would be
    3      A. Michael Ettinger, Nancy Lanis,           3   something that I reported to them on.
    4   Kurt Kuhn, who's a board member. I don't       4      Q. Is it possible in that the
    5   know her name. Carol Raphael? Carol            5   memorandum that we were just talking about
    6   Raphael.                                       6   that you and Sergio were working on back
    7      Q. Okay.                                    7   in May to be presented to the CEO about
    8      A. And I'm struggling with the last         8   hiring an outside vendor, is it possible
    9   one.                                           9   that that was one of the issues at this
   10      Q. And you?                                10   quarterly meeting?
   11      A. And me.                                 11          MR. McDONALD: Object to the
   12      Q. Anyone else from Regulatory --          12      form.
   13      A. No.                                     13   BY MR. MIGLIORI:
   14      Q. -- or Verifications?                    14      Q. Hiring Hyman Phelps?
   15          Okay. So, there are some board         15          MR. McDONALD: Object to the
   16   members and there are some, are the others    16      form.
   17   mostly senior-level management?               17      A. Hiring for the -- I'm -- the
   18      A. Yes.                                    18   board, no.
   19      Q. Okay. And this subcommittee             19      Q. Yeah.
   20   deals with all types of regulatory            20          Would this meeting have involved
   21   compliance, not just controlled               21   any of the issues in the prior exhibit of
   22   substances?                                   22   going to an outside vendor in order to get
   23      A. Yes, everything. All compliance         23   another auditor assessment?
   24   issues and regulatory issues.                 24      A. I believe this was just about
                                           Page 247                                          Page 249
    1       Q. Certainly within that, it               1   communications about what the rules were,
    2   includes the DEA and -- and controlled         2   where the -- where the -- where we stand,
    3   substances, correct?                           3   et cetera. There was no ask or specific
    4       A. That's correct.                         4   action item that we were taking.
    5       Q. And, so, Sergio, did he prepare         5      Q. Okay. This flowchart on page 1
    6   these slides for you for purposes of this      6   that's up on the screen now: DEA
    7   presentation?                                  7   Compliance Processes: Follow the order.
    8       A. Yes, he did.                            8          Do you recall who put this
    9       Q. Does this subcommittee meet             9   together?
   10   regularly?                                    10      A. Sergio.
   11       A. Quarterly.                             11      Q. Did he do it for this meeting?
   12       Q. And, do you present quarterly of       12      A. I can't say for sure. He may
   13   your -- your events of the quarter?           13   have had it for other purposes, but --
   14       A. Not always. So it kind of              14      Q. Okay. And, was this part of
   15   depends on flow of the meeting, the agenda    15   the -- the, let's see what word you've
   16   topics, et cetera.                            16   used. The improvement or the re-tuning of
   17       Q. Okay. Do you know why you were         17   the system. Is this the system as it
   18   reporting in July of this year to the         18   existed in July of 2018?
   19   board? Was there a particular impetus for     19      A. Yes, I'm -- that's my
   20   this report?                                  20   understanding. Yes. This is current.
   21       A. I don't recall, no. I mean,            21      Q. And then this history on page 2
   22   it's one of the -- one of the topics,         22   that's provided, is this a history that
   23   right, key topic, quality issues,             23   Sergio put together?
   24   regulations like I mentioned in the           24      A. Yes, sir.
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    1      Q. So, he talks about setting up             1   order monitoring processes?
    2   the suspicious order monitoring system in       2      A. Is it fair? Yes, sir.
    3   2018, its implementation being completed        3      Q. That's way too involved.
    4   in 2009.                                        4          Let's go to the next one, page
    5          Is that consistent with your             5   4.
    6   understanding of how things evolved?            6          Are these -- there's a list of
    7      A. From the documents that I've              7   some penalties paid by Henry Schein. All
    8   seen.                                           8   but one predates your involvement. And
    9      Q. Okay. That the 2012 Buzzeo                9   the one after which you're hired seems to
   10   audit resulted in some recommendations.        10   be outside of your system.
   11          There's no reference here to            11          Is that fair to say?
   12   2013 internal audit, is there? Or am I         12      A. That is correct.
   13   missing it?                                    13      Q. So, I assume you have no
   14          Is that -- is this develop              14   knowledge or information about Henry
   15   multiyear plan for implementation?             15   Schein's warning letter in 1998 from the
   16      A. I think it could be understood           16   State of Ohio, correct?
   17   there.                                         17      A. That would be a correct
   18      Q. Okay. The 2015 first phase               18   assumption.
   19   re-tuning was completed by Richmond            19      Q. All right. But you did keep
   20   Analytics?                                     20   track of and report to the company the
   21      A. Yes.                                     21   much more substantial fines and penalties
   22      Q. Does that sound right?                   22   paid by the other distributors of
   23      A. Yes.                                     23   controlled substances, correct?
   24      Q. And Buzzeo?                              24      A. Yes.
                                            Page 251                                           Page 253
    1      A. Yes.                                      1      Q. And I assumed -- well, I don't
    2      Q. So, that May phase 1                      2   want to assume.
    3   implementation was both Richmond Analytics      3          Why -- why would you report that
    4   and Buzzeo?                                     4   information to the -- the board, or the
    5      A. That's correct.                           5   subcommittee?
    6      Q. The November 2017 final phase             6          MR. McDONALD: Object to the
    7   implementation of the re-tuning of the          7      form.
    8   suspicious order monitoring program at          8   BY MR. MIGLIORI:
    9   Henry Schein was the Profit -- was done by      9      Q. What was the purpose of
   10   ProfitOptics? Is that the second phase?        10   including that in this report, if you
   11      A. Yes.                                     11   recall?
   12      Q. And then 2018 it says: Schedule          12      A. Awareness to what's possible.
   13   by year-end to receive a consultant            13      Q. The risk?
   14   assessment of our DEA compliant process.       14      A. Yes.
   15   Assessment will be focused on our Know         15      Q. All right. Do you recall
   16   Your Customer Due Diligence and Suspicious     16   actually giving this presentation?
   17   Order Reporting processes.                     17      A. Yes.
   18         Is that the Hyman Phelps --              18      Q. Did anything come of that
   19      A. It is, sir.                              19   presentation in terms of changes or
   20      Q. -- audit?                                20   outcomes or new programs?
   21      A. Yes, sir.                                21      A. Not specifically that I recall,
   22      Q. Is it fair to say the Hyman              22   no.
   23   Phelps audit focuses on those two issues,      23          MR. MIGLIORI: Let's do this one
   24   the Know Your Customer and suspicious          24      quickly. This is number 17.
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    1           (Peacock Exhibit 17, email chain      1      A. Yeah.
    2       ending July 18, 2018, with attachment,    2      Q. Just briefly.
    3       Bates No. HSI-MDL-00209427 to             3      A. Okay.
    4       00209428, was marked for                  4      Q. So, in this history of Schein's
    5       identification, as of this date.)         5   SOMs and Know Your Customer Due Diligence
    6   BY MR. MIGLIORI:                              6   development, is it fair to say that you've
    7       Q. This appears to be the same            7   separated out, at least for this
    8   document. I probably should have just         8   presentation, the two components, that is
    9   used this one.                                9   the computerized system and threshold
   10           So, this is a email exchange         10   model to kick out potentially suspicious
   11   with Nick DeLucia and Francis O'Regan with   11   orders, correct?
   12   the presentation that we just walked         12      A. Correct.
   13   through.                                     13      Q. And then the Know Your Customer
   14           Do you recall why they were          14   Due Diligence requirements to be compliant
   15   involved or how they were involved with      15   with DEA regulations, correct?
   16   preparing this presentation?                 16      A. Yes.
   17       A. Well, they work for Sergio. So        17      Q. And the Know Your Customer Due
   18   it's very likely that they actually did      18   Diligence has different -- it's not just
   19   the assembly of some of the content.         19   triggered by the statistical computerized
   20       Q. Okay.                                 20   model, correct?
   21       A. Or maybe all of the content.          21      A. Could you repeat the question?
   22       Q. Sure.                                 22      Q. Yeah.
   23           It says July 18th. It says:          23          The Know Your Customer
   24   Frank - Nick's writing to Frank - This was   24   obligations are ongoing. They're not
                                          Page 255                                            Page 257
    1   the final version that I sent to Jeff.        1   triggered by the -- only by the
    2   There was one clarification I sent him in     2   statistical computerized suspicious order
    3   an email regarding the attributes to          3   monitoring system, correct?
    4   create a customer peer group in the SOMs.     4      A. That's correct.
    5   It's now practice size rather than            5      Q. In fact, according to this
    6   practice type.                                6   presentation, that there is Know Your
    7          What's a customer peer group, if       7   Customer obligations at the onboarding of
    8   you know?                                     8   a new customer, bringing on a new
    9       A. I don't know specifically. I           9   customer, correct?
   10   would assume it's the type of practice,      10      A. Yes.
   11   but I can't assume.                          11      Q. There's Know Your Customer Due
   12       Q. All right. If you can, just           12   Diligence in verifying all of the licenses
   13   jump ahead to page 2.                        13   of the customers, correct?
   14          This one has a chart in it that       14      A. Yes.
   15   the other one didn't have, and it appears    15      Q. The due diligence reviews are
   16   to be a Know Your Customer Due Diligence     16   due diligence reviews that are not only
   17   graphic.                                     17   triggered by events or orders, but there
   18          Do you see it?                        18   is a -- there is a recommendation by
   19       A. I think it was on here, but it        19   your -- your internal team that audits
   20   got cut off.                                 20   happen on an ongoing basis, even of
   21       Q. Yeah, that's what I'm trying to       21   existing customers, not just new
   22   figure out. Is it -- that's how it was       22   customers.
   23   produced to us. Let's use the one that we    23           Correct?
   24   can actually see.                            24      A. Could you restate that? I got
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    1   confused.                                      1   the back, do you know Donna Tomaselli?
    2      Q. Sure.                                    2      A. Not personally.
    3          The due diligence review is not         3      Q. Okay. Do you understand, at
    4   just for onboarding or for a triggered         4   least from her signature line, that she's
    5   suspicious event, correct?                     5   a compliance analyst --
    6          MR. McDONALD: Object to the             6      A. Yes.
    7      form.                                       7      Q. -- Americas?
    8      A. Not just for onboarding or               8      A. Yes.
    9   triggered?                                     9      Q. Is that sort of a frontline
   10      Q. Right.                                  10   person on due diligence?
   11          There is an obligation to be           11      A. Yes.
   12   compliant, to have a continual knowledge      12      Q. She wrote to William Crawford,
   13   and a present knowledge of your customers     13   that you'll see is a DEA diversion
   14   dispensing history?                           14   investigator, right?
   15      A. That's correct, yes.                    15          Do you actually know William
   16      Q. Okay. And that includes things          16   Crawford?
   17   like site visits, as this graphic --          17      A. I do not.
   18      A. May include site visits.                18      Q. Okay. She writes: Enclosed is
   19      Q. Okay. I wasn't sure why that            19   the requested information for Richard
   20   was in one and not the other. But I           20   Mason. Please confirm your receipt.
   21   should have asked you that.                   21          And he wrote back and, that is
   22      A. Yeah. I actually think it was           22   the DEA agent, investigator: I have some
   23   on this one and just got blown off however    23   information concerning Dr. Richard Mason
   24   it was reproduced or whatever.                24   that needs to be brought to the attention
                                           Page 259                                           Page 261
    1         MR. MIGLIORI: Let me do a                1   of Henry Schein compliance. Should I send
    2     couple more documents. Then we'll            2   it to you? If not, please let me know who
    3     take a break, and then we'll finish          3   to send it to.
    4     up.                                          4          And then she responds: Yes,
    5         (Peacock Exhibit 18, email chain         5   send it to me and Shaun as well.
    6     ending January 26, 2016, Bates No.           6          Does this refresh any of your
    7     HSI-MDL-00156897 to 00156899, was            7   recollection whether or not you may have
    8     marked for identification, as of this        8   seen this before?
    9     date.)                                       9       A. I don't recall, no.
   10         MR. MIGLIORI: This is                   10       Q. All right. The DEA investigator
   11     Exhibit 18.                                 11   writes to Donna and now to Shaun Abreu,
   12         (Pause.)                                12   both from Verifications: Here in Ohio
   13   BY MR. MIGLIORI:                              13   doctors that dispense are required to
   14     Q. I want to show you Exhibit 18.           14   report to the Ohio prescription drug
   15   This is an email exchange between Tina        15   monitoring program, OARRS. OARRS reports
   16   Steffanie-Oak and Beverly Butcher             16   that Dr. Mason has never reported any
   17   regarding Richard Mason.                      17   dispensing.
   18         Did you review this document in         18          Within your system, you agree
   19   preparation for today? It also includes       19   with me that Henry Schein is required in
   20   an email from DEA, a diversion                20   knowing its customer to do verifications
   21   investigator.                                 21   both at the federal and state levels of --
   22     A. I don't recall yesterday.                22   of their customers, correct?
   23         I'm sorry.                              23          MR. McDONALD: Object to the
   24     Q. All right. If you start from             24       form.

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    1      A. Yes.                                       1   would be informed of?
    2      Q. Okay. And that would include               2      A. Yes.
    3   the OARRS system in Ohio, correct?               3      Q. All right. When that happens,
    4          MR. McDONALD: Object to the               4   what happens next within Regulatory? If
    5      form.                                         5   you were to receive this in Regulatory in
    6      A. This predates me. I'm not                  6   2016, what are the next steps, if any, in
    7   familiar with the OARRS system.                  7   the Know Your Customer obligations at
    8      Q. Well, this is 2016. So it                  8   Schein?
    9   doesn't predate you.                             9         MR. McDONALD: Object to the
   10          You may not be familiar. I               10      form.
   11   accept that. But this doesn't predate           11      A. I don't know specifically.
   12   you, correct?                                   12   My -- my intent would there be an
   13      A. No. I was reading the 2012                13   investigation, understand what the -- Dr.
   14   order.                                          14   Mason's forms looked like, what he did and
   15          Yes.                                     15   what he said and what he lied to us about.
   16      Q. Okay. So, the DEA writes: I               16      Q. Okay.
   17   ran across -- I ran ARCOS and found that        17      A. And to see also whether or not,
   18   Mason ordered 10,000 hydrocodone since          18   you know, those 10,000 hydrocodones,
   19   2012. I went to his practice to inspect         19   whether they came from us alone or whether
   20   his records, which he could not produce.        20   there were multiple distributors that he
   21   I gave him time to find the records and         21   was shopping at to meet his needs and to
   22   arranged a time to return for inspection a      22   stay under the radar.
   23   few days later. The state pharmacy board        23      Q. And you see that the DEA
   24   went to inspect his records. At which           24   investigator actually looked to the state
                                             Page 263                                             Page 265
    1   time, Dr. Mason admitted to them that he         1   reporting system and to the ARCOS
    2   lied to me and he had no dispensing              2   transactional data and followed that up
    3   records because he was addicted to               3   with an on-site visit. That's how this
    4   hydrocodone and had been ordering                4   issue came to his attention.
    5   hydrocodone from your company for his            5      A. Correct.
    6   personal use. If you need any additional         6      Q. And that's consistent with the
    7   information, please let me know.                 7   Know Your Customer process at Henry
    8          Now, I assume you don't recall            8   Schein, that -- that verifying or turning
    9   this yourself, correct?                          9   to those transactional databases and doing
   10      A. I never saw this.                         10   on-site visits is part of a Know Your
   11      Q. Is this something, if presented           11   Customer Due Diligence good practice,
   12   to Verifications, would get escalated to        12   correct?
   13   Regulatory?                                     13          MR. McDONALD: Object to the
   14          MR. McDONALD: Object to the              14      form.
   15      form.                                        15      A. Yeah, all areas of Know Your
   16      A. May or may not. Not sure.                 16   Customer is good business.
   17      Q. At this stage, could -- it says           17      Q. Okay. And, we know, at least
   18   in the subsequent email, Donna writes           18   from this email, that one response was
   19   back, or writes to Tina in your                 19   Verifications restricted Dr. Mason's
   20   department: We will restrict the account        20   account.
   21   today. I have attached what was sent to         21          Do you know what the term
   22   Investigator Crawford on December 10th.         22   "restricted" means?
   23          So, is this something that               23      A. He'll no longer be able to buy
   24   typically in your system your department        24   controlled substances from us.
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Case:Highly
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    1       Q. Is it just controlled                   1   all accounts that have been restricted?
    2   substances?                                    2       A. Yes, sir.
    3       A. I believe it's all                      3       Q. And, where is that housed?
    4   pharmaceuticals, but he's still able to        4       A. It's in the SharePoint data.
    5   buy medical devices.                           5       Q. And, what's that file called?
    6       Q. Okay.                                   6       A. Restricted accounts.
    7       A. Dental or medical devices.              7       Q. So, there is a database of
    8       Q. Do you know what happened with          8   restricted accounts that are -- I assume
    9   respect to Dr. Mason's account after this      9   it's a searchable database?
   10   time?                                         10           MR. McDONALD: Object to the
   11       A. I do not.                              11       form.
   12       Q. If you wanted to find that out,        12           If you know, tell him.
   13   where would you go? Where would you go?       13       A. Can't say. I don't know.
   14       A. First I would go to Shaun Abreu        14       Q. If you asked Sergio or Shaun to
   15   to see whether or not there was any           15   go get me every doctor who has a
   16   follow-up and whether the restriction's       16   restricted account in Summit County, Ohio,
   17   still in place, which I would assume it       17   or in the State of Ohio, do you think that
   18   is.                                           18   they would be able to generate such a
   19       Q. Okay. Is there another level of        19   report?
   20   action which is a suspension, a               20           MR. McDONALD: Object to the
   21   termination, a disconnect?                    21       form.
   22       A. Restriction's the highest.             22       A. I don't know how long it takes,
   23   You're not buying pharmaceuticals from us.    23   but I'm pretty sure they could generate
   24       Q. Okay. The first person you             24   that report.
                                           Page 267                                           Page 269
    1   would go to in that scheme, in the scheme      1     Q. The data would be there?
    2   of Henry Schein, would be Shaun Abreu?         2     A. Yeah, the data's there.
    3      A. Yeah.                                    3     Q. And it lives electronically --
    4      Q. In Verifications?                        4     A. Correct.
    5      A. That's correct.                          5     Q. -- somewhere?
    6      Q. Would Sergio Tejeda have any             6     A. Yes.
    7   information on this?                           7     Q. And it's called the restricted
    8      A. Yeah, he probably would have it          8   accounts --
    9   also on the FileMaker Pro database that we     9     A. Yes.
   10   have.                                         10     Q. -- database?
   11      Q. At this stage, once something's         11         MR. McDONALD: We've been going
   12   restricted, is there an obligation in         12     a while. So why don't we take a break
   13   either Verifications or Regulatory to do      13     whenever you get to a good spot.
   14   anything further, other than restrict?        14         MR. MIGLIORI: Yes. I'm
   15      A. We always notify the DEA when we        15     thinking maybe let me do this one
   16   restrict any customer.                        16     document, 'cause I just --
   17      Q. Okay. And, in this case, when           17         MR. McDONALD: You're so excited
   18   you were told of it from the DEA,             18     about it.
   19   presumably that wasn't a necessary step?      19         MR. MIGLIORI: No, I'd rather
   20      A. Can't say for sure.                     20     just move on to the next topic at the
   21      Q. Okay.                                   21     end of the break instead of being in
   22      A. But I would assume that, yes.           22     the middle of one.
   23      Q. Is there a report that's                23         But, if you don't mind, just
   24   generated weekly, monthly, quarterly, of      24     give me one second.
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    1         And I'm going to claim sickness           1   2018 and they did conduct a audit and
    2     as my basis for my request.                   2   assessment of some type, and a report, as
    3         THE WITNESS: I'm not feeling              3   we understand now, a draft report did
    4     well either.                                  4   result from that.
    5         MR. MIGLIORI: Excellent                   5          Did you, in fact, review a draft
    6     response.                                     6   of that report?
    7         Yeah, let's take a break here             7      A. I did.
    8     this way I can fine tune.                     8      Q. To the best of your
    9         THE VIDEOGRAPHER: Okay. Remove            9   understanding, what did that report
   10     the microphones.                             10   conclude or find?
   11         The time is 2:19 p.m.                    11      A. I think in terms of a general
   12         Off the record.                          12   conclusion is that the systems were, you
   13         (Recess taken.)                          13   know, pretty robust. There were certain
   14         THE VIDEOGRAPHER: Okay. We are           14   Know Your Customer questions that should
   15     back on the record.                          15   be modified, both for better detail from
   16         The time is 2:33 p.m.                    16   the physician's office and -- let me see
   17         MR. McDONALD: So, as requested,          17   what else.
   18     we have visited about your questions         18          That was the -- that was the
   19     regarding the Hyman Phelps report. As        19   main juxt of it, is that the Know Your
   20     we discussed off the record, there is        20   Customer questions needed to be, you know,
   21     not a final report yet. It is                21   tuned a little bit better. And that's
   22     under -- currently under legal review        22   about it.
   23     for finalization with Hyman Phelps.          23      Q. Okay. Did the assessment go
   24         I don't agree at this time that          24   into both systems, both the computerized
                                            Page 271                                             Page 273
    1      that report is actually discoverable         1   system and the Know Your Customer
    2      in this case. It was done after the          2   components?
    3      initiation of litigation against my          3      A. There was issues with the -- in
    4      client. But I will let the witness           4   the audit with the suspicious order
    5      answer questions regarding his               5   monitoring system.
    6      knowledge of his review of the draft         6      Q. Okay.
    7      of the report.                               7      A. And the reporting of that and
    8           MR. MIGLIORI: I appreciate              8   how the state reporting and the ARCOS
    9      that.                                        9   reporting was done.
   10           We'll reserve, subject to what         10      Q. Okay. And, do you recall what
   11      he testifies to and any other thoughts      11   the issues were? Was it overreporting,
   12      on that, we'll reserve any further          12   underreporting?
   13      argument or objection to it. But I          13      A. No, I didn't say it was either
   14      appreciate the courtesy, and hopefully      14   of those.
   15      this gets us to where we need.              15          I said the audit was actually
   16           MR. McDONALD: And you agree            16   conducting of that. There was -- I can't
   17      that this is not, to the extent it is,      17   recall any specific findings that we were
   18      we ultimately claim privilege, this is      18   under or overreporting.
   19      not a blanket waiver of any privilege.      19      Q. Okay.
   20           MR. MIGLIORI: Understood. We           20      A. Yep.
   21      can proceed with that understanding.        21      Q. So, there were some findings.
   22   BY MR. MIGLIORI:                               22   You just don't recall, as you sit here,
   23      Q. So, Mr. Peacock, the question            23   what they are with respect to the
   24   then is you did retain Hyman Phelps in         24   suspicious order monitoring system?
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    1      A. Correct. There may have been             1   diligence questionnaire, not necessarily
    2   findings. I don't remember.                    2   the letter. So you've drifted to the
    3   Recommendations maybe, but it was, yeah.       3   letter.
    4      Q. Okay. On the Know Your Customer          4      Q. Well, and I appreciate it.
    5   side, it's your understanding that there       5   That's exactly what I was trying to get
    6   were some recommendations that the due         6   to, but I was getting there slowly.
    7   diligence letters have -- request greater      7           So, there is the letter that
    8   information or more detail?                    8   goes out when there is a due diligence
    9      A. Clarity, yes.                            9   requirement through the suspicious order
   10      Q. Did the outcome of that audit           10   monitoring program and then there's the
   11   support the continued use of a written due    11   onboarding due diligence that is the
   12   diligence letter as a Know Your Customer      12   original letter?
   13   process?                                      13      A. Correct.
   14          Do you know what I mean?               14      Q. That's part of it.
   15      A. There was no recommendation to          15           Was the Hyman Phelps
   16   abandon a letter.                             16   recommendations, to your recollection,
   17      Q. Okay. So, we have -- we know            17   regarding both or regarding the initial
   18   that letters generally are sent from          18   onboarding due diligence form?
   19   Verifications to doctors if there are         19      A. My recollection is primarily on
   20   questions about pended or suspicious          20   the initial onboarding.
   21   orders. That -- that's one of the first       21      Q. Okay. Any other information or
   22   things that the Henry Schein Know Your        22   findings that you can recall from this
   23   Customer system does when something gets      23   relative to either due diligence or SOMs?
   24   flagged.                                      24      A. No, sir.
                                           Page 275                                            Page 277
    1          Correct?                                1      Q. Okay. And, I don't know if this
    2      A. Correct.                                 2   is a question for you or for your counsel.
    3      Q. A form letter with blanks in it          3          But, in terms of it being under
    4   gets sent to the doctor for the doctor to      4   review right now, it's under review at
    5   complete and return by mail to Henry           5   Hyman Phelps, or it's under review
    6   Schein for review, correct?                    6   internally, if you know?
    7      A. For a pended order, correct.             7          MR. McDONALD: I believe it's
    8      Q. And a pended order in your               8      under review internally with Henry
    9   system is an order that's been triggered       9      Schein.
   10   by an algorithm to be a deviation from        10          MR. MIGLIORI: Okay. I
   11   size, frequency and pattern, correct?         11      appreciate that.
   12      A. Yes.                                    12          We'll deal with any issues that
   13      Q. So, we've already discussed             13      come out of that, but that's helpful
   14   that.                                         14      to me and I appreciate it.
   15          But, the -- the concept being if       15          (Peacock Exhibit 19, letter
   16   it can't be resolved on its face, one of      16      dated November 9, 2012, Bates No.
   17   the first things that the Verifications       17      HSI-MDL-00397293 to 00397294, was
   18   Team does is send out this form letter to     18      marked for identification, as of this
   19   the doctor for answers and clarity on the     19      date.)
   20   prescribing need.                             20   BY MR. MIGLIORI:
   21          Correct?                               21      Q. Let me show you Exhibit 19.
   22      A. So, that's correct, but we're           22          We'll start wrapping this up.
   23   talking about the Hyman Phelps issues and     23          In November of 2012, you weren't
   24   that was the Know Your Customer kind of       24   yet at the company, but this is a letter
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    1   from Sergio Tejeda, who had a title then         1      Q. It simply says that: Henry
    2   of director of regulatory operations and         2   Schein is a wholesale distributor of
    3   compliance.                                      3   prescription drugs licensed to distribute
    4          Did that title stay with him              4   pharmaceuticals in Ohio. Presently Henry
    5   after you became vice-president?                 5   Schein operates six distribution centers
    6       A. Director of regulatory is what            6   licensed to sell prescription drugs in
    7   he is now, so.                                   7   Ohio.
    8       Q. Okay.                                     8          Do you know which six
    9       A. I think he shortened it up for            9   distribution centers that would be?
   10   his business card.                              10      A. Reno, Jacksonville, Denver,
   11       Q. Did somebody have your position          11   Pennsylvania, Indianapolis, and Bastian.
   12   before you?                                     12   And Bastian there's GIV and Insource, so
   13       A. Yes.                                     13   there's two there.
   14       Q. Who?                                     14      Q. Okay. He represents to the
   15       A. Not as vice-president.                   15   Board of Pharmacy in Ohio: The primary
   16          Gentleman by the name of Michael         16   customers for our distribution services
   17   DiBello.                                        17   are office-based dental and medical
   18       Q. Okay. And Michael DiBello, his           18   practitioners.
   19   title was what?                                 19          That's true in Ohio, correct?
   20       A. Director. Or senior director.            20      A. Correct.
   21   I'm not sure exactly.                           21      Q. And that's true nationally,
   22       Q. He would have been above Sergio?         22   correct?
   23       A. Correct.                                 23      A. Nationally, yes.
   24       Q. And he was just regulatory, not          24      Q. It says: The purpose of this
                                             Page 279                                           Page 281
    1   quality assurance or -- or do you know?          1   letter is to notify the Ohio Board of
    2      A. Prior to my coming, they were              2   Pharmacy of an issue that was recently
    3   all mixed together.                              3   discovered while conducting a routine
    4      Q. Okay.                                      4   internal review of operations.
    5      A. So, Regulatory covered quality,            5           What are the routine internal
    6   regulatory and trade compliance.                 6   reviews of operations at Schein? Is that
    7      Q. Got you.                                   7   the auditing process we discussed earlier?
    8           And, did he leave the company            8   Was it the 2012 audit? Or do you know?
    9   when -- just before you got there, or --         9      A. I do not know what this is
   10      A. Some time before, yeah.                   10   stating.
   11      Q. And, were you hired specifically          11      Q. It says: During the course of
   12   to fill that spot? Was that your                12   our internal review, we realize that Henry
   13   understanding, that it was his leaving the      13   Schein has been underreporting sales of
   14   company that --                                 14   controlled substances to the Ohio Board of
   15      A. Yes.                                      15   Pharmacy as required by state's
   16      Q. -- created this vacancy?                  16   prescription monitoring program, PMP. The
   17      A. That's correct.                           17   reports included sales of products that
   18      Q. So, just before your arrival at           18   contain tramadol and carisoprodol, but did
   19   Henry Schein, Sergio Tejeda wrote this          19   not include the sale of other controlled
   20   letter to the Ohio State Board of               20   substances. We believe the underreporting
   21   Pharmacy, and it references operations in       21   error was due to misinterpretation and/or
   22   the State of Ohio.                              22   miscommunication of the state requirement
   23           Have you seen this before?              23   that happened during the implementation of
   24      A. I have not, sir.                          24   the computer automated reporting system.
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    1          Were you aware that the                  1      Q. So, for purposes of the Ohio
    2   implementation of the new SOM program, a        2   Board of Pharmacy, they would not have any
    3   computerized program that became effective      3   information, assuming this to be correct,
    4   in, I guess, 2010, 2011, was                    4   they would not have any information of
    5   underreporting to the State of Ohio?            5   Henry Schein's sales and distribution of
    6      A. I was not aware, no.                      6   hydrocodone, oxycodone, or any other
    7      Q. You understand that to be the             7   Schedule II or III controlled substances,
    8   Buzzeo -- as it's described here, would it      8   correct?
    9   be correct to interpret that to be the          9          MR. McDONALD: Object to the
   10   Buzzeo system that was put in place as a       10      form.
   11   result of the -- the revamping that was        11      A. Yeah, you're making the
   12   described in the history you gave to, or       12   assumption what we were selling at the
   13   intended to give to the CEO of the             13   time, sir.
   14   company?                                       14          I really don't have knowledge of
   15      A. I can't say for sure, but it             15   what we were selling, but it's likely.
   16   would appear to be.                            16      Q. Assuming that you were selling
   17      Q. Okay. It says: To date, Henry            17   hydrocodone and oxycodone prior to
   18   Schein has consistently filed the reports      18   November of 2012, if this letter to the
   19   on a timely basis as required by the PMP,      19   Ohio Board of Pharmacy is accurate, Ohio
   20   and prior to the discovery of this issue,      20   would not know of those sales through the
   21   Henry Schein was not aware the reports         21   required PMP program, correct?
   22   were incomplete. Please be reassured that      22          MR. McDONALD: Object to the
   23   there was never any intent to avoid or         23      form.
   24   circumvent the company's obligation under      24      A. Yeah, I don't know enough. It
                                            Page 283                                           Page 285
    1   Ohio state law, and as a act of good            1   would appear that, you know, there should
    2   faith, Henry Schein is providing all            2   have been reporting and there were -- the
    3   controlled substance sales information,         3   data was provided at the time of this
    4   which was mistakenly omitted for the            4   letter.
    5   previous two years. See enclosures.             5           MR. MIGLIORI: Okay. Let me
    6          So, did you ever become aware            6      show you Exhibit Number 20.
    7   that there were two years of data               7           (Peacock Exhibit 20, letter
    8   underreported to the Ohio Board of              8      dated May 8, 2013, with attachment,
    9   Pharmacy under the state law requirements       9      was marked for identification, as of
   10   of reporting for controlled substances?        10      this date.)
   11          MR. McDONALD: Object to the             11   BY MR. MIGLIORI:
   12      form.                                       12      Q. Now, you signed on to -- you
   13      A. As I stated previously, this was         13   signed on to Henry Schein in May of 2013,
   14   before my time at the company. I did not       14   correct, and you started in July, correct?
   15   become aware.                                  15      A. I started in July, correct.
   16      Q. And, based at least on the               16      Q. All right.
   17   content of this letter, what was happening     17      A. I accepted the position in May.
   18   was the computerized system was only           18      Q. All right. In May, Exhibit 20,
   19   reporting two controlled substances,           19   the cover page is a letter from the State
   20   tramadol and carisoprodol, but it wasn't       20   Medical Board of Ohio to a Dr. Brian Heim
   21   reporting other Schedule II drugs up until     21   in Akron, Ohio, and it says: Dr. Heim,
   22   this time, November 2, 2012.                   22   Please find enclosed certified copy of the
   23          Correct?                                23   findings, order and journal entry approved
   24      A. Yes. That's what it says here.           24   and confirmed by the State Medical Board
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    1   meeting in regular session on May 8th,         1      form.
    2   2013.                                          2          If you know, tell him.
    3          One of the verifications or due         3   BY MR. MIGLIORI:
    4   diligence resources for Henry Schein would     4      Q. If you understand my question.
    5   be the state medical licensure boards,         5      A. I do not know whether or not we
    6   correct?                                       6   look at criminal records like this.
    7      A. Please repeat.                           7      Q. I'm going to have you just set
    8      Q. Sure.                                    8   that aside for a moment and show you the
    9          The Know Your Customer program          9   next document.
   10   at Henry Schein includes looking to, among    10          (Peacock Exhibit 21, Memorandum
   11   other things, state medical licensure         11      in Support of Motion For Summary
   12   boards for information, correct?              12      Judgment in the United States of
   13      A. Yes, sir.                               13      America versus Brian D. Heim, was
   14      Q. It would also include boards of         14      marked for identification, as of this
   15   pharmacy in states, correct?                  15      date.)
   16      A. That's correct.                         16   BY MR. MIGLIORI:
   17          MR. McDONALD: Object to the            17      Q. The next document is Exhibit 21.
   18      form.                                      18          This document is a pleading in
   19   BY MR. MIGLIORI:                              19   an action where the United States
   20      Q. All right. On May -- if you             20   Government seeks forfeiture of assets of
   21   turn to, I don't know how to identify it      21   Dr. Heim because of his activity
   22   for you other than there's one page that's    22   relevant -- related to controlled
   23   got an Exhibit 1 sticker on it that's         23   substances. I'm going to have you turn to
   24   about halfway through the stack. They're      24   the third page. Page number 3 it gives a
                                           Page 287                                            Page 289
    1   not Bates numbered, and I apologize.           1   brief history of Dr. Heim. It says:
    2      A. Is this it up here?                      2   Defendant was licensed under the laws of
    3      Q. Yeah. So, it looks like this             3   Ohio to practice medicine. Was also
    4   (indicating).                                  4   registered under - this is a federal
    5          It says Daniel Horrigan May 8th,        5   statute - by the DEA to dispense
    6   2012, 3:10 p.m. in the Court of Common         6   controlled substances to the extent
    7   Pleas, County of Summit, Ohio. Indictment      7   permitted by federal law. Defendant has a
    8   type.                                          8   history of drug violations. In 1998,
    9      A. Yep.                                     9   defendant entered a guilty plea to 24
   10      Q. You see that on -- this is filed        10   felony counts of theft of drugs and 21
   11   on May 18th of 2012, an indictment for        11   felony counts of illegal processing of
   12   aggregated -- aggravated -- I'm sorry.        12   drug documents. His medical licensure was
   13   Aggravated trafficking in drugs,              13   revoked and he was given treatment in lieu
   14   aggravated trafficking in drugs tampering     14   of conviction. Defendant's medical
   15   with evidence. And it relates to Brian D.     15   license was later reinstated with
   16   Heim of Akron, Ohio.                          16   restrictions and he was put on probation
   17          Do you see that?                       17   until January of 2005.
   18      A. Yes.                                    18          My first question is are you
   19      Q. All right. When you're -- when          19   aware of Dr. Heim or what Dr. Heim was
   20   Henry Schein does due diligence, does it      20   doing?
   21   turn to criminal records, or does it rely     21      A. Never heard of the gentleman
   22   on representations of its doctors about       22   before today.
   23   criminal activity?                            23      Q. All right. Would you agree with
   24          MR. McDONALD: Object to the            24   me that in knowing your customer, assuming
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    1   this is a customer of Henry Schein, that       1   hydrocodone on 14 separate dates between
    2   in knowing your customer, those facts that     2   August 17th, 2011 and June 5th, 2013 from
    3   I just read to you from this pleading          3   Henry Schein Inc., a distributor of
    4   would be relevant facts?                       4   pharmaceutical drugs.
    5      A. Would they be relevant? Yes.             5          So, at least for purposes of
    6           What I find very disturbing            6   this question, will you at least accept
    7   about this is that the DEA would reissue       7   the purported representation that Henry
    8   his license. To me that's the most             8   Schein was a supplier of certain
    9   disturbing because that's the first thing      9   controlled substances to Dr. Heim?
   10   that a company will look at, right. So if     10          MR. McDONALD: Object to the
   11   the DEA hasn't done its due diligence, I      11      form.
   12   have, you know, a hard time understanding     12   BY MR. MIGLIORI:
   13   how they're reinstating the doctor who's      13      Q. Do you see that in the pleading?
   14   got counts against him and then, you know,    14      A. I do see that in the pleading.
   15   we have to go and double check the DEA.       15      Q. All right.
   16           That's what this is -- that's         16          Henry Schein provided a summary
   17   what you're implying, sir.                    17   of these purchases to DEA on July 11th,
   18      Q. No, I'm not implying. I'm just          18   2012.
   19   reading the facts. And the fact are here.     19          Do you see that?
   20   It says the defendant's medical license       20      A. Mm-hm.
   21   was reinstated. It doesn't say DEA            21      Q. Exhibit B Summary of Purchase
   22   registration.                                 22   Records.
   23      A. Okay.                                   23          And then it actually gives a
   24      Q. All right. I just want to make          24   table of the 11,500 pills - these are
                                           Page 291                                            Page 293
    1   sure we're on the same page.                   1   based on pills - of hydrocodone in this
    2           I understand your concern about        2   record, okay. That is the, by invoice,
    3   DEA, but there's no reference to DEA --        3   order date, size, total drug strength,
    4      A. Okay.                                    4   that is Henry Schein's information it
    5      Q. -- registration, other than the          5   provided to the DEA, again, on July 11th,
    6   initial granting of it.                        6   2012.
    7           Do you see that? I don't want          7          Do you see that?
    8   to imply anything.                             8      A. Yep.
    9      A. No, I got it. I see it.                  9      Q. Okay. I'm going to show you
   10      Q. All right.                              10   Exhibit 22.
   11      A. So it was never restricted?             11          MR. McDONALD: Well, and I'll
   12      Q. I don't know.                           12      just tell you, state for the record
   13           I'm just asking whether those         13      that I don't have any idea if any of
   14   facts, a criminal history and a loss of       14      this is true or not because your
   15   medical licensure --                          15      statement that you read earlier said
   16      A. Yes.                                    16      that the sales were between August
   17      Q. -- are facts that are relevant          17      17th, 2011 and July 5 of 2013, and
   18   to a --                                       18      that the report was made to DEA on
   19      A. Sure. That would be reported.           19      July 11th, 2012. I'll represent to
   20      Q. Okay. I want you to then go and         20      you that's probably impossible to do.
   21   look at the bottom of page 4. The bottom      21      That is to provide a report in July of
   22   of page 4 says: The inspection and            22      2012 about sales that were made
   23   subsequent investigation revealed that        23      through June 5th, 2013.
   24   defendant purchased 11,500 tablets of         24          MR. MIGLIORI: Well, we can --
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    1         MR. McDONALD: Something's wrong           1   purchases to DEA on July 11th, 2012.
    2     with the dates.                               2   Summary of purchase records. The order
    3         MR. MIGLIORI: Yeah. The                   3   dates all predate, if you look underneath
    4     indictment -- you could reconcile the         4   that in the table, all predate July of
    5     dates. The date that's wrong is not           5   2012 in the table.
    6     the one that you think it is, but I           6          So, the 11,500 pills supplied by
    7     appreciate your spoken objection.             7   Henry Schein to Dr. Heim were all sent
    8         MR. McDONALD: There's something           8   between August of 2011 and June of 2012
    9     wrong with the dates, and I don't know        9   from Henry Schein to Dr. Heim, and that
   10     what it is 'cause I've never seen this       10   information was shared by Henry Schein to
   11     before either.                               11   the DEA on July 11th, 2012. Okay. Just
   12         MR. MIGLIORI: That's okay.               12   for factual orientation --
   13         MR. McDONALD: And I have no              13      A. Clarification, yes.
   14     idea why it's remotely relevant to           14      Q. Okay. If you look at the due
   15     this witness.                                15   diligence file, in particular if you look
   16         MR. MIGLIORI: You're a nice              16   at the page that ends in '1204. It says
   17     person. I'm not going to make a big          17   on 8/24/12. This is now a month later,
   18     deal about it, but that's more of an         18   after Henry Schein has already provided
   19     objection than you're supposed to be.        19   the DEA with this transactional
   20         MR. McDONALD: Well, you and I            20   information of Dr. Heim, it says: On
   21     both know otherwise, but that's okay.        21   12 -- 8/24/2012 received completed
   22         MR. MIGLIORI: I'm okay with it.          22   questionnaire. Placed in bin to be
   23         MR. McDONALD: Thank you.                 23   approved FDU. 8/25 gave to Shaun.
   24         MR. MIGLIORI: I'll remember to           24          Do you see that?
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    1      do it when you do it to my client.           1      A. I do.
    2          MR. McDONALD: Fair enough.               2      Q. If you go to the front page,
    3          (Peacock Exhibit 22, Customer            3   which is sort of like a overall docket.
    4      Service Imaging printout, Bates No.          4   On August 30th of 2012, more than a month
    5      HSI-MDL-00001198 to 00001210, was            5   after providing this information to the
    6      marked for identification, as of this        6   DEA and now five months after this doctor
    7      date.)                                       7   has been indicted, going back to Exhibit
    8   BY MR. MIGLIORI:                                8   Number 19, it's notated that Henry
    9      Q. This is Exhibit Number 22. This           9   Schein's due diligence letter is on file.
   10   is the last document on Dr. Heim, but this     10   And Shaun Abreu testified already that the
   11   is your entire due diligence file for Dr.      11   pended orders were released and shipped in
   12   Heim, as represented to us, okay.              12   full.
   13          Take your time to go through it.        13          Is that effective due diligence?
   14      A. (Perusing document.)                     14          MR. McDONALD: Object to the
   15      Q. Let me know when you're ready.           15      form.
   16      A. (Perusing document.)                     16      A. I would have to investigate more
   17          Okay.                                   17   to understand what exactly happened here.
   18      Q. Okay. Now, your counsel raised           18          It seems like, you know, process
   19   a question about dates. So I'm going to        19   is 12. He's looking at testosterone and
   20   direct you back to 21 briefly on that page     20   will continue to notify DEA of orders.
   21   5. And it's on the screen.                     21   That's what the comment is on that date.
   22          The U.S. Government in a                22      Q. If the DEA is -- is telling the
   23   publicly filed pleading said that your         23   truth in its pleading in Exhibit
   24   company provided a summary of these            24   Number 21, Henry Schein, in cooperation
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    1   with the federal government on an              1   support an indictment in a forfeiture
    2   indictment of this doctor, provided the        2   claim on July 11th, 2012.
    3   DEA on July 11th of 2012 the transactional     3          That, as we saw in Exhibit 19,
    4   information for this doctor for use in         4   on May 18th of this year, this doctor has
    5   their forfeiture proceeding.                   5   been indicted by the federal government
    6          Who from Henry Schein would have        6   for drug trafficking.
    7   provided that transactional data to the        7          And if you turn to the page ends
    8   DEA to prosecute this doctor?                  8   in '1205 on Exhibit 22, Henry Schein's
    9          MR. McDONALD: Object to the             9   License Verification Department August
   10      form.                                      10   23rd, 2012 is sending him a due diligence
   11      A. I don't know.                           11   verification letter.
   12      Q. Is that a regulatory affairs?           12          Do you see that?
   13          MR. McDONALD: Object to the            13      A. I do.
   14      form.                                      14      Q. And you'll see if you go through
   15      A. Potentially a review of customer        15   this due diligence letter, there's not
   16   verifications would likely pull it.           16   even a question about criminal activity;
   17      Q. And, so, that information goes          17   is there?
   18   to the DEA without Regulatory Affairs         18      A. On this form, no.
   19   being notified or any notation to --          19      Q. There's no documentation of a
   20      A. No, I didn't say that. I                20   phone call to the doctor, correct, in this
   21   said --                                       21   entire file?
   22      Q. My question.                            22      A. That's correct.
   23      A. No.                                     23      Q. There's no documentation of a
   24      Q. Would -- if that transactional          24   phone call to the Ohio Board of Medical
                                           Page 299                                             Page 301
    1   data were requested and provided by DEA        1   Licensure, correct?
    2   to -- requested of Henry Schein to DEA,        2      A. There's nothing noted.
    3   who would -- who would get notified in         3      Q. There's no phone call to the
    4   Regulatory?                                    4   Ohio Board of Pharmacy in this due
    5      A. Regulatory and --                        5   diligence file, correct?
    6           MR. McDONALD: Hang on.                 6      A. Yes, there's nothing noted.
    7           Object to the form.                    7      Q. There is a request for further
    8           If you know, tell him.                 8   information which is singularly a letter
    9   BY MR. MIGLIORI:                               9   that's generated to the doctor on August
   10      Q. Who in particular and how?              10   23rd, 2012. Again, a month after
   11      A. At the time, I don't know. I            11   providing the DEA with all of this
   12   wasn't involved in the company at the         12   doctor's controlled substance
   13   time.                                         13   transactions.
   14      Q. Okay. Today who would get               14          Correct?
   15   notified if the DEA asked?                    15          MR. McDONALD: Object to the
   16      A. Regulatory and Legal would be           16      form.
   17   informed.                                     17      A. Timing's correct.
   18      Q. Who -- who in Regulatory would          18      Q. And, it's possible that this
   19   be informed?                                  19   doctor actually answered every one of the
   20      A. Either Sergio or the manager            20   due diligence questions honestly and
   21   position, Frank O'Regan or the new one        21   accurately, correct?
   22   that's coming.                                22      A. I have no knowledge whether they
   23      Q. Okay. So, somebody at Schein            23   did or they didn't.
   24   shares this information with the DEA to       24      Q. None of these questions would in
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    1   any way prompt this doctor to have to             1          Go ahead.
    2   admit that his license is being revoked,          2      A. In this case, no.
    3   he's under indictment, he's being                 3      Q. This is not compliant with the
    4   investigated for drug-trafficking and             4   DEA regulations on knowing your customer;
    5   evidence tampering, correct? There's              5   is it?
    6   nothing in this form that even elicits            6          MR. McDONALD: Object to the
    7   that information, correct?                        7      form.
    8      A. I'd have to study the document.             8      A. We could have certainly done
    9   I mean, if his license was revoked, then          9   better.
   10   he represented that he is a licensed             10      Q. It's not compliant; is it, sir?
   11   practitioner.                                    11          MR. McDONALD: Object to the
   12      Q. Well, according to the exhibit,            12      form. It's legal -- calls for a legal
   13   the license being revoked, according to          13      conclusion.
   14   the first exhibit I showed you, doesn't          14   BY MR. MIGLIORI:
   15   happen until May of '18, after going             15      Q. You can answer.
   16   through the whole process.                       16      A. I wish we did better.
   17      A. May of '18, okay.                          17      Q. Understood.
   18      Q. I'm sorry. February of '13.                18          But if this were in front of you
   19   There's a findings on February 13 of 2013.       19   today, and I'm not trying to be smug, if
   20          So, at this point, it's not               20   this were in front of you today, this
   21   revoked.                                         21   would not be an acceptable practice in
   22      A. Correct.                                   22   your department of Regulatory Affairs,
   23      Q. But he knows he's under                    23   correct?
   24   indictment, right?                               24      A. No, wish that we hadn't had this
                                              Page 303                                           Page 305
    1      A. Yes, he knows he's under                    1   happen.
    2   indictment.                                       2           MR. MIGLIORI: Why don't we take
    3      Q. And, so --                                  3      a break and let me just make sure I've
    4      A. Is there a presumption of                   4      covered everything I wanted to.
    5   innocence?                                        5           THE VIDEOGRAPHER: The time is
    6          I don't know. I don't know.                6      3:10 p.m.
    7      Q. Well, let me ask you that.                  7           Going off the record.
    8      A. I don't know.                               8           (Recess taken.)
    9      Q. Is that what Henry Schein --                9           THE VIDEOGRAPHER: The time is
   10      A. No.                                        10      3:13 p.m.
   11      Q. -- has built into its system,              11           Back on the record.
   12   that you're going to presume a person            12   BY MR. MIGLIORI:
   13   who's been indicted for a second time on         13      Q. So, before we leave Exhibit 22,
   14   drug charges --                                  14   which is the due diligence file for Dr.
   15      A. No, I misspoke.                            15   Heim. I'll direct you to the front page
   16          I'm sorry.                                16   of it, but you can look anywhere you want
   17      Q. Okay. So, the reality is is                17   within it. But, as I understand the front
   18   that sending out this letter and returning       18   page from prior testimony, this is sort of
   19   it and just verifying that it got put in         19   the inventory of what's in the file.
   20   the file is not a robust due diligence           20           Does that -- is that consistent
   21   system, at least in this case, correct?          21   with how you've seen these files?
   22      A. In this case --                            22      A. I'm not usually seeing these
   23          MR. McDONALD: Object to the               23   files.
   24      form.                                         24      Q. Okay. Well, first of all, the
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    1   names here, the users, are you familiar --       1      Q. Is there another file in
    2   you certainly are -- you're familiar with        2   Regulatory that exists for Regulatory's
    3   Shaun Abreu, who's listed on the last            3   due diligence of this particular doctor,
    4   entry of August 30th, 2012, correct?             4   or any doctor? Is there a separate file?
    5      A. Correct.                                   5      A. Would be in our FileMaker Pro
    6      Q. And he's simply documenting that           6   database. But again, I don't know how far
    7   the -- the letter is on file.                    7   back it went. This is before my time.
    8          Do you know who P. Hall is?               8      Q. Can you tell from looking at
    9      A. I do not.                                  9   this if this is FileMaker Pro?
   10      Q. Nobody within Regulatory                  10      A. I could tell it's not.
   11   Affairs, correct?                               11      Q. It's not.
   12      A. No.                                       12           So, in FileMaker Pro, there may
   13          None of these are from                   13   be a different repository of the due
   14   Regulatory Affairs.                             14   diligence for this doctor?
   15      Q. These are all within                      15      A. There may be. I don't know
   16   Verifications, is going to be my question.      16   exactly how far back they loaded all the
   17      A. Correct.                                  17   data in, so.
   18      Q. Okay. Nowhere in this entire              18      Q. All right. But at least on the
   19   file produced to us do I see an indication      19   face of this document, with all that we've
   20   that, even after cooperating with the DEA       20   seen in terms of the doctor, the
   21   in providing that information to the DEA,       21   conviction, the indictment, nothing in
   22   that this account has been restricted.          22   this due diligence file, as it's been
   23          Would that normally appear on            23   given to me from Henry Schein, reflects
   24   the due diligence file?                         24   that this account has been even
                                             Page 307                                            Page 309
    1      A. I couldn't say, sir.                       1   restricted, correct?
    2      Q. Where would that be? That would            2      A. I don't see that on here, yes.
    3   be in the restricted file that we talked         3      Q. And you would agree with me that
    4   about earlier?                                   4   if any account would be restricted, this
    5      A. It would be in the JD Edwards              5   would be one?
    6   system.                                          6           MR. McDONALD: Object to the
    7      Q. And, is it -- nobody that's                7      form.
    8   touched this due diligence files, at least       8      A. Looks like justification for
    9   from what we can tell on this form, is           9   restriction, yes.
   10   from Regulatory Affairs, correct?               10      Q. We talked about Dendrite and
   11      A. Correct.                                  11   their review. This is a historic
   12      Q. But the folks on -- in                    12   document, but it relates to this document
   13   Verifications could have restricted it --       13   we've just been talking about.
   14   restricted the account on their own             14           (Peacock Exhibit 23, Cegedim
   15   without informing Regulatory?                   15      Dendrite Draft Schein SOM Procedural
   16      A. At this time, I don't know, sir.          16      Review, Bates No. HSI-MDL-00404369 to
   17      Q. Okay. We saw in the last                  17      00404383, was marked for
   18   example that Tina was informed --               18      identification, as of this date.)
   19      A. Yes.                                      19   BY MR. MIGLIORI:
   20      Q. -- at least of the restriction.           20      Q. I'll tell you from the metadata
   21      A. That's the process now.                   21   this is from November 2nd of 2009. So
   22      Q. And Tina's in your department,            22   this is in that process of revamping the
   23   Regulatory?                                     23   SOM procedures.
   24      A. Correct.                                  24           I'm going to bring you to the

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    1   conclusions and recommendations on page 4.     1   customer's previous history of using
    2          In particular, in 2009,                 2   controlled substances, office practice
    3   Dendrite, the outside auditing consultant,     3   rules, and general practice expectations
    4   reported on Henry Schein's system. It          4   should be completed prior to opening a new
    5   says: New accounts are opened without          5   account. A compliance agreement form
    6   sufficient due diligence, investigations,      6   should be developed and included in the
    7   inquiries.                                     7   new account opening process.
    8          Would you agree with me that not        8          In fact, your outside consultant
    9   having any notation on the due diligence       9   back in 2009 told you, told your company,
   10   file for Dr. Heim about his earlier           10   that the previous history of using
   11   medical license suspension is a               11   controlled substances needs to be further
   12   insufficient due diligence?                   12   investigated before opening the account,
   13          MR. McDONALD: Object to the            13   correct?
   14      form.                                      14          MR. McDONALD: Object to the
   15      A. What was the time frame that he         15      form.
   16   had his license suspended? It was like        16      A. Yes. This is the
   17   ten years before?                             17   recommendation.
   18      Q. 1998.                                   18      Q. It says: The MedPro inquiry
   19      A. 'Til '12. Yeah.                         19   should be expanded for all controlled
   20          Yes, it's a problem.                   20   substance accounts and not just for the
   21      Q. It's a problem.                         21   limited number of states that require
   22          For the most part, new accounts        22   background checks.
   23   are opened based upon a verification of       23          Do you see that?
   24   the customer's DEA number, which is not       24      A. I can read this.
                                           Page 311                                           Page 313
    1   considered adequate by the DEA.                1      Q. MedPro is an inquiry online for
    2          So, you mentioned that the DEA,         2   just this reason, right? That is to look
    3   I think you said you were upset the DEA        3   into background checks of doctors before
    4   reissued his license or registration, or       4   they become customers of Henry Schein,
    5   something to that effect.                      5   correct?
    6          Were you aware that your                6          MR. McDONALD: Object to the
    7   consultants provided to Henry Schein           7      form.
    8   information that it's not sufficient to        8      A. Just background checks?
    9   rely on whether or not the company, or the     9      Q. Would MedPro --
   10   doctor, the customer, has a valid DEA         10          MR. MIGLIORI: Strike that.
   11   registration for due diligence?               11      Q. Was Henry Schein using MedPro
   12      A. I was not aware of this.                12   for purposes of background checks on
   13      Q. So, the mere fact that Dr. Heim         13   doctors where it was required in certain
   14   had a DEA registration in 2012 while under    14   states?
   15   indictment isn't in and of itself enough,     15          MR. McDONALD: Object to the
   16   according to your consultant, to rely upon    16      form.
   17   for your obligations to know your             17      A. I wasn't with the company. I
   18   customer, correct?                            18   can't say, sir.
   19          MR. McDONALD: Object to the            19      Q. Do you know what MedPro is?
   20      form.                                      20      A. I do.
   21      A. Just the license itself, it             21      Q. What is it?
   22   would appear no.                              22      A. It's a online database that has
   23      Q. Okay. It goes on to say:                23   information on all physicians' licenses.
   24   Correspondence regarding the prospective      24      Q. Okay. Is it just whether or not
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    1   they have a license, or is it on the             1   it is important that that criteria be
    2   history and background of that physician?        2   documented somewhere?
    3      A. There's more than just the                 3       A. And --
    4   license.                                         4           MR. McDONALD: Hang on.
    5      Q. And it would include any kind of           5   BY MR. MIGLIORI:
    6   license revocations historically, correct?       6       Q. Correct?
    7           MR. McDONALD: Object to the              7           MR. McDONALD: Object to the
    8      form.                                         8       form. Object to the form.
    9      A. Can't answer it, sir. I don't              9   BY MR. MIGLIORI:
   10   know the details of all that it will            10       Q. Correct?
   11   provide.                                        11           Go ahead.
   12      Q. But it -- you know it's more              12       A. There have been improvements
   13   than just a license verification process?       13   made to insure that there is this type of
   14      A. Yes.                                      14   checklist.
   15      Q. And, as of this time, Dendrite            15       Q. I understand that. And I
   16   is telling Henry Schein that you need to        16   appreciate that over time Henry Schein has
   17   use it in all states, not just where it's       17   tried to make improvements.
   18   mandatory. That's what their                    18           My question simply is this
   19   recommendation is here, correct?                19   particular recommendation, if it's true
   20      A. That is correct.                          20   that Henry Schein had no written standard
   21      Q. It says: Henry Schein has                 21   operating procedure or memorandum defining
   22   conducted some on-site investigations for       22   the criteria, that that is a -- a
   23   prospective customers. However, the             23   recommendation that you would support?
   24   criteria for the level of due diligence         24   That is, in order to have an effective
                                             Page 315                                            Page 317
    1   has not been documented in any standard          1   program in place, it has to be documented
    2   operating procedure or memorandum.               2   and understood, correct?
    3          Now, I think we said this                 3      A. 100 percent.
    4   before, but if it's not written, it              4      Q. The last point here on the same
    5   doesn't exist in Regulatory Affairs,             5   page: Lower level staff is actively
    6   correct?                                         6   involved in clearing pended orders.
    7      A. That's a premise, yes. They're             7   Pended orders should be cleared by a
    8   talking about the criteria for what the          8   management official.
    9   due diligence is. So, you know, yes,             9          Again, assuming this was true in
   10   there's no specific checklist.                  10   2009 when your paid consultant advised
   11      Q. So, if a Verifications employee           11   Schein of this, that's an accurate
   12   wants to go find out what the criteria is,      12   statement, correct?
   13   there is no written place to go find it,        13          MR. McDONALD: Object to the
   14   as of this time, according to your --           14      form.
   15      A. I have no knowledge whether               15      A. I don't know whether it was
   16   there was or there wasn't and what was          16   accurate or not. I wasn't with the
   17   represented or not. I really -- it says         17   company at the time.
   18   that they didn't have it.                       18      Q. Well, as a vice-president of
   19      Q. Okay. So, according at least to           19   Regulatory Affairs now, you would agree
   20   your -- your paid consultant advising           20   with the statement that cleared orders,
   21   Henry Schein about its systems, you would       21   releasing controlled substances to
   22   agree with the company, with -- with            22   doctors, is something that should have a
   23   den -- with Dendrite that if there's going      23   clearance by a management official,
   24   to be a level of due diligence criteria,        24   correct?
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    1          MR. McDONALD: Object to the             1          MR. MIGLIORI: You objected to
    2      form.                                       2      his question? He changed the
    3      A. Depends on training and what the         3      question.
    4   management official is, right. So, yes.        4          MR. McDONALD: You ask the
    5   Technically.                                   5      questions. He answers the questions.
    6      Q. Certainly that person should be          6          MR. MIGLIORI: All right. Fair
    7   well-trained in issues surrounding             7      enough.
    8   controlled substances, correct? No matter      8          MR. McDONALD: How about we do
    9   the status of that person?                     9      that?
   10      A. Yes. Training should be                 10          MR. MIGLIORI: How about the
   11   involved in this.                             11      rest of us do it?
   12      Q. And here, at least according to         12   BY MR. MIGLIORI:
   13   this document, the outside consultant,        13      Q. The relationship between those
   14   Cegedim Dendrite, is saying that the          14   departments, even as we speak through
   15   system in place at the time doesn't always    15   today, seems poorly defined?
   16   have a management official clearing pended    16      A. I think it's much clearer than
   17   orders, correct?                              17   when I joined the company. So I think
   18          MR. McDONALD: Object to the            18   there's much more interactions.
   19      form; the document speaks for itself.      19          I think the FileMaker Pro's
   20      A. It's hard to interpret whether          20   database has allowed for much more clarity
   21   or not any -- when, how often a management    21   in terms of the -- the types of reviews
   22   official may be involved.                     22   and the extent of the reviews and the
   23      Q. 2009 the consultant told Henry          23   ability to communicate online with those
   24   Schein that Henry Schein has clearly          24   things.
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    1   invested a great deal of time and energy       1      Q. And to be clear, that was
    2   in developing an adequate SOM system.          2   effectuated in 2017?
    3   However, the responsibilities of the           3      A. Correct.
    4   customer service department, the               4      Q. All right.
    5   Verifications Department, and the              5          MR. MIGLIORI: Last sticker.
    6   Regulatory Department appear to be poorly      6          (Peacock Exhibit 24, email chain
    7   defined and reliant, to some extent, upon      7      ending February 27, 2015, Bates No.
    8   the judgment of individual employees           8      HSE-MDL-0039634, was marked for
    9   regarding what types of situations should      9      identification, as of this date.)
   10   be referred to management for approval or     10   BY MR. MIGLIORI:
   11   forwarded to Regulatory for investigation.    11      Q. Now, we talked about Beverly
   12          Did you find that to be true           12   Butcher. She was the woman hired who had
   13   when you got there in 2013?                   13   training as a pharmacy technician.
   14       A. That we've been investing a            14          Is that correct?
   15   great deal of time and energy in              15      A. Yes.
   16   developing an adequate system?                16      Q. And she and Tina Steffanie-Oak
   17       Q. We'll start with that one.             17   have an email exchange which in early
   18          Did you feel that?                     18   iterations includes Sergio and a Kathleen
   19       A. I felt, yes, we were making --         19   Reid.
   20          MR. McDONALD: Object to the            20          Who's Kathleen Reid?
   21       form.                                     21      A. She's also on the team. She was
   22   BY MR. MIGLIORI:                              22   the administrative person, schedules,
   23       Q. Go ahead. How about the rest of        23   meetings, things like that.
   24   it?                                           24      Q. Okay. And by "the team," you
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    1   mean the DEA Audit Team?                         1      Q. And, so, any site reports for
    2      A. Correct.                                   2   any doctor in Summit County, Ohio would
    3      Q. All right. So, in this email               3   exist there too, correct?
    4   exchange, starting from the bottom,              4      A. Should, yes.
    5   Beverly Butcher on your DEA Internal             5      Q. Steffanie wrote back to Kathleen
    6   Compliance Team writes to Tina                   6   Reid, who you said was the administrative
    7   Steffanie-Oak, also on that team, on             7   person on that committee?
    8   February 27th, 2015.                             8      A. Correct.
    9          At this point, you're the                 9      Q. (Reading) I just found out from
   10   vice-president of Regulatory Affairs,           10   Shaun - Abreu I assume - that
   11   among other things, correct?                    11   Verifications accidentally released his
   12      A. That's correct.                           12   hydrocodone order on February 23rd.
   13      Q. Beverly writes: Site visit on             13   Please do not send a suspicious order
   14   Dr. Spendal has been completed. Dr.             14   letter to the DEA. Thanks.
   15   Spendal is restricted from the purchase of      15           Were you made aware of this?
   16   controlled substances. The report has           16      A. I was not.
   17   been placed on the M: drive. Thank you.         17      Q. Is that inconsistent with the
   18          So, it would appear for Dr.              18   procedures for Henry Schein in its
   19   Spendal that Beverly Butcher is                 19   reporting obligations to the DEA?
   20   documenting the restriction, or the             20           MR. McDONALD: Object to the
   21   prohibition of further controlled               21      form.
   22   substance sales, to Dr. Spendal as of this      22      A. Yeah, I'm -- I'd have to do more
   23   date, February 27th, 2015.                      23   investigation because, you know, they said
   24          Correct?                                 24   it was released on 2/23. Beverly sends
                                             Page 323                                            Page 325
    1      A. She's communicating it to the              1   her email on -- on February 27th.
    2   Customer Service Team and some of the            2      Q. So, while pended, it was
    3   Regulatory Team, correct.                        3   released, before -- before being -- before
    4      Q. And it says "the report."                  4   the site visit?
    5          What kind of report are we -- is          5      A. Before the site visit it was
    6   this a due diligence report? What kind of        6   released, right.
    7   report are we talking about?                     7      Q. So, while under investigation,
    8      A. It would be the actual site                8   Verifications accidentally, to use their
    9   visit report.                                    9   terms, accidentally released the order?
   10      Q. Site visit.                               10      A. Correct.
   11          And the M: drive, is that the            11      Q. Without awaiting the outcome of
   12   shared -- or, what is the M: drive?             12   the -- of the site visit?
   13      A. Yeah, it's the share drive.               13      A. Correct.
   14      Q. And that's on the -- I get all            14      Q. And the site visit apparently
   15   the acronyms mixed up.                          15   produced enough information to completely
   16      A. It's just on the general --               16   restrict that doctor from purchasing from
   17      Q. The JDE?                                  17   Henry Schein controlled substances,
   18      A. It's not on the JDE. It just              18   correct?
   19   resides on our Internet.                        19      A. Yes.
   20      Q. So all site reports exist on              20      Q. And, so, as you told me earlier
   21   that M: drive --                                21   today when we were talking about the other
   22      A. Correct.                                  22   restricted account, you told me that the
   23      Q. -- today even?                            23   next step was if you restricted an
   24      A. Correct.                                  24   account, you notified the DEA.
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Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-3 Filed:
                               Subject   to 12/19/19
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                                                                           Review
                                            Page 326                                            Page 328
    1          Do you recall telling me that?           1        ACKNOWLEDGMENT
    2      A. I did.                                    2
    3      Q. All right. In this instance, a            3   STATE OF           )
    4   restricted account with an order that was       4                :ss
    5   released prematurely and accidentally, was      5   COUNTY OF              )
    6                                                   6
        being told -- Tina Steffanie-Oak was
    7   instructing the administrative person on
                                                        7          I, JEFFREY S. PEACOCK, hereby certify
    8   the DEA Compliance Team to not send a
                                                        8   that I have read the transcript of my
    9   suspicious order letter to the DEA.
                                                        9   testimony taken under oath in my
   10
                                                       10   deposition of January 30, 2019; that the
               That is not consistent with
   11
                                                       11   transcript is a true and complete record
        Henry Schein's policies and procedures for
   12
                                                       12   of my testimony, and that the answers on
        restricted accounts, correct?
   13
                                                       13   the record as given by me are true and
           A. Yes. I can't -- I can't defend
   14
                                                       14   correct.
        why this had happened. It does not follow      15
   15   our --                                         16
   16      Q. This should not have happened?           17          ___________________________
   17      A. -- policy.                                             JEFFREY S. PEACOCK
   18          MR. McDONALD: Well, object to           18
   19      the form.                                   19   Signed and subscribed to before me this
   20   BY MR. MIGLIORI:                               20   _________ day of _______________, 2019.
   21      Q. This should not have happened,           21
   22   correct?                                       22   _____________________________________
   23          MR. McDONALD: Object to the             23   Notary Public, State of
   24      form.                                       24

                                            Page 327                                            Page 329
    1     A.    Doesn't follow our policies.            1            ERRATA
    2         MR. MIGLIORI: All right. I                2   PAGE / LINE / CHANGE / REASON
    3     really appreciate your time.                  3   ____________________________________________
    4         I appreciate you tolerating my            4   ____________________________________________
    5     weak voice.                                   5   ____________________________________________
    6         THE WITNESS: No worries.                  6   ____________________________________________
    7         MR. MIGLIORI: But I do                    7   ____________________________________________
    8     appreciate you being here. I don't            8   ____________________________________________
    9     have anything else.                           9   ____________________________________________
   10         MR. McDONALD: You pass the               10   ____________________________________________
   11     witness?                                     11   ____________________________________________
   12         I'll reserve my questions.               12   ____________________________________________
   13         MR. MIGLIORI: Okay.                      13   ____________________________________________
   14         MR. ASFENDIS: I'm here and               14   ____________________________________________
   15     counsel for Cardinal tells me he has         15   ____________________________________________
   16     nothing either.                              16   ____________________________________________
   17         THE VIDEOGRAPHER: All right.             17   ____________________________________________
   18     Stand by, please.                            18   ____________________________________________
   19         This marks the end of today's            19   ____________________________________________
   20     deposition.                                  20   ____________________________________________
   21         The time is 3:34 p.m.                    21   ____________________________________________
   22         Off the record.                          22   ____________________________________________
   23         (Deposition adjourned at                 23   ____________________________________________
   24     approximately 3:34 p.m.)                     24   ____________________________________________

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Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 3027-3 Filed:
                               Subject   to 12/19/19
                                             Further84Confidentiality
                                                       of 84. PageID #: 469766
                                                                           Review
                                             Page 330
    1         CERTIFICATE
    2   STATE OF NEW YORK
    3   COUNTY OF NEW YORK
    4
    5         I, Marie Foley, RMR, CRR, a
    6   Certified Realtime Reporter and Notary
    7   Public within and for the State of New
    8   York, do hereby certify:
    9         THAT JEFFREY S. PEACOCK, the witness
   10   whose deposition is hereinbefore set
   11   forth, was duly sworn by me and that such
   12   deposition is a true record of the
   13   testimony given by the witness.
   14         I further certify that I am not
   15   related to any of the parties to this
   16   action by blood or marriage, and that I am
   17   in no way interested in the outcome of
   18   this matter.
   19         IN WITNESS WHEREOF, I have
   20   hereunto set my hand this 2nd day of
   21   February, 2019.
   22
   23         ___________________________
               MARIE FOLEY, RMR, CRR
   24

                                             Page 331
    1            LAWYER'S NOTES
    2   PAGE / LINE
    3   ____ ____ __________________________________
    4   ____ ____ __________________________________
    5   ____ ____ __________________________________
    6   ____ ____ __________________________________
    7   ____ ____ __________________________________
    8   ____ ____ __________________________________
    9   ____ ____ __________________________________
   10   ____ ____ __________________________________
   11   ____ ____ __________________________________
   12   ____ ____ __________________________________
   13   ____ ____ __________________________________
   14   ____ ____ __________________________________
   15   ____ ____ __________________________________
   16   ____ ____ __________________________________
   17   ____ ____ __________________________________
   18   ____ ____ __________________________________
   19   ____ ____ __________________________________
   20   ____ ____ __________________________________
   21   ____ ____ __________________________________
   22   ____ ____ __________________________________
   23   ____ ____ __________________________________
   24   ____ ____ __________________________________

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